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                                                             Page 1                                                  Page 2
                   UNITED STATES DISTRICT COURT                        1     Deposition of MICHAEL R. CLARKE, held in the
                 FOR THE NORTHERN DISTRICT OF OHIO                     2    conference room of the:
                       EASTERN DIVISION
                                                                       3
                                                                       4
          -----------------------------x
          IN RE: NATIONAL PRESCRIPTION ) Case No                       5            HILTON GARDEN INN
          OPIATE LITIGATION                ) 1:17-MD-2804              6            RICHMOND AIRPORT
          APPLIES TO ALL CASES                 ) Hon Dan A Polster     7            441 International Center Drive
          -----------------------------x                               8            Sandston, Virginia 23150
                                                                       9
               HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
                                                                      10
                     CONFIDENTIALITY REVIEW
             VIDEOTAPED DEPOSITION OF MICHAEL R CLARKE                11
                                                                      12
                      SANDSTON, VIRGINIA                              13
                                                                      14     Pursuant to notice, before Leslie Anne Todd,
                    FRIDAY, DECEMBER 7, 2018
                                                                      15    Court Reporter and Notary Public in and for the
                         9:13 A M
                                                                      16    Commonwealth of Virginia, who officiated in
                                                                      17    administering the oath to the witness.
                                                                      18
                                                                      19
                                                                      20
                                                                      21
                                                                      22
                                                                      23
          Reported by: Leslie A Todd                                  24


                                                             Page 3                                                  Page 4
      1              APPEARANCES                                       1   APPEARANCES (Continued):
      2                                                                2
      3   ON BEHALF OF PLAINTIFFS:                                     3   ON BEHALF OF WATSON PHARMACEUTICALS, INC.:
      4      MATTHEW S MELAMED, ESQUIRE                                4     STEVEN A. LUXTON, ESQUIRE
      5      KELLI BLACK, ESQUIRE                                      5     MORGAN LEWIS BOCKIUS, LLP
      6      ROBBINS GELLER RUDMAN & DOWD LLP                          6     1111 Pennsylvania Ave, N.W.
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      8      One Montgomery Street                                     8     (202) 739-5452
      9      Suite 1800                                                9
     10      San Francisco, California 94104                          10   ON BEHALF OF McKESSON CORPORATION:
     11      (415) 288-4545                                           11     SARA SUNDERLAND, ESQUIRE (Telephonically)
     12                                                               12     COVINGTON & BURLING, LLP
     13   ON BEHALF OF THE ALLERGAN DEFENDANTS AND THE                13     One Front Street
     14   WITNESS:                                                    14     San Francisco, California 94111-5356
     15      JENNIFER G LEVY, ESQUIRE                                 15     (415) 591-6000
     16      CATIE VENTURA, ESQUIRE                                   16
     17      KIRKLAND & ELLIS LLP                                     17   ON BEHALF OF ENDO PHARMACEUTICALS, INC. and
     18      655 Fifteenth Street, N W                                18    ENDO HEALTH SOLUTIONS, INC.:
     19      Washington, D C 20005                                    19     JOHN CELLA, ESQUIRE (Telephonically)
     20      (202) 879-5211                                           20     JOANNA PERSIO, ESQUIRE (Telephonically)
     21                                                               21     ARNOLD & PORTER KAYE SCHOLER, LLP
     22                                                               22     601 Massachusetts Ave, N.W.
     23                                                               23     Washington, D.C. 20001-3743
     24                                                               24     (202) 942-5000



                                                                                                1 (Pages 1 to 4)
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                                                                 Page 5                                                              Page 6
      1    APPEARANCES (Continued):                                         1   APPEARANCES (Continued):
      2                                                                     2
      3    ON BEHALF OF WALMART:                                            3   ON BEHALF OF MALLINCKRODT PHARMACEUTICALS:
      4      SHIRLETHIA V. FRANKLIN, ESQUIRE                                4     PHILLIP KRAFT, ESQUIRE (Telephonically)
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      9                                                                     9
     10    ON BEHALF OF AMERISOURCEBERGEN:                                 10   ALSO PRESENT:
     11      JILL McINTYRE, ESQUIRE (Telephonically)                       11     CHRIS RITONA (Videographer)
     12      JACKSON KELLY, PLLC                                           12
     13      500 Lee Street East                                           13
     14      Suite 1600                                                    14
     15      Charleston, West Virginia 25301-3202                          15
     16      (304) 340-1018                                                16
     17                                                                    17
     18    ON BEHALF OF CARDINAL HEALTH:                                   18
     19      JULI ANN LUND, ESQUIRE (Telephonically)                       19
     20      WILLIAMS & CONNOLLY LLP                                       20
     21      725 Twelfth Street, N.W.                                      21
     22      Washington, D.C. 20005                                        22
     23      (202) 434-5000                                                23
     24                                                                    24



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      4   No 12 E-mail string re DEA follow up to                      4   No 19 Suspicious Order Monitoring
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      6        Monitoring Presentation, Bates                          6        AmerisourceBergen, Chesterbrook,
      7        ALLERGAN_MDL_03382548 to 03382549 198                   7        PA, October 22, 2012, Bates
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     15        Distribution Center, Bates Acquired_                   15        Letters - Update, Bates
     16        Actavis_00761668 to 00761671           239             16        ALLERGAN_MDL_01796473 to 01796474 272
     17   No 17 E-mail string re SOM, Bates                           17   No 22 E-mail re Direct and Indirect SOP's
     18        ALLERGAN_MDL_03380592 to 03380593 243                  18        Actavis, Bates ALLERGAN_MDL_03382709
     19   No 18 E-mail re [blank], Bates                              19        to 03382719                   276
     20        ALLERGAN_MDL_03382700 to 03382702 247                  20   No 23 E-mail string re Anti-Diversion
     21                                                               21        Industry Working Group February
     22                                                               22        Meeting, Bates ALLERGAN_MDL_02187686
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     24                                                               24



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      1          E X H I B I T S (Continued)                           1               PROCEEDINGS
      2          (Attached to transcript)                              2                -------------------
      3   ALLERGAN-CLARKE DEPOSITION EXHIBITS                  PAGE    3            THE VIDEOGRAPHER: We are now on the
      4   No 24 E-mail string re Pharmacy buying                       4    record. My name is Chris Ritona. I am a
      5        through multiple wholesalers, Bates                     5    videographer for Golkow Litigation Services.
      6        Acquired_Actavis_01621005 to                            6    Today's date is December 7, 2018, and the time is
      7        01621006                     293                        7    approximately 9:13 a m.
      8                                                                8            This video deposition is being held in
      9                                                                9    Richmond, Virginia, at the Hilton Garden Inn in
     10                                                               10    the matter of National Prescription Opiate
     11                                                               11    Litigation, MDL No. 2804, Case No. 1:17-md-20 --
     12                                                               12    2804, I'm sorry, United States District Court,
     13                                                               13    Northern District of Ohio, Eastern Division.
     14                                                               14            The deponent today is Michael Clarke.
     15                                                               15            And counsel will be noted upon the
     16                                                               16    stenographic record.
     17                                                               17            The court reporter, Leslie Todd, will
     18                                                               18    please swear in the witness.
     19                                                               19                MICHAEL R. CLARKE,
     20                                                               20          and having been first duly sworn,
     21                                                               21         was examined and testified as follows:
     22                                                               22               (Witness affirmed.)
     23                                                               23                DIRECT EXAMINATION
     24                                                               24    BY MR. MELAMED:



                                                                                              3 (Pages 9 to 12)
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                                                     Page 13                                               Page 14
      1        Q Good morning.                                   1        Q And have you had your deposition taken
      2        A Good morning.                                   2   before?
      3        Q My name is Matt Melamed. I'm at Robbins         3        A Yes.
      4    Geller Rudman & Dowd, and I represent plaintiffs      4        Q And so you're familiar generally with
      5    in this action.                                       5   how a deposition goes?
      6            Can you state your full name for the --       6        A Yes.
      7    and your current address for the record, please.      7        Q Are you taking any medication that would
      8                                                          8   interfere with your ability to answer my questions
      9                                                          9   truthfully and fully today?
     10        Q And what is your current occupation?           10        A No.
     11        A I am VP, corporate compliance --               11        Q Any other reason you have -- may have a
     12    vice president, corporate compliance for Indivior,   12   problem answering fully and truthfully today?
     13    Inc.                                                 13        A No.
     14        Q And where is your business address?            14        Q If I ask a question you don't
     15    Where do you work?                                   15   understand, please ask me to clarify it, and I'll
     16        A Indivior is located in North                   16   do so.
     17    Chesterfield, New Jersey, a suburb of Richmond.      17        A Okay, I will.
     18        Q And do you work in New Jersey?                 18        Q You're doing a very good job of
     19        A I'm sorry, North Chesterfield, Virginia,       19   listening until my question is complete before
     20    which is a suburb of Richmond, Virginia.             20   answering. I will try and do you the same
     21        Q We'll get to New Jersey later.                 21   courtesy with your answers. Let's try not to
     22           You understand you're under oath,             22   speak over each other so that we have a clear
     23    correct?                                             23   record. Okay?
     24        A Yes.                                           24        A Yes.


                                                     Page 15                                               Page 16
      1       Q Have you -- how many other times have            1   related to my work at Medco Health Solutions. So
      2   you been deposed?                                      2   there were three depositions.
      3       A Two or three.                                    3        Q And each of them were private actions;
      4       Q Can you describe generally the three --          4   is that correct?
      5   the two or three matters in which you've been          5        A That's correct.
      6   deposed previously?                                    6        Q Did any of them concern opioids in any
      7       A They related to prior positions, prior           7   way?
      8   jobs that I had -- work that I did at prior jobs,      8        A No.
      9   investigations as a compliance officer.                9        Q Who are the other people seated with you
     10       Q Which prior employers did those                 10   today?
     11   depositions concern?                                  11        A To my right are lawyers with two law
     12       A I believe -- well, one was at the               12   firms that are representing me.
     13   University of Medicine and Dentistry of New           13        Q Do you know those lawyers?
     14   Jersey, which is now part of Rutgers University,      14        A I met them before today.
     15   and the other one related to, I believe, my work      15        Q Okay. Can you tell me when you met
     16   at Biomet -- EBI Biomet, a medical device company.    16   them?
     17       Q Were those investigations conducted             17        A Earlier this week and a few weeks ago.
     18   by -- let me withdraw that.                           18        Q Okay. So they are your attorneys for
     19          Were those depositions conducted by            19   purposes of this deposition?
     20   government agencies?                                  20        A They're representing me for purposes of
     21       A No.                                             21   this deposition, yes.
     22       Q Private actions?                                22        Q Do you know their names?
     23       A Yes.                                            23           MS. LEVY: Objection. This shouldn't be
     24          And if I can, there was another one            24   a quiz.


                                                                                 4 (Pages 13 to 16)
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                                                     Page 17                                                  Page 18
      1            But go -- you may answer.                    1   the video record.
      2            THE WITNESS: Yes and no. I know some         2          (A discussion was held off the record.)
      3   of the first names. I don't know all of their         3          THE VIDEOGRAPHER: 9:21 a m., we are on
      4   last names, but we have met, and we are familiar      4   the video record.
      5   with each other.                                      5          MR. MELAMED: Apologies for going off
      6   BY MR. MELAMED:                                       6   the record.
      7      Q Okay. Can you tell me their first                7          (Clarke Exhibit No. 1 was marked
      8   names, the ones that you know? Understanding --       8          for identification.)
      9      A Catie --                                         9   BY MR. MELAMED:
     10      Q Sorry, understanding that this is not a         10      Q I've handed you what's been marked as
     11   quiz.                                                11   Exhibit 1, which is the notice of -- Notice of
     12      A There's Catie, Jenny. Sorry, I don't            12   Oral Videotaped Fact Deposition of Michael Clarke.
     13   recall the other two.                                13          Have you seen this document before?
     14            MR. LUXTON: Steve Luxton from Morgan        14      A I don't believe so.
     15   Lewis.                                               15      Q Okay. You understand you're here to
     16            Counsel, while we're on the record, can     16   give testimony in the case reflected in the
     17   we have a stipulation that, as to Ms. Levy and I,    17   caption of Exhibit 1; is that correct?
     18   since we both represent Mr. Clarke, an objection     18      A Yes.
     19   for one is an objection for the other in terms of    19      Q Did you bring any documents with you
     20   our objections so I don't have to say "Same          20   today related to -- to your testimony?
     21   objection" and muddy up your record the whole day?   21      A No.
     22            MR. MELAMED: Let's go off the record        22      Q Did you bring any documents related at
     23   for a second.                                        23   all to your employment at Actavis?
     24            THE VIDEOGRAPHER: 9:18 a m., we are off     24      A No.


                                                     Page 19                                                  Page 20
      1        Q Did you provide any documents to your          1   you -- if you recall?
      2    attorneys prior to your testimony today?             2       A I don't recall how many.
      3        A No.                                            3       Q Okay. Was it more than a hundred?
      4        Q You can put that aside, Exhibit 1 aside.       4       A I don't recall. It was a lot of
      5           What did you do to prepare for today's        5   documents. I don't recall the number.
      6    deposition?                                          6       Q Okay. Have you reviewed any deposition
      7        A I met with counsel from the two firms          7   testimony in preparation for today's deposition?
      8    that are representing me for purposes of today's     8       A No.
      9    deposition.                                          9       Q Any expert reports?
     10        Q When did you first meet with counsel in       10       A No.
     11    preparation for today's deposition?                 11       Q Any publications, articles, journal --
     12        A Perhaps three or four weeks ago.              12   journal articles, newspaper articles, et cetera?
     13        Q And approximately how many times have         13       A No.
     14    you met in those -- in the three or four weeks      14       Q Any court documents?
     15    since?                                              15       A No.
     16        A I believe we've met twice.                    16       Q Any databases?
     17        Q Twice total?                                  17       A No.
     18        A I believe so.                                 18       Q Did you look in your own personal files
     19        Q Approximately how long each time?             19   to review documents that might be relevant to the
     20        A A few hours each time is the best I can       20   opioid litigation today?
     21    say.                                                21       A I don't have any personal files relevant
     22        Q Did you review documents with counsel?        22   to the opioid litigation.
     23        A Yes.                                          23       Q Now, those meetings with -- with counsel
     24        Q Approximately how many documents, if          24   that you discussed that -- I believe you said two,


                                                                                  5 (Pages 17 to 20)
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                                                   Page 21                                               Page 22
      1    correct?                                             1   any defendant in this action in preparation for
      2        A I believe it was two meetings.                 2   your deposition?
      3        Q Were those in person?                          3        A I had a short phone call with John Duff,
      4        A There were two in-person meetings and          4   who is a litigation attorney for Allergan, when I
      5    one phone call.                                      5   was contacted by, I believe, Kirkland & Ellis to
      6        Q Do you know who participated in the one        6   find out what this was about.
      7    phone call other than yourself?                      7        Q Did you speak to Mr. Duff before you
      8        A All the lawyers that are here today            8   meet with attorneys at Kirkland & Ellis in
      9    that are representing me in this litigation.         9   preparation for your deposition today?
     10        Q Thanks for the clarification.                 10        A Yes.
     11            Was there anybody else on the call that     11        Q Does Mr. Duff represent you in this
     12    you're aware of?                                    12   action?
     13        A I'm not aware.                                13        A No.
     14        Q In your -- during your in-person              14        Q What did you talk about with Mr. Duff?
     15    meetings, who did you meet with?                    15        A I asked John what this was about.
     16        A The lawyers on this side of the table         16        Q And what -- what did he say?
     17    representing me today.                              17        A He told me that this related to the
     18        Q Okay. Was there anybody else present          18   litigation that we're here for today.
     19    during those meetings?                              19        Q Did he say anything else to you?
     20        A No.                                           20        A He probably did, but I don't recall the
     21        Q Was there anybody else present by phone       21   specifics of the conversation.
     22    during those meetings?                              22        Q Okay. You didn't take notes in the
     23        A No.                                           23   conversation?
     24        Q Did you speak with any representative of      24        A No.


                                                   Page 23                                               Page 24
      1       Q About how long do you think that call           1   to Mr. Duff.
      2   lasted?                                               2           Other than those individuals, have you
      3       A Less than 10 minutes.                           3   spoken with anybody about your deposition today?
      4       Q Did he -- did Mr. Duff make any factual         4       A No.
      5   statements about -- let me withdraw that and          5       Q No current -- you haven't told your
      6   restate it.                                           6   current employer about the deposition?
      7             Did Mr. Duff make any statements about      7       A I told my current employer about the
      8   the facts of this lawsuit?                            8   deposition since I'll be out of work today.
      9       A I don't believe so, but I really don't          9       Q But you haven't had any discussions
     10   recall.                                              10   about the -- the substance of the deposition; is
     11       Q Did he say anything to you that was            11   that correct?
     12   inconsistent with what you remembered about your     12       A I told my current employer that I was
     13   time at Actavis?                                     13   being deposed related to litigation that had
     14       A No.                                            14   nothing to do with my current position. So I
     15       Q Did he say anything that helped refresh        15   wanted to assure them that this had nothing to do
     16   your recollection as to events that had occurred     16   with the work that I was currently doing.
     17   that are relevant to this action?                    17       Q Did you tell him anything further about
     18       A No.                                            18   what the deposition concerned?
     19       Q Have you spoken to anybody else                19       A Just generally about it being a lawsuit
     20   concerning your deposition today?                    20   by, I believe, governmental entities against a
     21             You mentioned -- and by "anybody else,"    21   number of opioid manufacturers. I didn't know --
     22   let me talk about the people you've mentioned.       22   I hadn't read the complaint. I didn't know the
     23   You mentioned the attorneys who represent you here   23   details, but I wanted to assure him this didn't
     24   and who you met with previously, and you've talked   24   have anything to do with my current work at



                                                                                6 (Pages 21 to 24)
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                                                Page 25                                                      Page 26
      1    Indivior.                                            1       Q So -- so you didn't tell her anything
      2        Q Have you read the complaint by this            2   about it then?
      3    point?                                               3       A There was nothing to tell.
      4        A No.                                            4       Q Are you being reimbursed by anyone for
      5        Q Has anybody summarized the complaint --        5   expenses in connection with today's deposition?
      6    the allegations in the complaint for you?            6       A I'm not incurring any expenses.
      7        A I believe the allegations were                 7       Q Are you being compensated by anyone for
      8    summarized to some extent.                           8   your time in connection with your attendance at
      9        Q And those were by one of the attorneys         9   this deposition?
     10    representing you today?                             10       A No.
     11        A I believe so.                                 11       Q Are you being compensated by anyone or
     12        Q Have you spoken to any family members         12   have you been compensated by anyone for your time
     13    about your deposition today?                        13   in preparation for this deposition?
     14        A I mentioned it to my wife when she asked      14       A No.
     15    why I was wearing the tie.                          15       Q Other than from Actavis, have you ever
     16        Q My wife asked me the same thing.              16   received compensation from any opioid
     17            Did you talk about the substance of the     17   manufacturer, distributor or pharmacy?
     18    deposition with your wife at all?                   18       A Compensation for what?
     19        A I told her what the case was about, to        19       Q Have you ever received any type of
     20    my understanding.                                   20   compensation from any opioid manufacturer other
     21        Q Did you tell her anything about your          21   than Actavis where you were previously employed?
     22    personal opinion of the case?                       22       A Well, my current employer makes a
     23        A I don't have a personal opinion of the        23   product that contains an opioid, and I work for
     24    case.                                               24   them, so I receive compensation from my current


                                                Page 27                                                      Page 28
      1    employer.                                            1       A No.
      2        Q And that's Indivior, correct?                  2       Q Have you ever received compensation for
      3        A Correct.                                       3   speaking on compliance matters from anybody?
      4        Q Anyone aside from Indivior?                    4       A I wish I did. I've spoken but I've
      5        A No.                                            5   never been compensated.
      6        Q Never from a distributor who distributes       6       Q Where have you spoken? What types of
      7    opioid and other pharmaceutical medications?         7   events?
      8        A No.                                            8       A I'm a member of a number of compliance
      9        Q Never from any of the other defendants         9   organizations or in-house bar associations, and
     10    in this case?                                       10   I've spoken at either regional or national or
     11        A No.                                           11   local conferences.
     12        Q And you're aware of the other defendants      12       Q What organizations are you -- are you
     13    in this case; is that correct?                      13   talking about?
     14        A I'm not sure if I know all of them. I         14       A I've been a member of ACC, the
     15    think I've heard a few names that are familiar to   15   Association of Corporate Counsel. I've
     16    me.                                                 16   participated in panels -- one or two panels for
     17        Q What are -- what are the names that           17   that organization.
     18    you're familiar with?                               18          I used to be a member of the ABA,
     19        A I believe I heard Mallinckrodt.               19   American Bar Association. The Business Law
     20    Obviously I'm aware of Teva. Those two come to      20   Section, Corporate Compliance Committee. I was
     21    me -- come to mind right now.                       21   chair of the Corporate Compliance Committee for
     22        Q Have you ever received compensation for       22   about five or six years, and I've spoken at
     23    speaking on compliance matters as they relate to    23   Business Law Section, Corporate Compliance
     24    opioids?                                            24   Committee events until I let my membership lapse a



                                                                                 7 (Pages 25 to 28)
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                                                     Page 29                                                      Page 30
      1   couple of years ago.                                  1   panels for them related to compliance issues,
      2          I am a member of -- or I participated in       2   probably related to ABAC or FCPA, things like
      3   events that have been put on by CBI, which is the     3   that. ABAC is Anti-Bribery, Anti-Corruption,
      4   Center for Business Intelligence. They have an        4   A-B-A-C. And FCPA is the Foreign Corrupt
      5   annual PCC, Pharmaceutical Compliance Congress,       5   Practices Act.
      6   usually in the spring. I've been participating in     6       Q Do you recall whether any of the
      7   that for probably the last three or four years as     7   presentations you've given have concerned
      8   a panelist.                                           8   compliance with the Controlled Substances Act?
      9          My company is a member of PCF, the             9       A I don't recall specifically, but there
     10   Pharmaceutical Compliance Forum, which is another    10   may have been a topic in one of the presentations
     11   association of obviously pharmaceutical compliance   11   that related to adherence to the Controlled
     12   professionals. I've been a member of that for        12   Substances Act. That may have been one of the
     13   probably three or four years, and I've               13   subtopics, but I don't recall specifically.
     14   participated in the last two years of spring         14       Q And you mentioned that you let your ABA
     15   meetings and fall meetings.                          15   membership lapse, correct?
     16          There have been one or two other              16       A Yes.
     17   organizations that have had compliance panels that   17       Q For what reason?
     18   I've participated on, but those come to mind.        18       A Well, I'm a member of a number of
     19       Q Okay. If you remember the others during        19   organizations, some of which my company pays for,
     20   the course of today's deposition, please just stop   20   some of which I pay for, and so I simply do a
     21   me and let me know.                                  21   risk-benefit analysis or cost-benefit analysis.
     22       A Sure. I know one other organization is         22   And I wasn't participating in ABA events for the
     23   ACI. I think it's called the American Conference     23   last three or four years, so I thought I'd let it
     24   Institute. I believe I've been on one or two         24   lapse.


                                                     Page 31                                                      Page 32
      1        Q Other than from Actavis, have you ever         1        A I'm always learning. In terms of formal
      2    received -- let me restate that.                     2   training, I probably participated in formal
      3           Other than from Actavis, have you ever        3   training -- formal compliance training earlier in
      4    participated in a sponsored training session from    4   my career. I have participated in webinars to
      5    any manufacturer, distributor or pharmacy            5   learn about specific items and topics, if that's
      6    concerning opioids?                                  6   what you're talking about.
      7        A I don't understand that question at all.       7        Q That's more what I'm talking about.
      8        Q Have you participated in any sponsored         8   Thanks for clarity -- for helping me clarify my
      9    training sessions? Have -- has your company ever     9   question.
     10    paid for you to participate in training sessions    10           Has any of that formal training been
     11    concerning the roles and duties of your job?        11   sponsored by any manufacturer of opioids at all,
     12        A I don't understand when you say has my        12   any manufacturer, including Actavis?
     13    company paid for me or sponsored training. I'm      13        A I really don't know, and the reason I
     14    not sure what that means.                           14   don't know is that the organizations that may have
     15        Q Have you participated in training             15   delivered or provided this training may have been
     16    specific to your jobs?                              16   sponsored by industry, but I don't know who the
     17        A When you say "participated" --                17   individual industry sponsors for the events or for
     18        Q As a -- as an employee.                       18   these training activities were.
     19        A -- have I received or have I delivered        19        Q Did you receive any formal training on
     20    training? Which one are you referring to?           20   the Controlled Substances Act at any point in your
     21        Q That's a good question. Have you              21   career?
     22    received training?                                  22        A I haven't received formal training on
     23        A On how to do my job?                          23   it. I have researched it and I've read it, but I
     24        Q Yes.                                          24   wouldn't say I've received formal training on it.


                                                                                  8 (Pages 29 to 32)
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                                                         Page 33                                                        Page 34
      1        Q Have you participated in any working               1   I'm going to point to -- you very directly to a
      2    groups or other less formal structured discussion        2   couple of pages.
      3    groups concerning the requirements of the                3       A I don't need this any more, so --
      4    Controlled Substances Act?                               4       Q Yeah, just keep these aside because
      5        A I participated in a working group of               5   these will go back to the -- the marked exhibits
      6    other lawyers or compliance professionals when I         6   will go back to the court reporter at the end of
      7    was at Actavis, but it was related to DEA issues         7   the day.
      8    and SOM issues, to the extent that those are             8          For the record, Exhibit 2 is a packet of
      9    driven by the CSA.                                       9   documents starting at Bates number
     10        Q What -- what was the name of that group,          10   ALLERGAN_MDL_SUPP, Bates number ending in 339
     11    if you recall?                                          11   through Bates number ending in 394.
     12        A I don't recall.                                   12          I want to direct your attention to the
     13        Q Do you recall which other companies were          13   pages starting at Bates 352.
     14    represented in that working group?                      14          And you see the document -- when you get
     15        A I don't know all of them. I know                  15   to 352, 353 and 354, please let me know.
     16    Mallinckrodt participated, and I believe a couple       16       A Yes, 352.
     17    of distributors participated. ABC,                      17       Q Yes. That is a version of your resume
     18    AmerisourceBergen. I believe Cardinal. I know           18   up until the time you worked at Biomet Spine and
     19    there were others, but I don't recall now.              19   Bone Healing Technologies; is that correct?
     20            (Clarke Exhibit No. 2 was marked                20       A Yeah, this is -- this was my resume as
     21            for identification.)                            21   of the time I worked at EBI, Biomet Spine and Bone
     22    BY MR. MELAMED:                                         22   joint -- Biomet Spine and Bone Healing.
     23        Q I'm handing you what's been marked as             23       Q You went to -- you attended Brown
     24    Exhibit 2, and though it's somewhat voluminous,         24   University for undergraduate, correct?


                                                         Page 35                                                        Page 36
      1       A Yes.                                                1         A The firm is called Scarinci & Hollenbeck
      2       Q And then Cornell Law School, correct?               2    in Secaucus, New Jersey. Now it's in Lyndhurst,
      3       A Yes.                                                3    New Jersey.
      4       Q And after leaving Cornell, you worked at            4         Q And you were -- again, you were a
      5   a law firm called Hannoch Weisman in Roseland, New        5    litigation associate there; is that right?
      6   Jersey; is that correct?                                  6         A That's correct.
      7       A Yes.                                                7         Q And you left Scarinci -- Scarinci &
      8       Q And what was your role at Hannoch                   8    Hollenbeck to go to Shanley & Fisher in
      9   Weisman?                                                  9    Morristown, New Jersey?
     10       A I was an associate in the corporate                10         A That's correct.
     11   department at Hannoch Weisman.                           11         Q And you started there as an associate
     12       Q And after Hannoch Weisman, you worked at           12    and then were elevated to partner, correct?
     13   the office of the public defender in the Essex           13         A That's correct.
     14   Adult Region in Newark, New Jersey, correct?             14         Q And at Shanley & Fisher you defended
     15       A Yes.                                               15    pharmaceutical and industrial product
     16       Q And you were an assistant deputy public            16    manufacturers. Is that correct?
     17   defender there, correct?                                 17         A I represented one pharmaceutical
     18       A Yes.                                               18    manufacturer and a number of other industry
     19       Q You were there approximately two years,            19    manufacturers.
     20   a little bit less than two years; is that right?         20         Q Who was the pharmaceutical manufacturer
     21       A Yes.                                               21    you represented?
     22       Q And you left the Public Defender's                 22         A The firm represented Merck. It
     23   Office to go to a law firm called Scarinci &             23    represented others, but I only worked on cases for
     24   Hollenbeck in Secaucus; is that right?                   24    Merck.



                                                                                       9 (Pages 33 to 36)
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                                                 Page 37                                                       Page 38
      1        Q And do you recall the subject matter of         1   compliance program.
      2    the case you worked on at Shanley & Fisher for        2          So we had a -- a large compliance
      3    Merck?                                                3   department with five divisions, and my role as the
      4        A I do not.                                       4   ethics officer was really to deal with the core
      5        Q And then Shanley & Fisher was acquired          5   bread and butter ethics and compliance issues,
      6    by Drinker, Biddle & Reath, and you continued         6   build out that -- the ethics and compliance
      7    working at Drinker, correct?                          7   functionality of the Medco compliance program.
      8        A That's correct.                                 8       Q Before we get into that a little bit, I
      9        Q After that you went to Medco Health             9   just want to go back for your previous jobs.
     10    Solutions as an ethics officer and assistant         10          Was each transition from one job to
     11    counsel, correct?                                    11   another by choice? Did you choose to leave
     12        A That's right.                                  12   Hannoch Weisman and go to the Office of Public
     13        Q What was your understanding of your role       13   Defender?
     14    as the ethics officer and assistant counsel?         14       A Yes.
     15        A It was to -- I reported to the, I guess        15       Q Did you choose to leave the Office of
     16    it was called, the corporate compliance officer at   16   Public Defender and go to Scarinci?
     17    that time, and it was really to enhance Medco's      17          I don't know why I'm having so much
     18    compliance program. That entailed helping to         18   trouble. It seems quite easy to pronounce.
     19    develop policy or policies, providing training on    19       A Hard C. Just think hard C, think
     20    those policies, conducting internal                  20   scared.
     21    investigations, doing monitoring or conducting       21          Yes, I -- it was voluntary moves from, I
     22    monitoring activities, such as it were for that      22   think, all of my positions with one or two
     23    type of entity, participating in audits, and         23   exceptions.
     24    anything else that comprises an ethics and           24       Q Which are the exceptions?


                                                 Page 39                                                       Page 40
      1        A The -- there's an exception which is not        1   Medco's business operations. It wasn't limited to
      2    on that resume, so I don't know how you want to       2   any particular aspect. And it broadened or
      3    deal with this.                                       3   evolved over time.
      4        Q Is that your departure from Actavis?            4       Q In that job were you in communication
      5        A Yes.                                            5   with any companies concerning opioids, concerning
      6        Q Okay. We'll get to that in a minute,            6   formulary decisions or benefits decisions as they
      7    but -- were each of the other moves reflected in      7   relate to opioids?
      8    this resume voluntary?                                8       A That wasn't my role, so no.
      9        A Yes.                                            9       Q Thank you.
     10        Q And by choice, you elected to leave            10          You left Medco to join Edison Schools in
     11    where you were currently employed to work            11   New York, correct?
     12    somewhere else?                                      12       A Yes.
     13        A Yeah, it was a voluntary departure. I          13       Q Why did you leave the world of
     14    learned of an opportunity or I was recruited and I   14   litigation and then corporate compliance for
     15    moved to the next opportunity.                       15   pharmacy -- for a pharmacy -- pharmaceutical
     16        Q Okay. So the ethics and compliance             16   benefits manager -- pharmacy benefits manager to
     17    issues you were working on at Medco, did they        17   go to a -- an educational institution?
     18    concern any particular aspect of Medco's business?   18       A I'll give you the high level version
     19        A I don't think it was really focused on         19   because it's a very long story. But essentially
     20    any aspect. I mean, Medco was a PBM, pharmacy        20   there wasn't any advancement opportunity at Medco.
     21    benefits manager, which is an extremely              21   The department was flat, and I wanted to move into
     22    complicated business. It may not seem so, but it     22   a leadership role that wasn't available to me. So
     23    is. So we dealt with -- you know, the compliance     23   I saw the -- I learned of or maybe I was recruited
     24    team dealt with compliance areas in all aspects of   24   for the role at Edison as a VP of corporate



                                                                                10 (Pages 37 to 40)
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                                                 Page 41                                                         Page 42
      1    compliance, or something to that effect, to create    1   privileged information.
      2    and run their corporate compliance department.        2          And instruct you only to answer with
      3    That's why I left.                                    3   non-privileged information.
      4        Q And you were at Edison for approximately        4          MR. LUXTON: Counsel, I'll make the same
      5    three months; is that correct?                        5   objection, but can I have a stipulation as I
      6        A Approximately, yes.                             6   requested previously so I don't have to
      7        Q Why did you depart Edison?                      7   continually join Ms. Levy in her objections?
      8        A I was recruited by the University of            8          MR. MELAMED: Yes, if Ms. Levy objects,
      9    Medicine and Dentistry to get -- so it was two        9   I can understand it's also for you.
     10    reasons: To get back into healthcare, get back to    10          MR. LUXTON: Thank you very much.
     11    New Jersey. UMDNJ was under a deferred               11   BY MR. MELAMED:
     12    prosecution agreement, so for a compliance           12       Q So what did that DPA concern?
     13    professional that's an opportunity to create some    13       A As a general matter -- I haven't looked
     14    significant change, which is what I wanted to do.    14   at it in years obviously -- it related to
     15    So I decided to leave Edison, come back to New       15   healthcare practices that implicated federal
     16    Jersey, get back into healthcare and work at         16   healthcare programs and billing against federal
     17    UMDNJ.                                               17   healthcare programs.
     18        Q What was the deferred prosecution              18       Q False billing against federal healthcare
     19    agreement that the University of Medicine and        19   programs?
     20    Dentistry was under? What -- what did that           20       A Inappropriate, inaccurate, excess
     21    concern?                                             21   billing against federal healthcare programs.
     22           MS. LEVY: And I think these questions         22       Q Was that DPA entered into as a result of
     23    are fine so far. I'm just going to object to the     23   a False Claims Act action?
     24    extent that this question or others go toward        24       A I believe so. But I don't recall


                                                 Page 43                                                         Page 44
      1    specifically.                                         1   Actavis, correct?
      2        Q Did it have anything to do with opioids?        2       A Yes.
      3        A I don't believe that it did.                    3       Q And you were at Actavis for three and a
      4        Q And then you left University of Medicine        4   half years approximately; is that correct?
      5    and Dentistry to join Biomet Spine and Bone           5       A I know I was at Actavis from early 2012
      6    Healing, correct?                                     6   until the middle of 2015.
      7        A Yes.                                            7       Q What was the name of the position you
      8        Q And you -- at Biomet Spine and Bone             8   held at Actavis? And if it was more than one, the
      9    Healing, you were vice president and compliance       9   name of the positions.
     10    officer from June 2008 until approximately 2000 --   10       A I believe the title remained the same.
     11    beginning of 2012; is that correct?                  11   I believe I was vice president of compliance for
     12        A Yes.                                           12   the Americas or something like that.
     13        Q What was your primary responsibility as        13       Q And what were your responsibilities as
     14    vice president and compliance officer at Biomet?     14   vice president of compliance for the Americas?
     15        A EBI, Biomet Bone Healing was the -- was        15       A My role at Actavis was again to build
     16    a division of Biomet, the orthopedics company, and   16   out the compliance program for that division of
     17    that division was located in New Jersey. My role     17   the company. Actis evolved -- Actavis evolved
     18    was to build out the compliance program for that     18   over time into a different sort of company. So it
     19    division of Biomet.                                  19   started off as a regional role for the Americas
     20        Q In that role at Biomet, did you address        20   and then became something else.
     21    any issues related to opioids?                       21       Q How did -- when you said "Actavis
     22        A No. Biomet was an orthopedic device            22   evolved over time," what do you mean by that?
     23    company.                                             23       A Actavis was acquired by Watson, and then
     24        Q And after leaving Biomet, you joined           24   the combined company acquired other companies


                                                                                 11 (Pages 41 to 44)
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                                                       Page 45                                                  Page 46
      1    until the time I left.                                 1   Kellerman, who became the Allergan global
      2        Q And throughout the time that you were            2   compliance officer.
      3    there, you were working on compliance issues in        3       Q Did Deb Penza work at Watson prior to
      4    Actavis, and then Actavis was acquired by Watson,      4   its acquisition of Actavis?
      5    and then in the subsequent companies as well where     5       A Yes. Deb was the Watson compliance
      6    there were acquisitions?                               6   officer.
      7        A Yes.                                             7       Q Prior to the acquisition, were you the
      8        Q What department were you in at Actavis?          8   highest ranking member of the compliance team in
      9        A I was in the compliance department.              9   the United States, if you know?
     10        Q And who was -- who did you report to in         10       A Prior to the Watson acquisition?
     11    the compliance department?                            11       Q Yes.
     12        A When I first joined the company, I              12       A I was the highest ranking member of the
     13    reported to Kirsten Schmal (phonetic), who was        13   compliance team at Actavis in the U.S. because I
     14    the, I believe, the chief compliance officer at       14   was the only member of the compliance team at
     15    what I'll call Swiss Actavis, and he resided -- or    15   Actavis in the U.S.
     16    the company's headquarters was in Zug,                16       Q Do you know if prior to January 2012
     17    Switzerland -- for about a year.                      17   when you started at Actavis whether there was a
     18            And then after the Watson acquisition, I      18   compliance team for Actavis in the United States?
     19    reported to Deborah Penza, who was the compliance     19       A There were people managing the
     20    officer resident at that point in the Parsippany      20   compliance function prior to me starting at
     21    office, and I reported to Deb Penza until the         21   Actavis. It was managed by lawyers on the Actavis
     22    close of the Allergan acquisition, at which point     22   team or different lawyers on the Actavis team, and
     23    I still reported to Deb while she was there, but      23   there was also a contract group at Adventive.
     24    then I had an indirect report to JK, John             24   Well, Adventive was a contract sales organization,


                                                       Page 47                                                  Page 48
      1    and there was a compliance officer in Adventive        1   compliance function were reorganized, and certain
      2    who managed compliance for the contract function       2   people in each of those functions and others left
      3    that supported Actavis at that time.                   3   the company.
      4        Q Who were the Actavis lawyers who managed         4       Q Were you asked to leave the company?
      5    compliance before your arrival?                        5       A Yeah. Yes.
      6        A John LaRocca and Beth Zelnick-Kaufman.           6       Q Was that -- did that request have
      7        Q And who were the people at Adventive who         7   anything to do with an evaluation of the quality
      8    managed their compliance vis-à-vis their               8   of your work?
      9    relationship with Actavis?                             9       A No. It had to do with business
     10        A Scott Miller.                                   10   operations, a reorganization of the company under
     11        Q Were each of those individuals lawyers?         11   the Allergan -- after the Allergan combination,
     12        A John and Beth are lawyers. I don't know         12   and a desire that certain people in certain
     13    if Scott is a lawyer or not.                          13   functions were no longer needed, and hence, we
     14        Q You mentioned that you -- earlier that          14   were reorganized out of the company.
     15    you did not leave Actavis voluntarily; is that        15       Q Once -- while you were at Actavis and it
     16    correct?                                              16   was acquired by Allergan, do you know the name of
     17        A That's correct.                                 17   the company you worked for?
     18        Q What are the circumstances under which          18       A Well, the company --
     19    you left Actavis?                                     19       Q I'm sorry. Let me -- I --
     20        A With the Actavis-Allergan acquisition,          20       A Okay.
     21    there was a reorganization of a number of             21       Q I jumped over a few steps there. Sorry
     22    different business functions within the combined      22   about that.
     23    company, and a number of commercial and financial     23          When you were at Actavis and it was
     24    and other functions, some legal functions and the     24   acquired by Watson, do you know the name of the



                                                                                    12 (Pages 45 to 48)
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                                                 Page 49                                                        Page 50
      1    company you worked for after the acquisition?         1   you departed?
      2        A Yes.                                            2        A I know the corporate name changed to
      3        Q And what was that?                              3   Allergan at some point. So it was still Actavis
      4        A The company name remained Actavis.              4   after the deal closed, and it became Allergan at
      5        Q And who -- what was the corporate entity        5   some point. I think, as I was leaving, the
      6    that employed you at that time after the Watson       6   corporate name changed to Allergan. I don't know
      7    acquisition?                                          7   if it was Inc. or PLC or anything else, but it
      8        A It was Actavis, I believe, after the            8   changed from Actavis to Allergan at some point in
      9    Watson -- excuse me, after the Watson acquisition,    9   the spring of 2015.
     10    it became Actavis PLC, because I believe Watson      10        Q And then when you left Actavis, you,
     11    was headquartered in the UK.                         11   after a couple of months, secured employment at
     12        Q Prior to the acquisition, when you first       12   Indivior, correct?
     13    started at Actavis, what was the name of the         13        A I left Actavis-Allergan in June of 2015.
     14    corporate entity that employed you?                  14   I started working at Indivior in August of 2015.
     15        A Well, before the Watson acquisition, we        15        Q And you still work at Indivior, correct?
     16    were what I call Swiss Actavis, so I believe we      16        A Yes, I do.
     17    were Actavis, Inc., which was headquartered in       17        Q And what's your title at Indivior?
     18    Switzerland. It might have even been incorporated    18        A My current title is vice president,
     19    in Iceland. There was an Iceland connection and a    19   corporate compliance.
     20    Switzerland connection, but it was based in          20        Q Has that been your title the entire time
     21    Central Europe.                                      21   you've been there?
     22        Q And -- and then once Allergan came into        22        A Yes.
     23    the picture and acquired Actavis, what was the       23        Q And what's your responsibility?
     24    corporate entity you worked for prior to the time    24        A I -- up until the beginning of October,


                                                 Page 51                                                        Page 52
      1    I was the global compliance officer for Actavis --    1   yes.
      2    I'm sorry, for Indivior.                              2       Q What pharmaceuticals?
      3        Q I'll do the same.                               3       A We have a couple of products --
      4        A So I managed the global compliance              4   actually, more than a couple of products, but we
      5    program for Indivior.                                 5   manufacture pharmaceuticals in the OUD space, the
      6        Q And then what happened in October?              6   opioid use disorder space, as well as in the
      7        A In October, the corporate compliance            7   behavioral health space dealing with
      8    function moved out of legal, because it sat within    8   schizophrenia.
      9    the legal department, and it became its own           9            So the products are buprenorphine-based
     10    freestanding department, and we hired a chief        10   products, Suboxone sublingual film; Sublocade, a
     11    compliance officer who sits on our executive         11   long-acting injectable; and Perseris, an
     12    management team, whom I now report to.               12   anti-schizophrenic long-acting inject --
     13        Q And are you in the legal department            13   injectable.
     14    currently at Indivior?                               14       Q You talked about the long-acting
     15        A No, I'm in the integrity and compliance        15   injectable. Can you repeat that -- the name of
     16    department at Indivior.                              16   that product?
     17        Q What is Indivior's business?                   17       A Which one? I talked -- I mentioned two.
     18        A Indivior is a specialty pharmaceutical         18       Q One -- one is for opioid use disorder,
     19    company.                                             19   correct?
     20        Q Do they manufacture pharmaceuticals?           20       A Yes.
     21        A Yes, we manufacture specialty                  21       Q And what -- what is the name of that?
     22    pharmaceuticals.                                     22       A Sublocade, S-U-B-L-O-C-A-D-E.
     23        Q And sell those pharmaceuticals, correct?       23          Q How did you come to -- let me withdraw
     24        A We distribute those pharmaceuticals,           24   that.



                                                                                   13 (Pages 49 to 52)
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                                                        Page 53                                              Page 54
      1           Why did you choose to work at Indivior           1   to opioid use disorder. So that was appealing to
      2    after leaving Actavis?                                  2   me as addressing an issue or a concern.
      3        A I was recruited. I looked at a number             3           But it was also a very interesting
      4    of opportunities that would be as a -- the              4   position at an interesting company. What I
      5    equivalent of a chief compliance officer. I was         5   described was the business of the company, but it
      6    interested in staying in the life sciences              6   was also a global position. It was a chance to
      7    industry. I would have preferred to stay in New         7   have an impact -- compliance impact on a global
      8    Jersey. The opportunities were elsewhere. So out        8   scale, which is something that I had been moving
      9    of the three opportunities I looked at, I chose         9   forward -- moving towards in my career.
     10    Indivior.                                              10        Q Why was providing a treatment to opioid
     11        Q What were the other two opportunities?           11   use disorder appealing to you?
     12        A They were companies I can't recall the           12        A There's -- you know, it's a health --
     13    names of. One was a device company in North            13   OUD is a health concern, and to address it with
     14    Carolina. One was a specialty pharma company out       14   another pharmaceutical product I think is a good
     15    in California.                                         15   thing.
     16        Q Did either of the other companies have           16        Q Were you aware of that health concern,
     17    anything to do with opioids?                           17   at least in part, due to your work at Actavis?
     18        A No.                                              18        A I was aware of that health concern, in
     19        Q Was any of the motivation in taking the          19   part, due to my work at Actavis, but also based on
     20    job at Indivior the fact that it made substance        20   my reading of the press.
     21    use disorder drugs and distributed those?              21        Q And just to clarify, as we go forward in
     22        A Well, part of my motivation for taking           22   the deposition, I'm using Actavis to refer to each
     23    the position was the fact that it was addressing       23   of the companies you worked at from Actavis to
     24    opioid use disorder and was providing a treatment      24   when it was acquired by Watson, to when it was


                                                        Page 55                                              Page 56
      1    acquired by Allergan. Do you share that                 1   that I'm aware of and try to maintain some level
      2    understanding?                                          2   of awareness. And to the extent that a substance
      3         A I understand what you mean.                      3   disorder gets a lot more press than it used to,
      4         Q Okay. Thank you.                                 4   based on communities that have not historically
      5            How did -- what did you become aware of         5   been affected by these, those are the kind of
      6    concerning opioid use disorder during your time at      6   things that I read about and try to stay abreast
      7    Actavis?                                                7   of.
      8         A I mean that's a very broad question.             8       Q Did you gain any insight into opioid use
      9         Q How -- how -- how did you become aware           9   disorder, causes of it and the prevalence of it
     10    of opioid use disorder at Actavis? What -- what        10   due to your employment at Actavis?
     11    came to your attention?                                11       A No. I became much more aware of the
     12         A The best way to answer that is -- and it        12   causes and the science behind it since my
     13    wasn't driven by my work at Actavis. I mean, I --      13   employment at Indivior.
     14    I try to stay aware of what's going on from a          14       Q Since you've become aware or more aware
     15    health perspective but also from a general             15   of the causes and science behind it at Indivior,
     16    perspective, so I read. So to the extent that          16   what have you become aware of? What are -- what
     17    there are health issues or health concerns that        17   would you say are the basic causes of opioid use
     18    may affect the work that I do, the communities         18   disorder?
     19    that I live in or the communities that I service       19       A Well, opioid use disorder is a chronic
     20    through volunteer things, I try to stay aware of       20   relapsing brain disease. There are a number of
     21    those.                                                 21   causes that we haven't got enough time to talk
     22            So coming from New York, I'm aware of          22   about, and I'm not a scientist, so I wouldn't do
     23    substance use disorder issues based on the             23   justice to it.
     24    neighborhoods I've lived in. So those are things       24           There are -- there are a number of



                                                                                 14 (Pages 53 to 56)
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                                                 Page 57                                                   Page 58
      1    different reasons that, you know, someone can         1   communities, correct?
      2    lapse into opioid use disorder. Some of them are      2        A Yes, I have.
      3    environmental, some of them are genetic, some of      3        Q And you've seen --
      4    them are a combination of the two. So I've            4        A Not comprehensively, but I have.
      5    learned about some of those from the training         5        Q Fair enough.
      6    sessions, medical sessions, advisory boards that      6            You've seen that a number of those
      7    I've attended, and just reading -- reading our        7   articles link the prevalence of opioid use
      8    materials from Indivior.                              8   disorder to the availability of prescription
      9        Q Would you agree that the prevalence and         9   opioids; is that correct?
     10    availability of prescription opioids contribute to   10        A There are articles that link it to the
     11    the prevalence of opioid use disorder?               11   availability of prescription opioids. There also
     12        A That's possible.                               12   are articles that link it to the availability of
     13        Q You can't say either way.                      13   inexpensive illicit opioids.
     14        A Well, I'm not a scientist, so I can't          14        Q And you --
     15    say either way. I am aware of some of the causes.    15        A So it's not one or the other.
     16    I'm aware of some of the indications. But, you       16        Q And you've seen that those two are --
     17    know, I can't speak beyond that because I'm not a    17   articles that link those two as well, that the use
     18    scientist. I'm not an epidemiologist, so I can't     18   of prescription opioids has led to a use of
     19    speak to that definitive --                          19   illicit opioids.
     20        Q You're --                                      20            MS. LEVY: Objection.
     21        A -- definitively.                               21   BY MR. MELAMED:
     22        Q Sure. You said you followed, you know,         22        Q Is that correct?
     23    publicly available literature, newspaper articles,   23            MS. LEVY: Mischaracterizes his
     24    et cetera, about opioid use disorder in various      24   testimony.


                                                 Page 59                                                   Page 60
      1            THE WITNESS: There are articles that          1       A I'm not aware of that. I haven't
      2    indicate that, but there are articles that            2   received advice to that effect.
      3    indicate other things as well.                        3           (Clarke Exhibit No. 3 was marked
      4    BY MR. MELAMED:                                       4           for identification.)
      5        Q And you have -- sitting here today, you         5   BY MR. MELAMED:
      6    have no opinion either way about the extent to        6       Q I'm going to hand you what's been marked
      7    which the prevalence of prescription opioids          7   as Exhibit 3. I'll represent to you that
      8    contributes to the circumstances leading to           8   Exhibit 3 is a printout of your LinkedIn profile.
      9    substance use -- opioid use disorder.                 9   We're not going to spend much time on it unless
     10        A I don't have an informed opinion. Like         10   your answers are different than what I expect they
     11    I said, I'm not an epidemiologist, so, no, I         11   will be.
     12    don't.                                               12           I just want you to look through this and
     13        Q Do you have -- you said you don't have a       13   state whether you have any reason to believe that
     14    formal opinion. Do you have any personal opinion     14   this is not an accurate reflection of your current
     15    about it?                                            15   LinkedIn profile.
     16        A No, I said I don't have an informed            16       A (Peruses document.) This looks like a
     17    opinion.                                             17   copy of my LinkedIn profile.
     18        Q Thank you.                                     18       Q Okay. And your LinkedIn profile
     19            When you left Actavis, did you sign a        19   represents an accurate depiction of your -- of
     20    non-disparagement agreement?                         20   your work history; is that correct?
     21        A I don't recall if I did or not.                21       A Yes, it does.
     22        Q You understand that if you did, that           22       Q Okay. You can put that aside.
     23    would not apply here during this deposition; is      23       A Thank you.
     24    that correct?                                        24       Q I know you want to spend more time with


                                                                              15 (Pages 57 to 60)
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                                                 Page 61                                                           Page 62
      1    that.                                                 1        A I don't see any direct effects on my
      2        A No, I don't.                                    2   specific neighborhood.
      3        Q So you were talking about the effect of         3        Q What about the city in which you live?
      4    the -- you were aware generally of the effect of      4        A OUD, opioid use disorder is a public
      5    the opioid crisis; is that correct?                   5   health concern in Richmond. It's a public health
      6        A I don't believe I spoke to that term.           6   concern in New Jersey, where I came from. I think
      7        Q Okay. Are you aware of a current opioid         7   it's a public health concern in many areas of the
      8    crisis in this country?                               8   country, but I can't speak to the specific impacts
      9        A I know that OUD is a public health              9   in any place where I've lived.
     10    concern.                                             10        Q Okay. And I apologize for the
     11        Q And OUD is -- you can use it, I just           11   sensitivity --
     12    want to be clear it's opioid use disorder,           12        A Mm-hmm.
     13    correct?                                             13        Q -- that this question is going to get
     14        A That's correct.                                14   at, but how has it, if at all, affected you or
     15        Q And you spoke about your awareness of          15   your family?
     16    OUD in your community; is that correct?              16        A OUD has not, but other diseases for
     17        A I'm aware of OUD as a public health            17   companies that I've worked for have.
     18    concern.                                             18        Q Again, apologies for the sensitivity,
     19        Q How, if at all, has it affected your           19   can you talk about those diseases, please?
     20    community?                                           20        A I cannot.
     21        A Can you define "your community"?               21        Q You can't talk about the diseases that
     22        Q Sure. How has it affected where you            22   have affected members of your family?
     23    live, if at all, the neighborhood in which you       23        A No.
     24    live?                                                24        Q Do any of them have to do with any --


                                                 Page 63                                                           Page 64
      1    anything related to opioids?                          1   that this calls for Mr. Clarke to disclose other
      2         A No.                                            2   people's confidential health information, I think
      3         Q Have any of your family members or you         3   I will instruct you not to answer their
      4    been prescribed opioids?                              4   identities. You can answer the question only
      5         A I was prescribed an opioid about eight         5   generally.
      6    or nine years ago when I suffered an injury, a        6          THE WITNESS: I don't know of anyone who
      7    sports injury.                                        7   had OUD during my time at Actavis.
      8         Q Do you recall which opioid you were            8   BY MR. MELAMED:
      9    prescribed?                                           9       Q Do you have any ill will predis- --
     10         A Either oxycodone or oxy -- either             10   predisposition towards any entity involved in this
     11    oxycodone or hydrocodone, one of the two.            11   litigation that you know of?
     12         Q And you took that opioid for the purpose      12       A Could you repeat that?
     13    of pain associated with that injury and no longer;   13       Q Sure.
     14    is that correct?                                     14          Do you harbor any ill will towards any
     15         A I took three tablets and then I stopped.      15   entity in this -- in this litigation -- involved
     16         Q What did you do with the -- were you          16   in this litigation?
     17    prescribed more than three tablets?                  17       A Meaning any of the entities that are
     18         A Yes.                                          18   either plaintiff or defendant in this lawsuit?
     19         Q What did you do with the remainder of         19       Q Correct. Yes.
     20    your tablets?                                        20       A No.
     21         A I destroyed them.                             21       Q During your time at Actavis, the company
     22         Q During your time at Actavis, were you         22   was required by the Controlled Substances Act to
     23    aware of any Actavis employees that had OUD?         23   provide effective controls and procedures to guard
     24            MS. LEVY: Objection. To the extent           24   against theft and diversion of controlled



                                                                                  16 (Pages 61 to 64)
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                                                 Page 65                                                   Page 66
      1    substances; is that correct?                          1        Q Do you recall the Controlled Substances
      2        A I believe that's correct.                       2   Act -- Act's reference to the importance of a
      3        Q And Actavis had a duty under the                3   closed system?
      4    Controlled Substances Act to report suspicious        4        A I recall a reference, but I don't recall
      5    orders to the DEA; is that correct?                   5   the specific language.
      6        A I believe that's the case.                      6        Q Can you describe the system that Actavis
      7        Q And when you're saying you believe -- I         7   used to keep track of its sales of prescription
      8    believe that's correct -- "I believe that's the       8   drugs while you were there? And if it changed,
      9    case," what is the reason for that qualifier to       9   describe those changes as well, please.
     10    your answers?                                        10        A I can't describe it. I know we had a
     11        A Because I'm not looking at the                 11   system for distribution of our controlled
     12    Controlled Substances Act as to what its specific    12   substances, but I can't describe it in any general
     13    requirements may have for manufacturers such as      13   or specific detail.
     14    Actavis.                                             14        Q Is that because you no longer recall it
     15        Q You don't recall as you sit here today,        15   or because you didn't know it at the time?
     16    without documents in front of you, whether Actavis   16        A I don't -- I no longer recall it.
     17    had a duty to report suspicious orders of            17        Q You didn't -- you believe you would have
     18    controlled substances under the Controlled           18   known at the time, you just don't recall it
     19    Substances Act?                                      19   sitting here today?
     20        A Without seeing the language of the             20        A Yeah, I believe I had some familiarity
     21    statute, I can't say that definitively. That's       21   with it at the time that I worked there.
     22    why I believe there was such a responsibility, but   22        Q Did Actavis have a system to monitor
     23    in terms of how you phrase the question, I can't     23   suspicious orders of opioids when you were there?
     24    answer that definitively.                            24        A Yes, it did.


                                                 Page 67                                                   Page 68
      1        Q Did that system change during the time          1   systems for monitoring suspicious orders or
      2    you were there?                                       2   reporting suspicious activity or monitoring
      3        A I believe it did.                               3   publicly available data concerning opioids?
      4        Q Did Actavis have a system to monitor            4       A I would need to see the materials to
      5    publicly available data regarding opioid sales        5   fully and accurately answer those questions.
      6    from other companies while you were there?            6       Q During your time at Actavis, who was the
      7        A I believe it did in connection with             7   person -- the point person responsible for the
      8    other companies that were in the distribution         8   systems used to prevent diversion of opioids?
      9    stream for Actavis's controlled substances.           9       A During the time that I was there, there
     10        Q Do you recall what systems Actavis used        10   was a working group, at least at Swiss Actavis and
     11    to get that information.                             11   Watson -- sorry, Swiss Actavis, which was prior to
     12        A I don't. Without seeing a reference to         12   the Watson combination, there was a working team
     13    the materials that describe the process, I don't     13   that oversaw the suspicious order monitoring
     14    recall.                                              14   process. So there were individuals who worked
     15        Q Do you recall if Actavis had any systems       15   more directly with it. I can't tell you what
     16    to report suspicious activity concerning the sales   16   their names were.
     17    of opioids during the time you were there?           17       Q Were you a part of that working group?
     18        A I believe it did.                              18       A Yes, I was.
     19        Q Do you know if that changed during the         19       Q Do you know if that working group
     20    time that you were there?                            20   existed prior to your arrival at Actavis?
     21        A I'm not sure that it did change during         21       A I don't know what happened prior to my
     22    the time that I was there.                           22   arrival at Actavis.
     23        Q And without looking at the documents,          23       Q I assume when you joined Actavis and you
     24    are you able to describe any of those systems, the   24   joined that working group, you made some effort to



                                                                               17 (Pages 65 to 68)
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                                                       Page 69                                              Page 70
      1    understand the systems that were in place before       1       A I'd be guessing. I really couldn't tell
      2    your arrival; is that right?                           2   you specifically.
      3        A I made some effort, but I was more               3       Q You don't -- within a ballpark, you
      4    concerned with looking at what we had and making       4   don't recall?
      5    sure that it operated consistent with any legal or     5       A The best I could tell you was 20 or
      6    regulatory requirements.                               6   fewer, but I can't be more specific than that.
      7        Q Do you recall whether you believed --            7       Q So when you say -- just to be clear for
      8    when you looked at what you had, do you recall         8   the record, when you're saying 20 or fewer but you
      9    whether you believed that it did operate               9   couldn't be certain, it could have been five, it
     10    consistent with legal and regulatory requirements?    10   could have been ten, it could have been twenty; is
     11        A I believe it did.                               11   that accurate?
     12        Q That's fun feedback.                            12       A It was more than five, but I'm not sure
     13            Was the same group of individuals             13   that it was more than twenty.
     14    primarily responsible for reporting suspicious        14       Q Were you ever trained on how to detect
     15    activity concerning sales or distribution of          15   suspicious orders for prescription medications
     16    opioids to the DEA?                                   16   distributed by Actavis?
     17        A When you say "the same group of                 17       A I wasn't an operations person, so I
     18    individuals" --                                       18   wouldn't have been trained on it. The best I did
     19        Q The working group that you described            19   was, you know, obviously at that point read the
     20    earlier.                                              20   CSA and read the SOM regulation to be familiar
     21        A Yeah, I believe so.                             21   with what was required. And any other materials,
     22        Q How many employees at Actavis when you          22   whether it's publicly available materials,
     23    arrived were involved in implementing systems to      23   communications from DEA, things like that.
     24    prevent diversion of opioids?                         24       Q Do you recall whether Actavis provided


                                                       Page 71                                              Page 72
      1    its employees, its operations employees any            1       Q You joined Actavis in early 2012,
      2    training on how to detect and report suspicious        2   correct? We established that.
      3    orders?                                                3       A Yes.
      4       A I don't recall specifically. I mean I             4       Q Okay. Do you recall how many suspicious
      5    could tell you I assume so, but I don't recall         5   orders of opioids Actavis recorded in 2011, the
      6    specifically.                                          6   year before you arrived?
      7       Q Do you know whether employees were                7       A I don't know how many were recorded
      8    provided incentives to report internally the           8   before I arrived.
      9    existence of a suspicious order of opioids?            9       Q Do you know how many in 2012,
     10       A I don't know.                                    10   approximately?
     11       Q Same question, do you know whether --            11       A I don't remember. I don't recall.
     12    but externally. Do you know whether employees         12       Q Do you -- could you estimate, give a
     13    were provided any incentives to report to the DEA     13   reasonable estimate for the number in 2012?
     14    the existence of any suspicious orders of Actavis     14       A I could not.
     15    drugs?                                                15       Q 2013?
     16       A I don't know.                                    16       A I don't recall how many suspicious
     17             THE WITNESS: Excuse me. Can I get a          17   orders were recorded or reported during the time
     18    water break?                                          18   that I was there.
     19             THE VIDEOGRAPHER: Stand by. 10:22,           19       Q Who would be the person to ask if I
     20    we're off the video record.                           20   wanted to find out that information? Who should I
     21             (Recess.)                                    21   ask?
     22             THE VIDEOGRAPHER: 10:33, we are on the       22       A There's a team -- at least at that time
     23    video record.                                         23   there were a team of people that were dealing with
     24    BY MR. MELAMED:                                       24   it. You know, I guess after the Watson



                                                                                18 (Pages 69 to 72)
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                                                        Page 73                                                      Page 74
      1    acquisition, probably Tom Napoli and whoever            1       A No.
      2    worked for him. And prior to the Watson                 2          (Clarke Exhibit No. 4 was marked
      3    acquisition, Nancy Baran and whoever worked with        3          for identification.)
      4    her. They would be closer to the reporting, and         4   BY MR. MELAMED:
      5    the board of interest and suspicion order --            5       Q I'm handing you what's been marked as
      6    excuse me, suspicious order process.                    6   Exhibit 4.
      7        Q Do you know whether there were any                7          Exhibit 4 is a one-page outline titled
      8    regularly kept documents that recorded suspicious       8   "Brief Historical Overview, legacy Actavis SOM
      9    orders?                                                 9   Program." It's Bates number ALLERGAN_MDL_
     10        A I'm sure there were, but I can't speak           10   03302398.
     11    to the specifics of what they are and what they        11          Now, it's not reflected on the face of
     12    look like.                                             12   this document, but I'll represent to you that this
     13        Q So you don't know what they would be             13   was -- the custodian for this document as it was
     14    named, for instance?                                   14   produced to was Michael Clarke.
     15        A Oh, I wouldn't -- I don't know what they         15          Do you recall this document?
     16    would be named, no.                                    16       A I don't recall this document, but I was
     17        Q And do you know where they would have            17   smiling because I see it has my initials, which is
     18    been kept, in what corporate file system or            18   how I sometimes refer to myself if I'm involved in
     19    database?                                              19   something that I'm taking notes on. So...
     20        A I'm sure they were in a database. I              20       Q And that's in the -- the first bullet
     21    can't tell you that I recall what the database         21   point where it says "Prior to MRC"?
     22    was, where it was located or what it was called.       22       A Yes.
     23        Q Did you yourself use that database? Do           23       Q So do you have any reason to believe you
     24    you recall using that database?                        24   did not create this document?


                                                        Page 75                                                      Page 76
      1        A I mean this looks like something I may            1   understanding the legacy Actavis SOM program was
      2    have created, but I don't specifically recall           2   something that was within your responsibilities at
      3    this.                                                   3   Actavis. Is that correct?
      4        Q Okay. And this is -- this document                4       A Well, what I mentioned before, I was on
      5    concerns your employment at Actavis, the scope --       5   the working team that was dealing with the SOM
      6    it's within the scope of your employment to be          6   program or overseeing the SOM program. So I'm
      7    creating a document like this at Actavis, right?        7   sure that I was briefed or given some information
      8        A I wouldn't quite go there. I mean, I --           8   about what may have occurred prior to beginning
      9    you know, I'm a notetaker, have been, and               9   there, and I captured -- it looks like I captured
     10    sometimes if I'm trying to learn something or to       10   that in these -- in this -- in these notes.
     11    recall something, I'll put down -- put notes down      11       Q I'll also represent to you that the
     12    on an outline.                                         12   metadata for this document says it was created
     13            So this may have been something that           13   August 14th, 2013.
     14    there was a meeting, there was a discussion, I may     14       A Okay.
     15    have been informed about something and I wanted to     15       Q Do you have any idea why -- can you
     16    capture it so that I could use it in whatever I        16   recall any reason why you may have been making
     17    was going to be doing going forward.                   17   these notes on that date or around that date? Was
     18        Q Okay.                                            18   there something going on in August 2013?
     19        A This looks like something like that just         19       A I don't recall.
     20    based on the breadth -- the brevity of it.             20       Q SOM in this document refers to
     21        Q The subject matter of the notes concerns         21   suspicious order monitoring, correct?
     22    topics within the scope of your employment, right?     22       A Yes.
     23        A I'm not sure I understand what you mean.         23       Q And the first header says "Legacy
     24        Q I mean this -- your -- the --                    24   Actavis Beginnings." Do you see that?



                                                                                   19 (Pages 73 to 76)
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                                                 Page 77                                                  Page 78
      1        A Yes.                                            1   time.
      2        Q And you see the first phrase says               2        Q Do you have any reason to believe as you
      3    "Customer service on generic side." Do you see        3   sit here today that there existed a suspicious
      4    that?                                                 4   order monitoring program on the generic side prior
      5        A Yes.                                            5   to 2011?
      6        Q Do you recall whether there was a               6        A I don't know one way or the other.
      7    suspicious order monitoring program prior to your     7        Q Okay. And we discussed this, but the
      8    arrival concerning brand name opioids at Actavis?     8   "prior to MRC" means before you came aboard at
      9        A I don't recall.                                 9   Actavis, right?
     10        Q If you had been told about it, do you          10        A Yes.
     11    think you would have recorded that on this           11        Q And the next two sub-bullet points seem
     12    document?                                            12   to indicate the two individuals primarily
     13        A If I had been told about it, I would           13   responsible for the suspicious order monitoring
     14    have recorded it. Not necessarily on this            14   program on the generic side that started in late
     15    document.                                            15   2011. Is that -- does that appear to be correct?
     16        Q Continuing the first bullet point, it          16        A I wouldn't quite say that. It mentions
     17    says: "Customer service on generic side started      17   Nancy Baran installed to oversee and manage.
     18    in late 2011." Do you see that?                      18        Q Mm-hmm.
     19        A I see that.                                    19        A And it says John Duff from legal. So
     20        Q Is that your understanding of when the         20   those are two names of people that I knew and
     21    suspicious order monitoring program at Actavis       21   worked with that were involved. I -- the reason
     22    commenced for its generic opioids?                   22   I'm not sure that they were primarily responsible,
     23        A That's what I wrote, so I'm sure I             23   like I believe you said, I just know that they
     24    learned that or was told that at some point in       24   were involved.


                                                 Page 79                                                  Page 80
      1         Q You don't think they were involved? I'm        1       A Based on this and based on what I
      2    sorry.                                                2   recall, she was probably involved in its creation
      3         A No, I said I don't know that they were         3   or management.
      4    primarily responsible, which is what I believe        4       Q Do you believe that John Duff was
      5    what you asked. I just know that they were            5   involved in its creation and management?
      6    involved.                                             6       A I mean based on this, it looks like he
      7         Q Okay. Thanks for the clarification.            7   was.
      8            In the bullet point about Nancy Baran,        8       Q And then the next bullet point says that
      9    it says that she was installed to oversee and         9   you, MRC, were pulled in at the start of your
     10    manage.                                              10   tenure in January 2012.
     11         A Right.                                        11       A That's what it says.
     12         Q You agree that that makes her, you know,      12       Q Do you recall being pulled in and having
     13    colloquially at least, she was the point person at   13   this as part of your responsibilities --
     14    that point on the suspicious order monitoring        14       A Yes.
     15    program being described in this bullet point?        15       Q -- at Actavis?
     16         A Well, it says she was installed to            16       A Sorry. Yes.
     17    oversee and manage.                                  17       Q I hesitated. It's totally
     18         Q Do you know who created the suspicious        18   understandable that you spoke over me.
     19    order monitoring program on the generic side that    19           Do you recall an initial meeting where
     20    commenced in late 2011?                              20   you discussed the suspicious order monitoring
     21         A I don't know specifically who created         21   program at Actavis?
     22    it.                                                  22       A I don't recall a specific meeting. I
     23         Q Do you believe that Nancy Baran was           23   know that I had initial conversations probably
     24    involved in its creation?                            24   with John Duff and John LaRocca, but I can't


                                                                              20 (Pages 77 to 80)
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                                                 Page 81                                                          Page 82
      1    recall the specific, you know, back and forth.        1       Q And you did not report to John Duff; is
      2            And then at some point, one of these          2   that right?
      3    conversations mentioned putting together or           3       A Oh, I did not report to John Duff.
      4    expanding this working group -- because it may        4      Q Were you --
      5    have existed already; they asked me to join. When     5       A We were colleagues.
      6    they explained what it was that we were trying to     6       Q Were you in the same working group, same
      7    do in terms of suspicious orders and the DEA          7   organizational group?
      8    regulation, and, you know, I said, I'm happy to       8       A I mean John was legal; I was compliance.
      9    pitch in, happy to help.                              9   So our offices were two doors down from each other
     10        Q Who was John -- you just mentioned John        10   and we were colleagues. So...
     11    LaRocca. What was his role at Actavis?               11       Q Okay. You mentioned recalling generally
     12        A I believe John LaRocca was the senior          12   conversations with John Duff or John LaRocca about
     13    lawyer or general counsel for the Americas, which    13   joining the effort to -- joining the suspicious
     14    was a division of Actavis that I worked for at the   14   order monitoring group or having some
     15    time.                                                15   responsibility regarding suspicious order
     16        Q Did you report directly to him?                16   monitoring, right?
     17        A Since I had gotten involved with this,         17       A Yeah. I had maybe one or two
     18    I'm trying to recall if I reported to John or        18   conversations with John LaRocca, and then I had
     19    reported to Doug Boothe, and I just don't recall.    19   more conversations with John Duff about joining
     20    I mean John signed my hiring letter, but I don't     20   this working group, working team.
     21    think I reported to John.                            21      Q Other than just the prospect of joining
     22        Q Doug Boothe was the CEO, correct?              22   the group and being asked to join the group, do
     23        A I believe CEO and president of Actavis         23   you recall any of the content generally of those
     24    Americas.                                            24   discussions?


                                                 Page 83                                                          Page 84
      1         A No.                                            1   was used to monitor retail level purchases.
      2         Q You don't recall whether there was any         2       A That's what I wrote.
      3    commentary about the suspicious order monitoring      3       Q Do you recall how that tool was used
      4    system in place not being up to snuff?                4   to -- to monitor retail level purchases?
      5         A No.                                            5       A I really don't recall at this point.
      6         Q The final bullet point under -- the            6       Q Do you know what information that tool
      7    final bullet point with any text under "Legacy        7   monitored concerning retail level purchases?
      8    Actavis Beginnings" states: "Use of ValueTrak         8       A I mean I may have known back then, but I
      9    Safe and Secure program to monitor retail level       9   don't recall at this point.
     10    purchases."                                          10       Q Do you know who at Actavis made use of
     11         A I see that.                                   11   that information, the information being the retail
     12         Q Do you know what ValueTrak Safe and           12   level purchases measured by the ValueTrak Safe and
     13    Secure program is? Do you recall what that is?       13   Secure program?
     14         A I don't recall specifically. It was           14       A Whoever the employers at the operational
     15    some sort of data tool, but beyond that, I can't     15   level that managed the ValueTrak system would
     16    tell you.                                            16   know, but I don't recall who those were.
     17         Q Who would be best positioned to talk          17       Q You've referenced the operational level
     18    about what the ValueTrak Safe and Secure data tool   18   a couple of times. I just want to make sure I
     19    was?                                                 19   understand what you're talking about.
     20         A Whatever individuals were managing or         20       A Okay.
     21    operating the ValueTrak Safe and Secure system,      21       Q So can you describe what the operational
     22    but I don't know who that was. I really don't        22   level or operations side of the company is when
     23    recall.                                              23   you're using it in this instance?
     24         Q Okay. And it mentions that that program       24       A I mean, I think of in operations as -- I



                                                                                   21 (Pages 81 to 84)
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                                                         Page 85                                                 Page 86
      1    mean, you can think of it as a structural thing or       1       A At best.
      2    an employee level thing. So, you know, I'm a             2       Q What do you mean "at best"?
      3    lawyer, I'm in compliance. I'm in shared                 3       A I mean, it wouldn't be -- we wouldn't go
      4    services; I'm a support function. If I was in            4   beyond that. I -- you know, I wouldn't, you know,
      5    sales or marketing or manufacturing, and I was the       5   be telling -- I wouldn't tell, you know, the
      6    person who was operating the machines or who was         6   operational folks what to do in terms of specific
      7    interacting with the physicians, that's more of an       7   data analysis or things like that beyond just,
      8    operational function. You know, operational              8   This may be what the law requires, this may be
      9    transaction, doing the things that, you know --          9   what the regulation requires, and then I might
     10    but I -- I don't do those sort of things. I'm not       10   talk to the managers to say, Make sure that
     11    a salesperson. I'm not a machine operator. I'm          11   whatever they do is consistent with law and
     12    not even a machine operator supervisor or               12   regulation and policy.
     13    that's -- when I say "operational," it's just who       13       Q The next header on Exhibit 4 is labeled
     14    was actually doing certain work versus a support        14   "DEA Meetings." Do you see that?
     15    person or someone who is overseeing or managing or      15       A Yes.
     16    giving guidance.                                        16       Q Do you see the first bullet point says:
     17        Q So you under- -- so the division -- and           17   "D.C. meeting with SOM team in September 2012."
     18    I'm not trying to put words in your mouth. If           18       A Yes.
     19    this is incorrect, just tell me it's wrong.             19       Q Do you recall that meeting?
     20        A Mm-hmm.                                           20       A I do.
     21        Q You understood your role and the role of          21       Q Did you attend that meeting?
     22    your peers to be looking at establishing guidance       22       A I did.
     23    for the way operations carried out certains of --       23       Q And D.C. is Washington, D.C., correct?
     24    certain of its tasks?                                   24       A Yes.


                                                         Page 87                                                 Page 88
      1        Q Do you recall who attended that meeting?           1   for the manufacture and sale of certain drugs?
      2    All of the -- as many attendees as you can               2       A Certain controlled drugs, yes.
      3    remember and where they were from.                       3       Q Certain controlled drugs.
      4        A Well, all I could tell you is out in the           4           Do you recall the purpose of this
      5    Actavis side, I was there, John Duff was there, I        5   meeting?
      6    believe Nancy Baran was there. I know there were         6           Well, let's start out, do you recall who
      7    probably -- I think there were four or five of us        7   requested this meeting? Whose idea was it?
      8    on the Actavis side, and I'm missing one or two          8       A Well, the DEA requested the meeting.
      9    names, someone more operational was probably             9       Q Do you recall why they requested it? Do
     10    there. But I believe there were four or five of         10   you have an understanding of why?
     11    us on the Actavis side.                                 11       A I don't know why they requested it
     12           On the DEA side, they had people -- and          12   because I wasn't in those discussions. I just
     13    I don't remember the names of anyone on the DEA         13   know we received a request from the DEA to meet
     14    side, but there were -- it was like a two-part          14   with us. I guess someone scheduled it, it was set
     15    meeting, meaning that there were folks on -- there      15   up, and then the Actavis folks went down.
     16    were two women I remember who dealt with quotas,        16       Q Other than the government side, the
     17    manufacturing quotas, and they were there either        17   individuals in different government agencies and
     18    at the very beginning or the very end. You know,        18   the individuals from Actavis, was there anybody
     19    so that was part 1 or part 2 of the meeting. But        19   else in attendance at the meeting?
     20    the bulk of the meeting dealt with the, I guess,        20       A I know -- I believe we had talked about
     21    the folks on the enforcement unit. There were           21   whether we should bring counsel, but -- if it
     22    three or four of them there, but there was only         22   was -- I believe we did, I just don't remember
     23    two people talking.                                     23   specifically, but we decided not to. I don't
     24        Q For quotas, you're talking about quotas           24   think there was a need for it.


                                                                                   22 (Pages 85 to 88)
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                                                      Page 89                                                  Page 90
      1            So on the Actavis side, it was just           1   who were on the manufacturing side, as
      2    internal Actavis folks, from what I remember. And     2   professionals as opposed to street dealers.
      3    then, like I said, different divisions or             3       Q Am I correct -- reading between the
      4    departments within the DEA, the enforcement folks     4   lines of your answer, am I correct that the DEA
      5    and then the quota folks.                             5   was critical of Actavis's anti-diversion efforts
      6         Q It was just a bilateral meeting between,       6   in that meeting?
      7    generally speaking, the DEA side and the Actavis      7          MR. LUXTON: Objection.
      8    side; is that correct?                                8          THE WITNESS: I wouldn't put it that
      9         A That's what I remember, yes.                   9   way. I think -- the way I looked at it -- the
     10         Q Do you recall the purpose of the meeting      10   way -- and, you know, we talked afterwards. It
     11    generally?                                           11   wasn't so much as just being critical of our
     12         A I think as a general matter, it was a         12   anti-diversion efforts. The undertone of the
     13    meeting for -- ostensibly for the DEA to talk to     13   meeting was an implicit criticism of the fact that
     14    us about our anti-diversion efforts.                 14   we were making these products in the first place,
     15         Q And you say "ostensibly." Why -- why do       15   and we were -- and when I say "we," I mean Actavis
     16    you qualify it in that way?                          16   was at that meeting, but they referred to one or
     17         A I qualify it that way based on how the        17   two other companies that were also making generic
     18    meeting went, the tone and the tenor of the          18   opioid products as not being responsible. And in
     19    meeting, meaning that it was less productive than    19   a sense that they described it, without using
     20    it could have been, and it could have -- the         20   these specific words, but in a way that we would
     21    purpose to discuss anti-diversion efforts could      21   just manufacture, put the product out on the
     22    have been achieved in a different way, with a        22   street, and not have a care as to where it went.
     23    different tone and a different type of               23          Because they described their efforts
     24    presentation, and looking and talking to us as --    24   at -- you know, whatever enforcement efforts they


                                                      Page 91                                                  Page 92
      1    were engaged in, they described finding or seeing     1   oxycodone in FL and other high risk states"?
      2    or obtaining product, you know, opioid products       2        A Yes.
      3    that seemed to be diverted relatively easily, I       3        Q FL stands for Florida, right?
      4    guess is the way to describe it.                      4        A That's right.
      5              So it was -- you know, and they were        5        Q Do you recall which other high risk
      6    haranguing us about certain things. So it just        6   states were discussed?
      7    was not the most productive conversation about        7        A I believe -- I mean, the discussions
      8    anti-diversion efforts, about manufacturing of        8   seemed to focus mostly on the East Coast. So it
      9    these products, things like that.                     9   was Florida, I remember that specifically, and
     10    BY MR. MELAMED:                                      10   they spent most of the time on Florida, so the
     11        Q You mentioned that they mentioned -- the       11   other states were almost secondary, tertiary.
     12    DEA mentioned during this meeting one or two other   12   They might have mentioned Virginia or West
     13    manufacturers of generic opioids, correct?           13   Virginia. I know they mentioned other states, but
     14        A Yes.                                           14   I -- I would be guessing, and I don't want to do
     15        Q Do you recall who they -- who the DEA          15   that. I don't recall specifically.
     16    mentioned?                                           16        Q Do you remember whether the DEA had
     17        A I know they mentioned more than one, but       17   anything to say about Actavis's suspicious order
     18    Mallinckrodt was one name that came up that I        18   monitoring program during that meeting?
     19    recall.                                              19        A Yeah, I mean, ultimately the discussion
     20        Q And you don't recall any other names?          20   came over to that because, you know, that's what
     21        A I don't remember at this point.                21   we were prepared -- the Actavis team was prepared
     22        Q Do you see the sub-bullet point --             22   to talk about. And without knowing -- because I'm
     23    returning to Exhibit 4, the sub-bullet point that    23   not sure if there was an agenda, without knowing,
     24    says: "Discussion of likely diversion of             24   you know, a list we're going to, you know, talk --



                                                                                23 (Pages 89 to 92)
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                                                       Page 93                                                  Page 94
      1    discuss these items or these topics, we came           1   it wasn't that.
      2    prepared to talk about our SOM program.                2       Q You mentioned a PowerPoint deck that was
      3           We may have had a presentation deck that        3   prepared by Actavis for purposes of this meeting,
      4    we were either going to give or present on a           4   correct?
      5    screen. I don't recall the logistics, but I know       5       A I believe we brought it down with us. I
      6    we were prepared to talk about that, and we had a      6   know there was a PowerPoint that we used
      7    deck prepared to go through and explain what it        7   internally, and I believe that we modified it to
      8    was that we were doing, and hopefully engage in a      8   present to the DEA.
      9    dialogue about whether -- you know, to what extent     9       Q Were you involved in the creation or
     10    we were -- you know, we believed we were meeting      10   modification of that PowerPoint --
     11    the requirements of the CSA and the SOM               11       A I was involved in the modification of
     12    regulations, if there was any concern that the DEA    12   that PowerPoint. Sorry to interrupt.
     13    had about whether we were not going far enough in     13       Q No, I didn't finish.
     14    certain regards, we could make adjustments. We        14          PowerPoint deck was what I was going to
     15    were hoping to have that type of dialogue, that       15   say.
     16    these are the things that we're doing. We think       16          Do you recall what it was named?
     17    it meets or exceeds the standards of the law and      17       A I don't recall what it was named.
     18    the regulations.                                      18       Q Okay. And you don't recall whether it
     19           And as the DEA, as the enforcement             19   was actually provided to or presented to the DEA
     20    agency, responsible for this, we would hope that      20   during that September meeting?
     21    they would give us some level of guidance,            21       A I feel like it was given to them in some
     22    informal, at a meeting to say, you know, That's       22   fashion. I just don't recall specifically whether
     23    great, that's fine, maybe you can do this better.     23   we e-mailed it to them, gave them a hard copy or
     24    We were looking for that sort of interchange, and     24   something else, but I know we were prepared to


                                                       Page 95                                                  Page 96
      1    present it to them.                                    1   anti-diversion efforts.
      2       Q Now, you said that you had hoped that             2          So we expected that. And then we
      3    the meeting would be about Actavis's suspicious        3   figured that based on what our program looked
      4    order monitoring efforts and a discussion of -- a      4   like, how -- what our framework was, what we were
      5    discussion of what the company was doing, and          5   doing, we would present that to them and say,
      6    feedback from the DEA about potential improvements     6   Look, we believe that this meets or exceeds the
      7    or compliance.                                         7   legal and the regulatory requirements based on the
      8           Is that -- am I restating generally --          8   law, based on the regulation, based on any sort of
      9    I'm not holding --                                     9   settlements or court cases that were out there.
     10       A I mean, as a general matter, that's what         10   If you disagree based on what you've seen, give us
     11    we were looking for. We knew that it was going to     11   some guidance on what we can improve or change.
     12    be, you know, obviously information provided by       12   That's what we were looking for or hoped or
     13    the DEA to us. We didn't know the scope, at least     13   expected.
     14    I didn't, but we thought there would be, like I       14       Q During the September 2012 meeting, did
     15    said, some interchange in terms of these are --       15   the DEA express any opinion as to the sufficiency
     16    from the DEA's perspective, for example, these are    16   of your suspicious order monitor -- order
     17    what we see as the requirements. We have the          17   monitoring efforts?
     18    regulation; we have the law. There may have been      18       A I don't recall that they did. It was, I
     19    some court cases or some enforcement actions that     19   believe, a three-hour meeting, and from what I
     20    had either been underway or maybe broke in the        20   remember, the DEA consumed more than two and a
     21    news later, I don't recall. And so based on the       21   half hours of the meeting with a hundred -- a
     22    panoply of information that's out there, these are    22   hundred-plus slide deck, a hundred-plus slide
     23    what the requirements are for a suspicious order      23   PowerPoint presentation about, you know, diversion
     24    monitoring program or for manufacturing               24   issues, high risk states, presence of oxycodone,



                                                                                  24 (Pages 93 to 96)
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                                                       Page 97                                                   Page 98
      1    diversion of oxycodone and other opioids.              1   of the manufacturers that led to whatever problem
      2              So that there wasn't much time left to       2   they identified related to diversion of opioids.
      3    have the sort of interchange that I just described     3   BY MR. MELAMED:
      4    with them in terms of a description of our             4       Q And Malling- -- excuse me, Mallinckrodt
      5    program, an analysis of our program, discussion        5   was another, correct?
      6    about our program, things like that. There wasn't      6       A Mallinckrodt was mentioned in our
      7    much time for that.                                    7   meeting.
      8           Q Is it fair to say that they were -- that      8       Q Mentioned as another --
      9    the DEA during this meeting was identifying            9       A As another --
     10    what -- to you what they saw as a problem             10       Q -- contributing -- company contributing
     11    concerning the diversion of oxycodone,                11   to the problem of diversion of opioids. Is that
     12    specifically in Florida but also in other states?     12   correct?
     13           A Yeah, they spent two and a half hours        13       A Mallinckrodt was mentioned as another
     14    outlining what they thought the problem was and       14   company that somehow contributed to the diversion
     15    how all manufacturers were supposedly responsible     15   of opioids in the states, the high risk states
     16    for.                                                  16   that they mentioned.
     17           Q And they included Actavis in the group       17       Q And others were mentioned too, and you
     18    of manufacturers that it believed -- the DEA          18   just can't recall their names, correct?
     19    believed was responsible for the diversion of         19       A That's correct.
     20    oxycodone in Florida and other high risk states?      20       Q The next bullet point mentions a local
     21              MR. LUXTON: Objection.                      21   DEA meeting in late -- late October. Do you --
     22              THE WITNESS: They mentioned -- I mean,      22       A Yes, I see that.
     23    we were down there, so, yeah, I think it was          23       Q Do you -- and that's late October 2012;
     24    pretty clear that they believed that we were one      24   is that right?


                                                       Page 99                                                  Page 100
      1        A That's correct.                                  1       A The local DEA field office requested the
      2        Q Do you recall that meeting?                      2   meeting. They reached out to us after the D.C.
      3        A Yeah -- yeah, I do. Yes, I do.                   3   meeting with the DEA.
      4        Q Did you participate in that meeting?             4       Q And do you recall what the purpose of
      5        A Yes, I did.                                      5   that October meeting was?
      6        Q Where did that meeting take place; do            6       A Well, I listed down here what I recall.
      7    you recall?                                            7   All I recall is what I wrote here, that it was a
      8        A It took place at Actavis's U.S.                  8   meeting in late October, and we thought that -- I
      9    headquarters in Morristown.                            9   believe we thought from our prior discussions that
     10        Q Do you recall who was at that meeting           10   it was a follow-up to the D.C. DEA meeting where
     11    from Actavis?                                         11   perhaps this was going to be the chance to talk
     12        A I believe there were three of us. I             12   about our specific anti-diversion efforts and
     13    believe John Duff was there, I was there, and one,    13   perhaps specifically our SOM program, and see if
     14    maybe two others, but one other person. I think       14   we can get some feedback from the DEA about
     15    possibly Nancy Baran, but I don't want to say         15   whether it needed improvement, whether it's going
     16    specifically I recall her being there.                16   in the right direction, if there are any other
     17        Q Do you recall who was there from the            17   things that we needed to keep in mind with respect
     18    DEA?                                                  18   to SOM, suspicious order monitoring, or other
     19        A Yeah, there were two DEA field                  19   anti-diversion efforts. We thought that perhaps
     20    representatives from the New Jersey office in         20   the local guys, the local field office
     21    Newark. I can't recall their names. It was two        21   representatives would then -- would be reaching
     22    men.                                                  22   out to talk to us in more detail that perhaps the
     23        Q Okay. Do you recall who requested that          23   D.C. office of the DEA wasn't able to or was not
     24    meeting?                                              24   interested in doing. That's what we expected.



                                                                                 25 (Pages 97 to 100)
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                                                   Page 101                                                   Page 102
      1            It didn't turn out to be that case at         1       A Yeah, I mean, it was -- the quotas that
      2    all. There was some discussion about our              2   I believe, and I believe the quotas are set every
      3    suspicious order monitoring process, our              3   year, either at the end of the prior year or the
      4    anti-diversion efforts, and -- but we didn't get      4   beginning of the current year. If I recall
      5    very far with that, that topic was waved off. And     5   correctly, and I may not be accurate in this, but
      6    like I mention here, ultimately it became a           6   they're set for manufacturers with different
      7    request for a reduction in quota, meaning a           7   schedules of drugs.
      8    reduction in our manufacturing quota. And I know      8            So once they're set, then, you know,
      9    there were numbers that were talked about, which I    9   manufacturers will, you know, adhere to those
     10    guess came out to a 30 to 40 percent reduction in    10   quotas. Any adjustment below those essentially
     11    quota.                                               11   are voluntary by the manufacturer.
     12        Q Who -- what's your understanding of who        12            So the two field office representatives
     13    decided on that quota? Who set that quota?           13   were essentially asking us to voluntarily reduce
     14        A I believe the DEA sets manufacturing           14   our manufacturing quota, in my opinion, for the
     15    quotas for all controlled substance manufacturers.   15   purpose of reducing the amount of opioids or
     16        Q And then the -- after the semicolon in         16   controlled products that we made that would get
     17    that bullet point you were just referencing, it      17   into the market, and then ultimately potentially
     18    says that that reduction quota was declined.         18   be diverted in their view.
     19        A Yes.                                           19            So it was us essentially reducing what
     20        Q Do you recall whose decision it was to         20   we were making so that there would be less product
     21    decline that reduction?                              21   out there as opposed to DEA stepping up its
     22        A Well --                                        22   enforcement efforts for, you know, that level of
     23        Q Sorry, to decline the request for -- for       23   criminal activity related to diversion of
     24    a reduction.                                         24   controlled substances.


                                                   Page 103                                                   Page 104
      1           So when they asked us to voluntarily           1   something else to be had.
      2    reduce our quota, which means that we're reducing     2            You know, we weren't getting any
      3    the amount of product that we're manufacturing,       3   guidance on our suspicious order monitoring
      4    that's obviously going to have a financial impact.    4   program. We weren't getting any guidance on
      5    So when we brought that to our, I guess, chief        5   whether there were certain other things that we
      6    legal officer or general counsel and to our           6   could do or should do to justify that. It was
      7    president and CEO, they were -- unless there was      7   just a single unilateral reduction of
      8    something else that was going to be discussed or      8   manufacturing.
      9    something else in the package, just unilaterally      9      Q And you also mentioned that that
     10    reducing our manufacturing of the product wasn't     10   unilateral reduction would have had a financial
     11    acceptable.                                          11   impact. What would the financial impact have
     12        Q So it was the -- those individuals,            12   been?
     13    maybe the chief -- you said the chief legal          13      A What would it have been?
     14    officer or general counsel and then also the         14      Q Mm-hmm. And not -- not quantifiably --
     15    president and CEO who -- who rejected the request    15   not in terms of quantity, but qualitatively.
     16    for the reduction in quota of manufacturing          16      A I mean, qualitatively, if you reduce how
     17    certain drugs of oxycodone?                          17   much you manufacture, you're distributing less,
     18       A Yeah. After this DEA field office               18   you're selling less, and you're reducing your
     19    meeting, we spoke to John LaRocca and we spoke to    19   revenue.
     20    Doug Boothe, and it was ultimately Doug Boothe's     20      Q Continue to going down Exhibit 4, the
     21    decision after consulting with some other folks,     21   next header is "Customer Follow-ups," and there's
     22    but, you know, he wasn't interested in voluntarily   22   one bullet point with text that says "Legacy
     23    reducing our quota, particularly by 30 or 40         23   Actavis Meeting with AmerisourceBergen in October
     24    percent, without understanding that there was        24   2012."



                                                                             26 (Pages 101 to 104)
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                                                    Page 105                                                      Page 106
      1           Do you recall that meeting?                   1   like that. So, I mean, that's all I recall.
      2        A Generally, yes.                                2       Q Do you recall where that meeting was?
      3        Q Were you involved in that meeting?             3       A It believe it was at the ABC offices
      4        A Yes, I was.                                    4   somewhere in Pennsylvania. I think Fort
      5        Q Do you remember who else from Actavis          5   Washington or something like that.
      6    was involved in that meeting?                        6       Q Do you remember the -- why that meeting
      7        A I believe it was just John Duff and me.        7   was convened?
      8    I think it was just the two of us.                   8       A We may have -- Actavis may have asked
      9        Q Do you recall who from AmerisourceBergen       9   for it. Because I know that as part of our
     10    was involved in that meeting?                       10   efforts, we wanted to communicate with our key
     11        A I don't remember their names, but I know      11   distributors or probably our largest distributors.
     12    there was a short guy with glasses and a taller     12   I think ultimately all of them, but I know we
     13    guy with glasses.                                   13   wanted to start talking to our largest ones.
     14        Q That's very helpful.                          14          So I know we reached out -- I don't know
     15           Do you recall their roles at                 15   if we reached out to the other ones, I don't
     16    AmerisourceBergen?                                  16   remember, but I do remember reaching out to ABC,
     17        A I mean, you know, AmerisourceBergen is a      17   AmerisourceBergen Corporation, to set up a meeting
     18    distributor, so I know -- I believe one of the      18   to just talk about suspicious order monitoring and
     19    people there was on the operations side,            19   anti-diversion efforts on the manufacturing side,
     20    meaning -- well, on the operations side,            20   which would have been Actavis, and on the
     21    commercial distribution.                            21   distribution side, which would have been ABC, and
     22           I think one of them may have been a          22   how we could coordinate to make sure we are either
     23    lawyer, but may not have been functioning in that   23   meeting or exceeding DEA requirements, both in the
     24    role. May have been in compliance or something      24   law and in the regulation.


                                                    Page 107                                                      Page 108
      1       Q Do you recall the substance of what was         1   communication lines between a manufacturer and a
      2   discussed during that meeting?                        2   distributor anyway, but I know there were more
      3       A Not specifically. I just know we talked         3   open lines of communication on anti-diversion
      4   about -- you know, SOM programs, how we could work    4   efforts after that, but I can't tell you
      5   together. Beyond just analyzing data, and then        5   specifically what that entailed. How frequently,
      6   flagging things internally, and then making           6   who talked, what they talked about, I can't tell
      7   decisions, you know, let's set up communication       7   you that.
      8   lines so that if there's something going on that      8       Q Now, if there had been other follow-ups
      9   is concerning on the distribution front, we would     9   in addition to the Actavis follow-up with
     10   hope that you as a distributor would inform us as    10   AmerisourceBergen that happened up until the date
     11   a manufacturer, and then if we see certain things,   11   you drafted this memo, those would -- you would
     12   then we would communicate with you, and then         12   have included those here as well; is that right?
     13   coordinate in some fashion beyond just making        13       A Not necessarily.
     14   product, selling product, distributing product.      14           MS. McINTYRE: Object to form.
     15       Q Did that meeting lead to the                   15   BY MR. MELAMED:
     16   coordination you are describing?                     16       Q Do you recall any follow-ups between
     17       A I believe it did.                              17   October 2012 -- well, let me withdraw that.
     18       Q Do you want to describe how Actavis and        18           Do you recall any other follow-ups with
     19   AmerisourceBergen coordinated their anti-diversion   19   other distributors from fall of 2012 or after?
     20   efforts after October 2012?                          20       A I don't recall any, but that doesn't
     21       A I don't recall specifically. Because I         21   mean they didn't happen. Just so you know, I
     22   know we communicated after that. Not in              22   mean, this is called "Brief Historical Overview,"
     23   in-person meetings, but there were communication     23   so I really was just hitting highlights of things
     24   lines -- I mean, there are going to be               24   that occurred, either, you know, to refresh my



                                                                          27 (Pages 105 to 108)
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                                                   Page 109                                                 Page 110
      1    recollection or just to capture what the program      1   quota without understanding what the purpose would
      2    or at least my involvement in the program was.        2   be, and understanding whether -- how that would
      3        Q And you don't remember the purpose of           3   impact or how that would play into our
      4    recording this other than to make your own notes;     4   anti-diversion or SOM efforts.
      5    is that right?                                        5          And then we told them that we couldn't
      6        A I really don't remember.                        6   do that, but we were willing to talk about other
      7        Q Okay. The next header is "Government            7   things that could be done. And then we got this
      8    Inquiries."                                           8   request about orders a month or so later.
      9        A Yes.                                            9      Q And then the next bullet point
     10        Q And the first bullet says: "DEA                10   references a DOJ subpoena, returnable January 2013
     11    informal request about orders received in November   11   that was issued in December 2012.
     12    2012."                                               12      A Yes.
     13             Do you remember that informal request?      13      Q Do you know if that subpoena related to
     14        A Very vaguely.                                  14   the same subject matter as the informal requests
     15        Q Do you remember anything about the             15   from the DEA that was received in November 2012?
     16    substance of that request? What was the DEA          16      A I don't recall.
     17    seeking about orders?                                17      Q Do you recall -- let me withdraw that.
     18        A I don't remember the details. I                18          The next sub-bullet point about -- talks
     19    remember coming in, I remember us talking about      19   about the DOJ subpoena, correct?
     20    it, but I don't remember the details because it      20      A Yeah, the next sub-bullet is more or
     21    was -- it was -- it felt concerning because it       21   less a description of what I remember the DOJ
     22    came soon after the October meeting that we had      22   subpoena was seeking.
     23    where they asked us to voluntarily reduce quota,     23      Q Okay. And it sought documents related
     24    and we said we just can't unilaterally reduce        24   to legacy Actavis suspicious order monitoring and


                                                   Page 111                                                 Page 112
      1    communications with AmerisourceBergen about           1   but I don't have specific knowledge of whether we
      2    suspicious orders or pharmacies.                      2   produced it, what we produced, and when we
      3             Do you see that?                             3   produced it. I don't have that recollection.
      4         A Yeah, I do see that.                           4       Q Do you recall whether there was any
      5             Can I add something? I mean, you may         5   further follow-up from the DOJ related to the
      6    already know this, but I'm just -- I'm remembering    6   subject matter covered by the December 2012
      7    that when I make a reference to legacy Actavis,       7   subpoena?
      8    you know I'm referring to Swiss Actavis, right?       8       A I don't recall.
      9         Q And by Swiss Actavis, you mean Actavis         9       Q And by the legacy Actavis suspicious
     10    prior to its acquisition by Watson.                  10   order monitoring -- let me -- let me withdraw
     11         A That's correct. I just recall that, you       11   that.
     12    know. But in any event, that's -- that's what        12          Earlier when we first started looking at
     13    that references. It's not about this is the          13   this document, we talked about the very first
     14    legacy of what Actavis did. This was legacy          14   bullet point that described the legacy Actavis
     15    Actavis as a term of art.                            15   beginnings and the commencement in late 2011 of a
     16         Q Do you recall producing documents --          16   suspicious order monitoring program by customer
     17    let -- let me restate that.                          17   service on the generic side.
     18             Do you recall whether Actavis produced      18          Do you recall that?
     19    documents in response to the DOJ subpoena?           19       A I mean, the first bullet says:
     20         A I don't recall whether we did. I'm            20   "Customer service on generic side started in late
     21    assuming that we did, but, again, I don't want to    21   2011 prior to MRC."
     22    guess. I wasn't involved directly in document        22       Q Returning to the DOJ subpoena where it
     23    production. But, you know, if it's a subpoena,       23   says, "Seeking documents related to the legacy
     24    I'm assuming that we complied with the subpoena,     24   Actavis suspicious order monitoring," and then I



                                                                           28 (Pages 109 to 112)
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                                                    Page 113                                                    Page 114
      1    assume it means program, do you know if you are       1   in response to that subpoena.
      2    referring there to the same suspicious order          2       A I know I was not involved -- directly
      3    monitoring program that is described at the           3   involved in document production. That would have
      4    beginning of this document in the first bullet        4   been handled specifically by or directly by legal.
      5    point?                                                5   If I had documents, I would have produced them. I
      6        A I mean, the best I could tell you, it's         6   don't specifically recall whether I did.
      7    possible. And the reason I'm -- I appear to be        7       Q Presumably Mr. Gilbert of Hyman Phelps
      8    hedging is because it would help if I knew why I      8   would have some knowledge, is that -- as reflected
      9    created this to know what exactly my references       9   by that bullet point; would you agree?
     10    were. It looks like that may have been the case,     10       A If he was the lawyer at the firm that
     11    but, you know -- but I -- I can't tell you that      11   worked with us on this document discovery related
     12    with certainty, even though I created this.          12   to the subpoena, he would have knowledge.
     13        Q Okay. The final bullet point says:             13       Q The second major bullet point under
     14    "Recent Developments," and it appears -- in the      14   "Recent Developments" talks about industry
     15    first bullet point, it appears that there is some    15   anti-diversion working group meeting in Chicago on
     16    collection of documents that was being undertaken    16   August 20th.
     17    in response to the DOJ subpoena.                     17       A Right.
     18             Is that how you read that as well?          18       Q Do you know -- what was the -- was there
     19        A I believe so, yeah. It talks about             19   a name for that industry anti-diversion working
     20    document discovery in response to the January 2013   20   group?
     21    subpoena.                                            21       A Yeah, there was. I just can't remember
     22        Q And again, just -- sorry if I'm asking         22   the name.
     23    you a question you've answered already, but you      23       Q Do you recall whether you did meet on
     24    don't recall whether the documents were produced     24   August 20th, and this is -- I assume this means


                                                    Page 115                                                    Page 116
      1    2013?                                                 1   Cardinal was involved. I don't remember whether
      2         A I know I met with the group. I don't           2   McKesson was involved or not, but I know that
      3    remember if I met at this August 20th, 2013           3   there was another distributor that was involved in
      4    meeting.                                              4   the group. I don't know if that is the universe
      5         Q Do you know -- oh, I'm sorry.                  5   of the group, but those are the names that I
      6         A Yeah, I just know that I remember being        6   recall were involved.
      7    part of this group and attending regular meetings,    7        Q And by J&J, you mean Johnson & Johnson,
      8    which may have been every two or three months. I      8   correct?
      9    just don't recall if I went to Chicago.               9        A Yes, Johnson & Johnson.
     10         Q Do you recall who -- let me withdraw          10        Q And is the second sub-bullet point,
     11    that.                                                11   which states, "To get DEA perspective, view
     12            Do you recall what companies were            12   anti-diversion regulatory framework and provide
     13    represented in that group?                           13   industry recommendations to DEA," does that
     14         A I don't remember them all. I know that        14   reflect the purpose of this working group?
     15    there were three or four manufacturers:              15        A Pretty much, yeah. That's what we were
     16    Mallinckrodt, which I mention in the memo;           16   trying to, do because, you know -- yeah, it was
     17    Actavis -- I know that there was -- I'm not sure     17   clear that, you know, those of us that
     18    if it was Endo, but there was a J&J affiliated or    18   manufactured opioids and had suspicious order
     19    subsidiary company, the name which escapes me        19   monitoring or were interested in anti-diversion
     20    right now, and there was -- I believe there was a    20   efforts were operating off the Controlled
     21    fourth manufacturer.                                 21   Substances Act and the SOM regulation, I think
     22            And then there were at least two or          22   it's 21 CFR, whatever it is. And -- but the
     23    three distributors. I believe ABC,                   23   regulation hadn't been updated, and there wasn't
     24    AmerisourceBergen was involved. I believe            24   any guidance from DEA on interpreting that



                                                                           29 (Pages 113 to 116)
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                                               Page 117                                                         Page 118
      1    regulation or laying out what our anti-diversion      1   person, probably in D.C., and you would
      2    efforts should be beyond the words in the             2   communicate, make a request, and you'd just get,
      3    regulation.                                           3   "Thank you for your communication, we'll get back
      4            So we were -- and the regulation had to       4   to you" kind of response, you know. And I'm being
      5    have been 20 years old, 30 years old at that          5   euphemistic. It wouldn't be an engagement with,
      6    point. So we were just looking for additional         6   Let's sit down, let's talk, let's figure some
      7    guidance on what else we can do beyond the            7   things out, and let's -- even if it's informal and
      8    anti-diversion efforts we were currently engaged      8   it's not written down, let's just have a
      9    in. And the best source of that would have been       9   communication about things that either side can do
     10    DEA, so we were brainstorming on things that we      10   better. You wouldn't get that.
     11    can do to try and, first of all, collaborate with    11           But then I was involved with this for
     12    the DEA, open up lines of communication with the     12   maybe a year or two -- a year, year and a half,
     13    DEA with the purpose of seeking guidance from        13   two years. Towards the end of the time that I was
     14    them, formally or otherwise, on what else we could   14   there, because there was a certain time where I
     15    do to enhance our suspicious order monitoring or     15   stopped my involvement -- I don't know if it was
     16    anti-diversion efforts.                              16   when I left the company or once the Watson
     17        Q Do you recall this group -- the efforts        17   acquisition took deeper hold, I don't recall --
     18    of this group leading to any results, leading to     18   but as I was leaving the group, I remember hearing
     19    any communications with the DEA or proposed          19   either in a meeting or on a phone call that we're
     20    universal approaches to suspicious order             20   getting some feedback from the DEA through some of
     21    monitoring or the like?                              21   our efforts that they want to talk to us or
     22        A When we started, you know, the kernels         22   they're open to collaborating with us, things like
     23    of some openings started in terms of -- you know,    23   that.
     24    because oftentimes you would reach out to a DEA      24           So the -- it started. I don't know how


                                               Page 119                                                         Page 120
      1    much it took root, but the seeds were planted, and    1   BY MR. MELAMED:
      2    they seemed like they were starting to sprout a       2       Q You were not involved -- you described
      3    bit, but it's just not really clear.                  3   that the lines of communication appeared to be
      4         Q And you don't recall one way or the            4   opening between this working group and the DEA
      5    other why you stopped your involvement in this        5   around the time you were stepping away from the
      6    group? You said --                                    6   working group, right?
      7         A I don't recall. I mean, I know that as         7       A I vaguely recall that happening or I
      8    I got deeper into, you know, Watson-Actavis and       8   vaguely recall receiving some communications to
      9    the other acquisitions, we started thinking more      9   that effect.
     10    about brands. Opioids became less of what I was      10       Q Do you recall anything else about the --
     11    concerned about, even though, you know, we still     11   any continued communications between the working
     12    manufactured them, but -- sorry, I'm just getting    12   group and DEA or the results of any of those
     13    a note -- but it could have been just, you know, a   13   communications?
     14    change in my role, expansion of my role. That's      14       A Nothing beyond what I just indicated.
     15    my guess, but I really don't recall specifically.    15       Q Okay. And then the final main bullet
     16         Q I don't want to pry, but the note you         16   point under "Recent Developments" says: "Need for
     17    just referred to has nothing to do with your         17   legal ethics presence in restructuring."
     18    testimony; is that correct?                          18           Can you describe what that means?
     19         A No, it's my work phone. I'm getting a         19       A I'm not really sure what this means.
     20    text from my direct report about something I was     20   I'm reading the words, but I don't know what this
     21    supposed to be doing.                                21   means because some of this refers to internal
     22            MS. LEVY: Do you need to take a break?       22   stuff and some of this refers to external stuff.
     23            THE WITNESS: No. No. I can get back          23   So --
     24    to her at lunchtime.                                 24       Q Mm-hmm.



                                                                             30 (Pages 117 to 120)
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                                                      Page 121                                                 Page 122
      1        A I mean, it says: "Need for legal ethics          1   BY MR. MELAMED:
      2    presence in restructuring," but I don't know if        2       Q You can put Exhibit 4 aside.
      3    they mean restructuring the working group or           3           I'm going to hand you what's been marked
      4    restructuring our internal process. Because it         4   as Exhibit 5. Exhibit 5 is titled "Napoli
      5    says: "Scope is up to Swanton and Napoli," and         5   conversation notes - 9/12/2013." It's Bates
      6    those are two Actavis employees.                       6   numbered ALLERGAN_MDL_03302580.
      7             But then the next section says:               7           Do you recognize this document?
      8    "Industry group is so-called," quote, "run by          8       A (Peruses document.) Yes, I do.
      9    lawyers." So I have no idea what that statement        9       Q You created it, right?
     10    means.                                                10       A It looks like something I created.
     11             And then it says, the next bullet:           11       Q And this appears to reflect the contents
     12    "Only offering guidance and advice, not management    12   of a discussion you had with Tom Napoli on or
     13    of program." So it looks like we're referring to      13   around September 12th, 2013; is that right?
     14    something we're doing internally, but I really        14       A That's what it looks like, yes.
     15    don't know what these two bullets are about.          15       Q Do you recall a conversation with Tom
     16        Q Napoli is Tom Napoli, correct?                  16   Napoli around that time?
     17        A That's correct, Tom Napoli.                     17       A I -- sitting here today, I don't
     18        Q And who is Swanton?                             18   specifically recall the conversation.
     19        A I really don't remember who Swanton is.         19       Q Did you speak to Mr. Napoli frequently
     20        Q Do you remember what department Swanton         20   around September of 2013?
     21    was in?                                               21       A I mean I spoke with him relatively
     22        A I don't remember who Swanton is.                22   frequently as a general matter. So, I mean, I
     23             (Clarke Exhibit No. 5 was marked             23   can't -- I don't recall specifically a
     24             for identification.)                         24   September 12th conversation, but Tom and I had


                                                      Page 123                                                 Page 124
      1    conversations periodically.                            1   levels below Tom. So even though I knew who Will
      2        Q And when you -- when you -- when you're          2   was and I had maybe a couple of conversations with
      3    using the word "periodically," about how               3   him, I didn't manage him or I didn't deal with him
      4    frequently are you talking?                            4   directly. I would just deal with Tom.
      5        A A couple times a month.                          5       Q Going back to the division you set forth
      6        Q And the first header states "SOM                 6   before between people in operations --
      7    Resource - Will Simmons."                              7       A Yes.
      8           Do you see that?                                8       Q -- and then people who were in your
      9        A Yes, I see that.                                 9   position, non-operations --
     10        Q Will Simmons was an Actavis employee --         10       A Yes.
     11        A Yes.                                            11       Q -- was Will Simmons in operations?
     12        Q -- is that right?                               12       A He would have been more of an operations
     13        A Yes, he was.                                    13   resource, yes.
     14        Q And he was a compliance auditor and             14       Q You reference -- it appears that you
     15    investigator in DEA affairs; is that correct?         15   reference that he was legacy Actavis with former
     16        A I believe that was his -- either his            16   regulatory responsibilities in Elizabeth. Do you
     17    role or his title.                                    17   see that?
     18        Q Did you work with Will Simmons on the           18       A I see that.
     19    suspicious order monitoring program?                  19       Q Do you recall what his former regulatory
     20        A Well, he was one of the -- from what I          20   responsibilities in Elizabeth were?
     21    remember, one of -- he was one of the key players     21       A I don't. I didn't know him prior to --
     22    or employees involved in -- directly involved in      22   after the Watson-Actavis combination. So if I'm
     23    managing our SOM process. I believe that Will         23   writing this down, he must have been -- I guess if
     24    reported to Tom, or maybe he may have been two        24   I wrote this down, I had heard or learned that he



                                                                            31 (Pages 121 to 124)
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                                                    Page 125                                                  Page 126
      1    may have worked for Actavis as opposed to Watson,     1   time. MRC to make appointment for late September
      2    but I didn't know him at Actavis -- at legacy         2   or October."
      3    Actavis.                                              3           Do you recall making an appointment to
      4        Q As a general matter, these notes being          4   speak to Will Simmons in late September or
      5    taken are concerning conversations about the          5   October?
      6    integration of Watson and Actavis after the           6       A I don't remember when. I know I spoke
      7    acquisition?                                          7   with Will at some point after this, but I can't
      8        A Possibly. I mean, you know, I -- I take         8   tell you exactly when it was.
      9    notes of conversations, you know, because, you        9       Q Do you recall -- did that conversation
     10    know, it helps with whatever work that you're        10   concern the suspicious order monitoring process?
     11    trying to do, just to capture what it is that you    11       A Yeah, it must have. That's all we had
     12    met about or talked about or learned.                12   to talk about.
     13           So, you know, this was -- I mean, if          13       Q Do you recall what you talked about
     14    this conversation was in September 2013, that was    14   with -- with Will about the suspicious order
     15    after the integration was complete, which I          15   monitoring process?
     16    believe occurred sometime between February and       16       A I don't recall specifically. I know --
     17    April of 2013, if I -- if my memory serves. So we    17   I mean, it would have been what his
     18    were having conversations about SOM, and Will        18   responsibilities were and maybe a little bit about
     19    Simmons' name came up as to what he was going to     19   his background, but I don't recall the specifics
     20    be doing and what his background was, so I just      20   of the discussion.
     21    memorialized it.                                     21       Q Do you know if you discussed the DEA
     22        Q And in the final bullet point under this       22   meetings that had happened in 2012 with him?
     23    section, you say that: "Simmons is willing to        23       A I don't remember whether we discussed
     24    answer questions and review the SOM process at any   24   that.


                                                    Page 127                                                  Page 128
      1        Q The next heading says "Actual SOM System        1   there's always in my view usefulness in enhancing
      2    Status."                                              2   what you do, looking at ways to improve what you
      3        A I see that.                                     3   do. So in addition to figuring out how to
      4        Q And the first bullet says: "In the              4   integrate these two separate systems, I recall
      5    final stages of construction, to be completed by      5   there being discussions about enhancements that we
      6    the end of 2013."                                     6   could make to our system, possibly because there
      7           What was in -- what suspicious order           7   was other technologies out there or something to
      8    monitoring system existed prior to the completion     8   that effect. So I recall vaguely some discussions
      9    of the one being discussed here that was projected    9   to that effect.
     10    for the end of 2013?                                 10           So -- but I can't tell you legacy Watson
     11        A Well, it was a system -- I mean, Watson        11   system was this in terms of using this
     12    had a system in place, which I don't recall what     12   manufacturer or this technology tool compared to
     13    it was, but they had a system in place. And this     13   what legacy -- legacy Watson versus legacy
     14    is what I'm saying, legacy Actavis and legacy        14   Actavis, I can't recall that.
     15    Watson. So prior to the acquisition, and             15        Q So that the system you're discussing
     16    Actavis -- legacy Actavis, Swiss Actavis had a       16   here that is in its final stages of construction
     17    system in place, as well, prior to the               17   is referencing an integrated system post-merger of
     18    acquisition, and even after the acquisition prior    18   Watson and Actavis; is that right?
     19    to the integration or the close of the merger,       19        A That's correct, an integrated system,
     20    which is what I mean when I say "integration."       20   and even I know there was discussion about
     21           So when the two companies came together,      21   enhancement of what both of us -- both companies
     22    the question became how to address SOM when the      22   were doing.
     23    companies were coming in, and I believe from         23        Q And the legacy Actavis system that you
     24    slightly different perspectives. So there's --       24   just referred to in your response, the Swiss



                                                                             32 (Pages 125 to 128)
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                                                    Page 129                                                 Page 130
      1    Actavis or legacy Actavis is the one we discussed     1   knowledge about how Cegedim and ValuCentric
      2    in -- in -- when we were looking at your set of       2   systems worked?
      3    notes in Exhibit 4; is that correct?                  3       A I mean, Will Simmons and Tom Napoli,
      4        A That's -- that's correct.                       4   they would know.
      5        Q Okay. And the second sub-bullet under           5       Q And those two systems were under
      6    "Actual SOM System Status," you wrote: "Using" --     6   consideration and being -- in the case of Cegedim,
      7    and I don't want to mispronounce this, I'm going      7   being used to assist in the suspicious order
      8    to try -- "Cegedim."                                  8   monitoring process?
      9        A Cegedim.                                        9       A That's what I recall.
     10        Q Thank you.                                     10       Q The next bullet says: "The system has
     11        A Cegedim.                                       11   moved from a threshold-based system to an
     12        Q -- "Cegedim system, and recently had           12   algorithm."
     13    presentation by ValuCentric software system, which   13           Can you describe the difference between
     14    is likely to be used."                               14   a threshold-based system and an algo -- algorithm?
     15           Can you describe the Cegedim system?          15   Sorry for my tongue getting tied.
     16        A I don't recall how it worked. I know           16       A I know there's a difference, but I -- I
     17    that Cegedim was a vendor that had a software data   17   couldn't describe it now. I mean, I was more
     18    analysis system. ValuCentric was another vendor      18   familiar with it then, I mean, in terms of, you
     19    or was the name of another software system. I        19   know, threshold may have to do with certain limits
     20    can't tell you how they worked in terms of what      20   and certain values, and algorithm is formulaic
     21    the distinctions were. I would have known back       21   based. But beyond that, I can't tell you what the
     22    then, but I can't recall the details of them now.    22   details or the distinctions between the two
     23        Q Is there anybody you worked with at the        23   systems are.
     24    time who would be the person most likely to retain   24       Q Do you have any idea what went into the


                                                    Page 131                                                 Page 132
      1    algorithm, what factors were considered?              1   be a number of things. But I'm just wondering
      2        A I can't remember now.                           2   whether the WG refers to working group, but I
      3        Q And do you recall any communications            3   specifically don't know.
      4    with the DEA about the insufficiency of a             4       Q And then --
      5    threshold-based system?                               5       A I mean, Tom obviously would know these
      6        A I don't recall any communications to            6   things.
      7    that effect.                                          7       Q Sorry to cut you off.
      8        Q I'm going to go to the bottom of                8       A Mm-hmm.
      9    Exhibit 5. There's a header that says "External       9       Q The second bullet says: "Mentioned a
     10    Meetings," and the first bullet says: "Napoli to     10   one-day DEA conference in D.C. on October 22nd."
     11    attend IWG meeting on October 8 in Chicago."         11       A Right.
     12        A I see that.                                    12       Q Do you recall whether anyone from
     13        Q Do you recall what the IWG meeting was,        13   Actavis attended the DEA conference referenced in
     14    the purpose of the meeting?                          14   this bullet point?
     15        A I don't recall the purpose of the              15       A I remember going to a DEA conference. I
     16    meeting.                                             16   don't know if it was this one.
     17        Q Do you recall what IWG stands for?             17       Q Do you remember the year you attended a
     18        A I do not. I'm wondering whether that           18   DEA conference?
     19    refers to this working group. But that's the only    19       A I don't.
     20    thing I could think of that I would have put in a    20       Q Do you recall whether you were an
     21    note from a conversation with Tom, but it also       21   Actavis employee when you attended a DEA
     22    could have been some sort of external vendor         22   conference?
     23    having a meeting about anti-diversion or opioid      23       A Yes, I would have been an Actavis
     24    distribution or something like that. So it could     24   employee, but I don't recall if it was legacy



                                                                           33 (Pages 129 to 132)
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                                                     Page 133                                                       Page 134
      1    Actavis versus Watson-Actavis.                        1    after that.
      2        Q Understood.                                     2        Q Those phone calls that you mentioned, do
      3              Do you recall the subject matter of the     3    you remember the approximate timing of those
      4    DEA conference?                                       4    relative to the in-person meetings?
      5        A Not specifically.                               5        A They were after, but I can't tell you
      6        Q Do you recall any discussion of                 6    how much after.
      7    suspicious order monitoring at the DEA conference?    7        Q Okay. Do you recall whether anybody
      8        A That would have come up, but I can't            8    else from Actavis also participated in those phone
      9    specifically recall what was said about SOM.          9    calls?
     10        Q Do you recall any other meetings with          10        A Yes, other people did. I'm assuming
     11    the DEA other than the -- the two we discussed in    11    John Duff. I can't tell you who else.
     12    the prior exhibit, Exhibit 4 --                      12        Q Do you remember --
     13        A Mm-hmm.                                        13        A I mean it would have been a -- I'm
     14        Q -- and then this conference in Exhibit 5       14    sorry.
     15    in which you personally were involved during your    15        Q No, please.
     16    time at Actavis?                                     16        A It would have been a group call or
     17        A In terms of formal meetings, there was a       17    conference call, four or five people on the phone,
     18    D.C. meeting that we talked about earlier, and       18    but I can't tell you exactly who participated and
     19    then there was the local field office meeting,       19    how many of them there were and when they
     20    which followed the D.C. meeting in the fall of, I    20    occurred.
     21    guess that's, 2012.                                  21        Q Do you recall anything about the
     22              I remember participating in a couple of    22    substance of any of those phone calls?
     23    phone calls with one or more of the field office     23        A No, I don't.
     24    employees. I don't recall any in-person meetings     24        Q You're -- do you know whether they


                                                     Page 135                                                       Page 136
      1    concerned suspicious order monitoring?                1   Exhibit 6, which is an e-mail string from -- the
      2        A That likely would have been the topic of        2   most recent in time on the first page from Nancy
      3    discussion, because the DEA's focus would have        3   Baran on April 25th, 2012. It starts at Bates
      4    been on anti-diversion efforts and risk mitigation    4   number ALLERGAN_MDL_01729077 and ends on 9081.
      5    efforts by the manufacturers. So as a broad           5          And there's a -- so there are two --
      6    matter, that would likely have been the topic, but    6   this document contains two e-mail strings, the
      7    I can't tell you specifically what any of those       7   first -- most recent in time starts on the first
      8    phone calls were about.                               8   page. The one, it also includes an e-mail sent by
      9        Q And the suspicious order monitoring             9   Nancy Baran on March 30th, which is on the page
     10    process fell under the broad umbrella of             10   with the Bates stamp 079.
     11    anti-diversion efforts. Is that your                 11          Do you see that?
     12    understanding?                                       12       A I see that.
     13        A That's the way I'm describing it. Yes.         13       Q Okay. These appear to be notes from
     14              MR. MELAMED: Why don't we go off the       14   meetings concerning suspicious order monitoring at
     15    record.                                              15   Actavis; is that right?
     16              THE VIDEOGRAPHER: Stand by. 11:42,         16       A Yes, they're labeled "SOM Project Team
     17    we're off the video record.                          17   Status and Recap of SOM Meeting" on respective
     18              (Recess.)                                  18   dates. So it could be a summary of either the
     19              THE VIDEOGRAPHER: 11:56, we're on the      19   meetings or -- or the follow-ups.
     20    video record.                                        20       Q Okay. And you are a recipient of both
     21              (Clarke Exhibit No. 6 was marked           21   these e-mails, correct?
     22              for identification.)                       22       A Yes.
     23    BY MR. MELAMED:                                      23       Q And do you have any reason to believe
     24        Q I've handed you what's been marked             24   you did not receive these e-mails at the -- at or



                                                                             34 (Pages 133 to 136)
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                                                     Page 137                                            Page 138
      1    around the time they were sent?                       1   that, which is on 080.
      2       A I mean, they were sent to me, so I don't         2       A Yes.
      3    have any reason to believe I didn't get them.         3       Q There's a header "Know" -- "Know Your
      4        Q You spoke earlier this morning about a          4   Customer." Do you see that?
      5    working group, a suspicious order monitoring          5       A Yes.
      6    working group.                                        6       Q Do you know what the "Know Your
      7       A Yes.                                             7   Customer" -- do you know what that's referring to?
      8        Q Do these -- the participants or the             8       A I mean, "know your customer" is a term
      9    recipients of these e-mails reflect the working       9   of art, and I just don't recall whether that was
     10    group you were describing when you spoke about the   10   part of the SOM process, like a distinct part of
     11    working group earlier?                               11   the SOM process or just simply a description.
     12        A I think this is the working group.             12       Q Okay. What does that term -- to what
     13       Q So the -- the list of individuals on the        13   does that term of art refer?
     14    March 30th and April 25th e-mails reflect the        14       A It refers to -- I mean, it kind of
     15    working group?                                       15   speaks to itself. "Know your customer," meaning
     16       A I believe it does.                              16   perform some level of diligence on your customer
     17       Q Okay. If you'd turn to the page                 17   who you're selling or distributing product to.
     18    Bates-stamped 079.                                   18       Q And you see down at the bottom of the
     19       A Yes.                                            19   section titled "Know Your Customer," the last
     20       Q This is the first in the -- in the              20   arrow concerns a site visit tour being planned
     21    string, and it was sent Friday, March 30th, do you   21   with Cardinal?
     22    see -- 2012. Do you see that?                        22       A Yes.
     23       A Yes.                                            23       Q Do you know why that site tour -- site
     24        Q And then turn to the second page of            24   visits or tour was being planned with Cardinal?


                                                     Page 139                                            Page 140
      1        A Well, that's part of the "know your             1       A I really don't recall.
      2    customer" process. So earlier we had talked about     2       Q Do you know if the site visit or tour
      3    an ABC meeting, AmerisourceBergen meeting, and        3   being referenced in this e-mail occurred in late
      4    AmerisourceBergen was a distributor, so that was a    4   April or early May?
      5    customer, as was/is Cardinal. So in addition to,      5       A I don't recall when it occurred. I
      6    you know, analysis, you want to have conversations    6   remember that a site visit did occur. And -- and
      7    and do assessments of your customer. So that's --     7   actually it was Cardinal coming to Actavis. We
      8    that's part of the process.                           8   didn't go to Cardinal, wherever it was located.
      9        Q At this point in time, so being                 9   So I remember Cardinal folks came, I believe, to
     10    March 2012 and earlier, how frequently were site     10   the Elizabeth manufacturing site.
     11    visits or tours of customers undertaken?             11       Q Did you participate in that meeting?
     12        A As of March 2012?                              12       A I did.
     13        Q Mm-hmm.                                        13       Q Do you recall the substance of that
     14        A I really couldn't tell you. I don't            14   meeting?
     15    know how frequently they occurred before I got to    15       A I don't recall the substance. You know,
     16    the company in January of 2012. I know that we       16   we chatted and talked about anti-diversion
     17    had started doing them, I guess around this time,    17   efforts. We chatted about, you know, the
     18    including the ABC and maybe others. So we had        18   distribution process and risk mitigation. That --
     19    them, but I can't tell you how frequently they       19   I can tell you those were the subjects, but I
     20    were occurring, and I can't tell you when they       20   can't tell you the specifics of the discussion.
     21    started.                                             21       Q Do you recall anything Cardinal told you
     22        Q Do you know if Cardinal was -- a site          22   about its efforts to prevent diversion?
     23    visit or tour with Cardinal occurred more than       23       A I know they mentioned them, they talked
     24    once in 2012?                                        24   about them and described them, but I can't tell


                                                                          35 (Pages 137 to 140)
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                                               Page 141                                                          Page 142
      1    you what they were. I don't recall the details.       1   DEA and let the DEA know Actavis was interested in
      2        Q Do you know whether Cardinal described          2   meeting with the DEA?
      3    to you its process for monitoring suspicious          3      A Well, this is all part of the effort to
      4    orders?                                               4   open up lines of communication to the DEA. So
      5        A It did, but I can't recall the details.         5   like I think I mentioned earlier, you want to get
      6        Q You know that it did discuss --                 6   feedback from them about the efforts that you're
      7        A Yes.                                            7   undertaking to -- you know, your anti-diversion
      8        Q -- suspicious order monitoring, but you         8   diversion efforts, your suspicious order
      9    don't recall what about suspicious order              9   monitoring efforts.
     10    monitoring Cardinal discussed?                       10            And I know we communicated with them. I
     11        A Yeah. I know they talked about it,             11   know at some point we got feedback from the DEA
     12    because that really was the purpose of the           12   about how our efforts were -- I mean, ultimately
     13    meeting, anti-diversion, suspicious ordering, risk   13   our efforts were viewed as industry leading. You
     14    mitigation. So we described what we were doing,      14   know, we had a robust system in place. We
     15    how it was -- it worked in tandem with what          15   ultimately did get that sort of feedback.
     16    Cardinal would have been doing. So they would        16            But this was early in my tenure, and we
     17    have told us what they were doing. I just don't      17   were trying to reach out to the DEA to get, you
     18    recall the details.                                  18   know, information, get guidance, and get an
     19        Q The next header references "DEA Visit,"        19   assessment from them as to how well we were doing,
     20    and it says: "No change since last meeting."         20   how robust our system was, and whether there were
     21            The bullet point below that says:            21   any adjustments that needed to be made. So this
     22    "Kelly has reached out to the DEA and let them       22   was all part of, you know, a multi-pronged effort,
     23    know we are interested in meeting with them."        23   internally and through this external working
     24            Do you know why Kelly reached out to the     24   group.


                                               Page 143                                                          Page 144
      1         Q You -- you said that you ultimately            1   to adhere to SOM requirements similar to what we
      2    received feedback that Actavis did have a robust      2   were doing.
      3    system in place.                                      3           You know, we had policy, we had a
      4         A Yes.                                           4   regulation, and we wanted to make sure that
      5         Q Do you recall around what date you             5   everyone in the distribution stream was aligned;
      6    received that feedback from the DEA?                  6   you know, that our customers aligned with our
      7         A I don't recall the specific date. I            7   requirements or our program.
      8    believe it was sometime in 2013, but I don't          8       Q Prior to the compliance agreement being
      9    recall specifically.                                  9   discussed in Exhibit 6, had Actavis required its
     10         Q And --                                        10   customers to execute a compliance agreement
     11         A I mean, I'm sure there's a document that      11   stating it's -- it's outlining the expectations
     12    would help me, but I just don't recall it as we      12   that it comply with the Controlled Substances Act?
     13    sit here.                                            13       A I don't recall that we did. I'm not
     14         Q Let's turn to the first page of this          14   familiar with what was done in detail before I got
     15    exhibit, which again is Bates number ending in       15   there. This was all in 2012 based on the date of
     16    077.                                                 16   this e-mail, and I know we had discussions about
     17            The first bullet point concerns              17   that after I got there with the working team, and
     18    "Compliance Agreement." Do you know what that        18   put a plan in place to have this agreement or this
     19    compliance agreement is describing?                  19   certification sent to our distributors, and then
     20         A I know that we had put together a -- a        20   signed and returned back to us.
     21    communication, and I believe a one or                21       Q When you say you -- you started your
     22    one-and-a-half-page agreement or certification       22   response by saying, "I don't recall that we did."
     23    document that we were asking our distributors to     23   Do you -- you don't believe that you did or you
     24    sign, essentially indicating that they were going    24   don't know either way that you did have such an



                                                                              36 (Pages 141 to 144)
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                                               Page 145                                                      Page 146
      1    agreement prior to this?                              1   meeting?
      2        A I don't know what was done before I got         2       A I don't know. I really don't recall. I
      3    there, but I know that we -- after I got to           3   would have to see whatever documents exist to
      4    Actavis and started on the working team, we put       4   know.
      5    this in place to create this agreement or             5       Q The next bullet point mentions a Cegedim
      6    certification and get our distributors to sign it.    6   conference.
      7        Q The -- the next bullet point says               7       A Yes, I see that.
      8    "Direct and Indirect SOPs and Flowchart."             8       Q And it mentions that Nancy and Kelly
      9            Does SOP stand for standard operating         9   were scheduled to attend, and then it says --
     10    procedure?                                           10   follows up by saying: "In the meantime, a few
     11        A I believe it does.                             11   points of confirmation/validation were received."
     12        Q And so this is talking about the direct        12           And this e-mail is written by Nancy
     13    and indirect standard operating procedures for       13   Baran. Do you know from whom she received
     14    suspicious order monitoring; is that right?          14   confirmation and validation?
     15        A Without seeing it, I really couldn't           15       A I do not.
     16    answer definitively. I believe so, because this      16       Q The second checkmark in this section --
     17    is an SOM summary, but I would need to see it to     17   we're still on the first page Bates-stamped 077 --
     18    be definitive that -- to know whether this is an     18   states: "We are" -- "Among the things that were
     19    SOP on direct or indirect SOM process.               19   confirmed or validated was that: "We are
     20        Q The first bullet point talks about an          20   absolutely on the right track with our indirect
     21    indirect SOP completed during the 4/17 meeting.      21   SOM initiative, also referred to as 'Knowing your
     22    Do you know if there was an indirect SOP prior to    22   customers' customer.' The same question was asked
     23    the version that was completed during the April      23   repeatedly by manufacturers: Will manufacturers
     24    2017 -- or, I'm sorry, the April 17th, 2012          24   be held accountable for who their customers are


                                               Page 147                                                      Page 148
      1    selling to? The answer was yes."                      1   was about to be enacted -- there were plans to
      2           Do you know who provided that answer?          2   enact that indirect SOM initiative?
      3        A She's referring to a Cegedim conference,        3        A I mean, that's what she's saying. I
      4    and I -- and, you know, Cegedim is a contractor or    4   remember talking about that. You know, some of
      5    consultant, at least it was, and I remember back      5   the details escape me, but I do remember talking
      6    then that many of the Cegedim employees or            6   about, you know, the direct or the indirect
      7    consultants were former industry, FDA, DEA            7   process, and, you know, direct distributors and
      8    employees, so they would have a sense of what         8   then maybe going a level below. Know your
      9    governmental expectations would be.                   9   customer, who was your direct distributor, and
     10           So based on what she has listed here and      10   then know your customers' customer, a level below
     11    what she's describing, this would be feedback from   11   that.
     12    the conference, either from Cegedim consultants or   12           So that's -- we talked about going a
     13    employees or current or former government            13   level below just the direct customer, and then
     14    employees, about -- you know, from different --      14   implementing a system that would look at not just
     15    obviously different manufacturers as to comparing    15   our direct distributors or the direct entities in
     16    SOM programs, anti-diversion efforts, et cetera.     16   the distribution chain but then, you know, a level
     17        Q And if you continue to the end of that         17   below.
     18    checkmark section, which turns on to the next page   18        Q Do you know why Actavis was talking
     19    on 7 -- ending 078, it concludes: "Therefore, we     19   about knowing its customers' customers at that
     20    are on the right track. We have a plan in place.     20   point?
     21    All we need to do now is execute."                   21        A I mean, just as a due diligence matter,
     22           So is it correct to say that the              22   it's a good thing to do. I mean, there's a
     23    indirect SOM initiative that was being undertaken    23   distribution stream, and, you know, to the extent
     24    at Actavis was one that had yet to be enacted but    24   you're looking at risk mitigation for diversion,



                                                                             37 (Pages 145 to 148)
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                                                         Page 149                                                   Page 150
      1    it does make sense to go more than just the level         1         THE VIDEOGRAPHER: 1:12, we're on the
      2    below the initial distributor that you're selling         2   video record.
      3    to.                                                       3   BY MR. MELAMED:
      4          Q If you go to the bottom of the page with          4      Q I just handed you what's been marked
      5    Bates number ending 78, there's a "Miscellaneous"         5   Exhibit 7. Exhibit 7 is an e-mail string, two
      6    category.                                                 6   pages, the most recent in time being from Doug
      7          A Yes, I see that.                                  7   Boothe to Michael Clarke on May 2nd, 2017. It
      8          Q Point 3 says: "Upcoming DEA visit." Do            8   starts at ALLERGAN_MDL_02872193 and goes to 2194.
      9    you know what DEA visit that's referencing?               9          Do you recognize this document?
     10          A I don't know specifically what DEA visit         10      A Yeah, I've seen this.
     11    this is referencing.                                     11      Q And this reflects an e-mail conversation
     12          Q Do you recall a DEA visit between April          12   between you and Doug Boothe on May 2nd, correct?
     13    2012 and the D.C. meeting with the DEA that              13      A That's what it looks like, yes.
     14    occurred in September 2012?                              14      Q You reference -- in your initial e-mail
     15          A I don't recall specifically, but it              15   to Mr. Boothe, you reference the need -- you'd
     16    doesn't mean one didn't occur. I just don't              16   like to talk to him about resources for suspicious
     17    remember that.                                           17   order monitoring, correct?
     18             MR. MELAMED: Why don't we go off the            18      A Yes.
     19    record.                                                  19      Q And you want additional FTEs for
     20             THE VIDEOGRAPHER: 12:13, we're off the          20   suspicious order monitoring; is that correct?
     21    video record.                                            21      A Yes.
     22             (Lunch recess.)                                 22      Q And FTEs are full-time employees --
     23             (Clarke Exhibit No. 7 was marked                23      A Correct.
     24             for identification.)                            24      Q -- or full-time equivalents?


                                                         Page 151                                                   Page 152
      1          A Yes.                                              1    an operations function outside of a commercial
      2          Q Which one of those?                               2    function.
      3          A It's either one.                                  3         Q Okay. And the effects -- the potential
      4          Q Okay. And then you also reference the             4    for the effect on revenue that you're describing
      5    need for additional full-time employees and the           5    would be because held orders under the suspicious
      6    question of what department those employees should        6    order monitoring program and orders that needed to
      7    be located in, correct?                                   7    be cancelled under the suspicious order monitoring
      8          A Yes.                                              8    program would negatively affect sales and revenue;
      9          Q And the question about or the concern             9    is that correct?
     10    about the department in which the resources are          10         A I mean, I would say it differently.
     11    located, the individuals being the resources,            11    That, you know, held orders, cancelled orders may
     12    concerns avoiding the perceived conflict between         12    reduce revenue, and there might be a perception of
     13    sales/marketing.                                         13    a conflict. That wasn't going on in our case, but
     14              Do you see that?                               14    there's a perception that that might be the case.
     15          A I see that.                                      15         Q And --
     16          Q What is the perceived conflict with              16         A Well, let's just say the government may
     17    sales and marketing?                                     17    have a perception that that's the case.
     18          A Well, I stated it as perceived, not              18         Q Is it true that at least some
     19    actual. That there can be a perception that if           19    individuals in the sales department were paid
     20    either sales or marketing, which we can talk about       20    incentive compensation based on the number -- the
     21    the distinction, is running an SOM program, that         21    amount of product they sold?
     22    there may be an inclination not to do things in a        22         A I don't know whether that was occurring
     23    certain way that would affect revenue. So it             23    because this was legacy Actavis or what I call
     24    might make more sense for an SOM program to sit in       24    Swiss Actavis, and it was primarily -- not



                                                                                38 (Pages 149 to 152)
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                                                      Page 153                                                  Page 154
      1    exclusively -- primarily a generic company. So         1   resources, which are probably limited, while an
      2    there was a market -- compensation, I believe, was     2   acquisition is pending.
      3    different for generic sales versus -- I'm sorry,       3       Q Okay.
      4    generic marketing versus brand sales. I don't          4       A And Doug referred to that in his e-mail.
      5    know what the distinctions were, but I understand      5       Q Where -- where does he refer to that in
      6    that there are distinctions, and I don't know what     6   his e-mail?
      7    was going on here.                                     7       A Third line, where he says: "I think it
      8        Q Okay. So you don't know either way               8   depends on the depth of the request and the
      9    whether individuals in the sales and marketing         9   implications as part of the expected combined
     10    departments at legacy Actavis were receiving any      10   organization."
     11    comp- -- incentive-based compensation based on the    11       Q Okay.
     12    amount of Actavis product that they sold?             12       A He was responding to what I was raising.
     13        A I don't know. I wasn't familiar with            13       Q And he continues to say: "I guess -- I
     14    whether those formulas existed, and if they did,      14   would guess the bar will be high to get
     15    what they were.                                       15   incremental new approvals."
     16        Q And then the last sentence in your              16          Is that also a response to the
     17    e-mail -- I'm sorry, the last part of the last        17   corporate -- the current corporate situation?
     18    sentence in your e-mail references the current        18       A Correct.
     19    corporate situation.                                  19       Q Do you know the end result of your
     20            What is that a reference to?                  20   request? Did you receive additional FTEs?
     21        A The Watson -- Watson acquisition had            21       A I believe we did. I can't tell you what
     22    been announced in, I believe, February of that        22   or how many, but I know that we expanded what we
     23    year. It was going to close the following year.       23   were doing in terms of the resources that were
     24    So you have to be cautious about expending            24   devoted to SOM.


                                                      Page 155                                                  Page 156
      1        Q And that occurred -- that expansion              1        A Yeah, I'm listed as a cc on the e-mail.
      2    occurred in response to this May 2012 exchange?        2        Q Okay. Do you have any reason to believe
      3        A I mean, it occurred after this exchange.         3   you did not receive this in the ordinary course of
      4    This exchange may have triggered it. I can't say       4   business?
      5    directly in response to. But it occurred after         5        A I have no reason to believe it, no.
      6    this May exchange between Doug and myself.             6        Q Now, do you -- there are two articles
      7        Q All right. You can put that aside.               7   attached. I want to draw your attention primarily
      8           (Clarke Exhibit No. 8 was marked                8   to the one that commences on 1637. The article is
      9           for identification.)                            9   titled "American Pain: The Largest U.S. Pill
     10    BY MR. MELAMED:                                       10   Mill's Rise and Fall."
     11        Q So I'm handing you what's been marked           11        A I'm sorry, could you tell me -- oh, I
     12    Exhibit 8. Exhibit 8 is an e-mail and an              12   found it. Thank you.
     13    attachment. They're to -- the e-mail is from Doug     13        Q So 1637?
     14    Boothe, dated June 8, 2012, to a group of             14        A Mm-hmm.
     15    recipients, including Michael Clarke. It              15        Q Do you recall reviewing this article?
     16    starts -- the initial Bates number is                 16        A No, I don't.
     17    ALLERGAN_MDL_131633. The e-mail string is two         17        Q Okay. It represents a -- it discusses a
     18    pages, and then it attaches a series of articles      18   pill mill established in 2008 and then became
     19    that end on Bates number ending 1645.                 19   subject to an investigation called Operation Oxy,
     20           Do you recognize this e-mail string and        20   O-X-Y, Alley, A-L-L-E-Y, in 2010, and that's
     21    the attachments thereto?                              21   reflected at the bottom of 1638.
     22        A Independently, I do not.                        22           As a general matter, is it your
     23        Q You recognize that you are cc'd on the          23   understanding that the purpose of suspicious order
     24    e-mail and the attachment?                            24   monitoring is to prevent sales such as those


                                                                            39 (Pages 153 to 156)
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                                                     Page 157                                                  Page 158
      1    referenced in this article?                           1   understand them, and specifically -- let me
      2        A I haven't read the article, so should I         2   rephrase that.
      3    read it?                                              3           Is it your understanding that the
      4        Q I can represent to you that the article         4   purpose of Actavis's suspicious order monitoring
      5    reflects a pill mill that was in operation in         5   program was to prevent sales to entities such as
      6    Florida that was referred to as the "Largest U.S.     6   the one identified in this article?
      7    Pill Mill's Rise and Fall" that's --                  7           MS. LEVY: Okay. I'm going to object
      8            MS. LEVY: I think if you're going to          8   and give him a minute to answer the question, and
      9    ask him questions about this, let's give him          9   then you can respond.
     10    minute to read it.                                   10           THE WITNESS: (Peruses document.)
     11            MR. MELAMED: But I just --                   11           The purpose of suspicious order
     12            MS. LEVY: Take your time to read it.         12   monitoring programs is to reduce the risk of
     13    BY MR. MELAMED:                                      13   diversion of controlled substances manufactured by
     14        Q I'm happy to give you the time.                14   controlled substance manufacturers. There are a
     15            I just want to know, based on the title      15   number of ways that they could be diverted, but
     16    of the article, do you think that -- is it fair to   16   that's essentially one of the key purposes of an
     17    say that the purpose of suspicious order             17   SOM.
     18    monitoring programs is to prevent sales to           18   BY MR. MELAMED:
     19    entities such as the largest U.S. pill mill?         19        Q And is one of the ways that the
     20            MS. LEVY: I'm sorry. Do you mind             20   controlled substances could be diverted is through
     21    rephrasing the question?                             21   pill mills, what are referred to here in this
     22    BY MR. MELAMED:                                      22   article as pill mills?
     23        Q Is it fair to say that the purpose of          23        A I mean, this is a long article.
     24    suspicious order monitoring programs, as you         24        Q Mm-hmm.


                                                     Page 159                                                  Page 160
      1        A I mean, I know euphemistically what pill        1          MR. MELAMED: Are you going to --
      2    mills are -- refer to, but you're going to have to    2          MS. LEVY: Yeah, hang on.
      3    be more specific as to -- I mean, I haven't read      3          -- without giving him a chance to review
      4    this. I've gotten through about two pages of the      4   the whole article. So --
      5    eight pages, and I'm not going to -- I don't feel     5          MR. MELAMED: Are you going to object on
      6    comfortable answering the question without knowing    6   privilege grounds that he can't answer?
      7    exactly what is referred to in this article beyond    7          MS. LEVY: Am I? I'm instructing you to
      8    the two pages that I've read so far.                  8   read the entire article before you answer
      9        Q Let me direct your attention to a               9   questions.
     10    paragraph on 1643.                                   10   BY MR. MELAMED:
     11        A 163?                                           11      Q That's -- Mr. Clarke, you're an
     12        Q 1643. I'm sorry. Bates number ending           12   attorney, correct?
     13    1643.                                                13      A I'm a nonpracticing lawyer.
     14            MS. LEVY: So I'm going to object. If         14      Q And you've testified that you've been in
     15    you're going to ask specific questions about the     15   depositions before, correct?
     16    article, let's take a break and let the witness      16      A Yes.
     17    read the whole article.                              17      Q So you know that if you need to read the
     18            MR. MELAMED: I just want to have him         18   whole article, you can ask for that, and you don't
     19    read the whole paragraph. If -- you can have your    19   need your counsel to answer the question for you
     20    objection.                                           20   and instruct you to read an article, correct?
     21            MS. LEVY: Yeah, I'm not going -- I'm         21      A Yes.
     22    not going to let him answer questions about a        22      Q Okay. So --
     23    specific piece of an article without giving him a    23      A And I'd like to read the article.
     24    chance --                                            24      Q Okay. Let's put this aside. And we may



                                                                           40 (Pages 157 to 160)
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                                              Page 161                                                      Page 162
      1    return to it later.                                 1   clinics, doctors typically prescribed around 180
      2            Actually, let -- let me change that.        2   30-milligram painkillers per patient at $2 a piece
      3           I want to read one paragraph to you, and     3   plus a small amount of generic antianxiety
      4    if you choose to say you need more, then that's     4   medication, such as alprazolam. George says the
      5    your choice.                                        5   wholesalers usually sold him generic roxies for,
      6            On 16 --                                    6   on average, around 70 cents per pill. Thus, each
      7            MS. LEVY: I instruct the witness to         7   sale netted roughly $1.30 profit per pill or about
      8    read the document before you answer questions       8   $235 for every prescription they filled on site.
      9    about it.                                           9   For brand opioids, on the other hand, says George,
     10            MR. MELAMED: That's an improper            10   'Wholesalers charged about $3 a pill.'" Quote,
     11    instruction.                                       11   "'Nobody buys brands,' says George," quote,
     12            MS. LEVY: Okay. Feel free to --            12   "'Especially when it comes to roxies. I don't
     13            MR. MELAMED: -- to raise that with the     13   even know who makes the brand Roxicodone.'"
     14    special master?                                    14           Based on your understanding of the
     15           MS. LEVY: -- with the special master.       15   paragraph, do you believe that suspicious order
     16            MR. MELAMED: Okay.                         16   monitoring protocols existed to prevent diversion
     17    BY MR. MELAMED:                                    17   of opioids such as -- such as the sales described
     18        Q On 1463, there's a paragraph that            18   in that paragraph?
     19    states: "The George brothers operated downmarket   19           MS. LEVY: Again, we are not going to
     20    from all that. They bought and sold the            20   have the depo- -- the deposition this way. So if
     21    generics."                                         21   you're going to ask specific articles --
     22            This is in reference to generic            22           MR. MELAMED: Just I'm -- I'm not
     23    hydrocodone and oxycodone.                         23   asking --
     24            "Their customers paid in cash. At his      24           MS. LEVY: Don't interrupt me in the


                                              Page 163                                                      Page 164
      1    middle of --                                        1            MS. LEVY: Okay.
      2           MR. MELAMED: No, this is not an              2   BY MR. MELAMED:
      3    objection. This is a lecture. Stop.                 3      Q Please answer the question, if you
      4           MS. LEVY: -- in the middle -- we are         4   can --
      5    not going to --                                     5            MS. LEVY: Do not answer the question.
      6           MR. MELAMED: Stop.                           6   Just a minute. I'm going to make my record on
      7           MS. LEVY: -- conduct the record this         7   this. Go ahead, you finish, and then I'm going to
      8    way.                                                8   make my record.
      9           MR. MELAMED: You can't do this.              9            MR. MELAMED: Make your record.
     10           MS. LEVY: If you are going to ask --        10            MS. LEVY: We are not going to conduct
     11           MR. MELAMED: You can't continue to do       11   this deposition this way. If you would like to
     12    this.                                              12   ask this witness a question about a document, you
     13           MS. LEVY: -- questions about a              13   must give the witness time to read the document,
     14    document, then we're going to take a break, the    14   and then ask your question. And after you do
     15    witness is going to read the document --           15   that, the witness will answer the question. And
     16           MR. MELAMED: He can answer --               16   that's what we're going to do with respect to this
     17           MS. LEVY: -- and then you may ask him       17   question and all the rest of the questions in the
     18    questions.                                         18   dep.
     19           MR. MELAMED: He can answer the              19            MR. MELAMED: Okay. That is an improper
     20    questions.                                         20   objection/instruction.
     21           MS. LEVY: But we're not going to have       21   BY MR. MELAMED:
     22    the deposition --                                  22      Q I'm going to ask you the question: Do
     23           MR. MELAMED: Let him answer the             23   you understand -- do you have an understanding of
     24    question. He's a lawyer.                           24   the paragraph? Do you think you understand what's



                                                                            41 (Pages 161 to 164)
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                                                       Page 165                                                       Page 166
      1    being talked about in that paragraph?                   1   at Bates number ALLERGAN_MDL_01026090.
      2        A No, I don't. I need --                            2          Whoop, I'm sorry, I handed you the wrong
      3        Q Okay. That's fair enough.                         3   document. Just give me a sec. No, we can keep
      4        A I need context in order to answer it,             4   this. Good.
      5    which means I need to read the entire article.          5          I'm sorry, it's an e-mail exchange
      6        Q Fair enough. That is an -- you can                6   between Michael Clarke and Doug Boothe. I was
      7    answer that way.                                        7   describing the wrong document. It starts at
      8           MR. MELAMED: You may not object that             8   ALLERGAN_MDL -- whoop, no. Do I have the correct
      9    way. You are not conducting the deposition.             9   document? I did have the correct document before.
     10           MS. LEVY: I -- I may put anything I             10   Thank you. You can have yours back.
     11    want on the record --                                  11          Exhibit 9 is a Gerald Farrell e-mail,
     12           MR. MELAMED: That's true.                       12   Actavis_0717304, and it continues through 17308.
     13           MS. LEVY: -- whether you like it or             13          Do you recognize this document?
     14    not.                                                   14       A I do not.
     15           MR. MELAMED: That -- that is true.              15       Q Do not. Do you have any reason to
     16    BY MR. MELAMED:                                        16   believe that you did not receive this document at
     17        Q You can put that -- that document aside.         17   your e-mail -- through your e-mail address on or
     18           (Clarke Exhibit No. 9 was marked                18   around July 9th, 2012?
     19           for identification.)                            19       A I don't know. I mean, it's -- reflects
     20    BY MR. MELAMED:                                        20   that I'm a recipient of it, so presumably I
     21        Q This is Exhibit 9. Exhibit 9 is an               21   received it, but I don't recall this at all.
     22    e-mail and an attachment. The e-mail is from           22       Q Okay. You can turn to the page that
     23    Gerard Farrell to several individuals, including       23   starts 7306, which is an attachment. It appears
     24    Michael Clarke, dated July 9th, 2012. It starts        24   to be a memorandum from Hill and Knowlton


                                                       Page 167                                                       Page 168
      1    Strategies dated July 9th, 2012.                        1        A I see that.
      2           Do you see that?                                 2        Q Were you aware prior to the -- this
      3        A I see this page, yes.                             3    memorandum that Actavis manufactured and/or
      4        Q And do you see that you are one of the            4    distributed opioid pain relievers that were
      5    three individuals to whom this memo was addressed?      5    amongst the most widely abused prescription
      6        A I see that.                                       6    medications in the United States?
      7        Q Do you recognize this memo?                       7        A No. I knew that we made certain
      8        A I do not.                                         8    products that fit within these therapeutic
      9        Q Do you have any reason to doubt that you          9    categories, but I -- beyond that, I don't have any
     10    received this as attached to the e-mail at 17304?      10    knowledge of the rest of your question.
     11        A I mean, I'm one of the recipients listed         11        Q Okay. And if you go down four
     12    on the memo and on the e-mail, so I assume I           12    paragraphs, there's a paragraph starting
     13    received it, but it's not familiar to me.              13    "Additionally."
     14        Q Okay. On the first page of the memo, in          14            Were you aware prior to receiving this
     15    the second paragraph, it states: "The most widely      15    memo that the Actavis name had become part of the
     16    abused prescription medications fall into three        16    lexicon of a subset of the music industry in which
     17    therapeutic categories, of which one is opioid         17    performers glorified, romantified -- romanticized
     18    pain relievers."                                       18    abuse of its drugs?
     19           And then the next sentence says:                19        A I do remember hearing something about
     20    "Actavis currently manufactures or distributes at      20    that.
     21    least six products in these three categories for       21        Q What do you remember hearing about that?
     22    the U.S. market," and then mentions, among others,     22        A The second line of the fourth paragraph
     23    oxycodone and fentanyl.                                23    refers to promethazine-codeine syrup.
     24           Do you see that?                                24        Q Mm-hmm.



                                                                               42 (Pages 165 to 168)
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                                                   Page 169                                                          Page 170
      1        A So I remember hearing about that.               1       Q    I'm handing you what's been marked as
      2        Q What do you remember hearing about that         2   Exhibit 10.
      3    in the -- in pop culture?                             3           Exhibit 10 is an e-mail string
      4        A That was some sort of concoction that           4   between -- well, the most recent in time being
      5    was popular among certain, I guess, music industry    5   from Michael Clarke to Doug Boothe, "Re: DEA
      6    types and their hangers-on.                           6   Action," dated September 12th, 2012. It starts at
      7        Q Had you heard of the person referred to         7   ALLERGAN_MDL_01026090 and continues through 6093.
      8    here as DJ Actavis?                                   8           So if you turn to the page ending 6091,
      9        A No, I had not.                                  9   it's the second page of the exhibit.
     10        Q Or had you heard of a song called "Cream       10       A Yes.
     11    Soda and Actavis"?                                   11       Q    And you see there's a series of
     12        A No, I did -- have not.                         12   forwards, and then it ends up with an e-mail from
     13        Q And -- or had you heard of the -- what's       13   Doug Boothe to a series of individuals, of which
     14    referred to here as an apparent distribution         14   you're included, September 12th at 10:28 a.m.
     15    company called Actavis Music?                        15       A Yes, I see that.
     16        A No.                                            16       Q    Is the Michael -- it says: "Michael,
     17        Q You can put that aside.                        17   how are you planning on leading the
     18           (Clarke Exhibit No. 10 was marked             18   discussion/review with the DEA?"
     19           for identification.)                          19           Is this -- is the "discussion/review"
     20           MR. MELAMED: Is that Exhibit 11? Am I         20   being referred to here the meeting we discussed
     21    correct?                                             21   earlier this morning that occurred in September
     22           MS. LEVY: That was 9.                         22   2012 -- September 12th, 2012, in D.C.?
     23           MR. MELAMED: Nine? Okay. Thank you.           23       A I believe it's referring to the
     24    BY MR. MELAMED:                                      24   September 2012 meeting at DEA headquarters in


                                                   Page 171                                                          Page 172
      1    Arlington, Virginia.                                  1    plan.
      2         Q Oh, in -- thank you. In Arlington,             2         Q Okay.
      3    Virginia.                                             3         A Which I refer to in my e-mail, now that
      4            Do you see the second line of Doug            4    I see it.
      5    Boothe's e-mail says: "We can't afford any            5         Q Yeah, the -- and what you're referring
      6    backward steps here"?                                 6    to is the line at the top of 6091 where it says,
      7         A Yes, I see that.                               7    "We plan to present," and it goes on to say what
      8         Q Do you have any understanding what he          8    you planned to present; is that correct?
      9    meant?                                                9         A Yeah. My September 12th e-mail at
     10         A At this point in time, I don't.               10    10:30, where I describe the focus of the DEA
     11         Q You believe you understood at that point      11    meeting, and then the sentence starts on the prior
     12    in time or you may have understood?                  12    page: "To the extent the DEA staffers ask us what
     13         A I may have. I just don't recall whether       13    we are doing, we plan to present a very high level
     14    I did or not.                                        14    discussion of our SOM efforts, especially our
     15         Q And then the last line says: "What            15    awareness of potential diversion in the
     16    exactly is the agenda and what are we presenting?"   16    distribution stream and our more recent
     17            Do you recall whether you presented          17    enhancements of our monitoring efforts." That was
     18    anything at that meeting with the DEA?               18    our plan.
     19         A Well, like I mentioned earlier, our plan      19         Q All right, you can put that aside.
     20    was to have a discussion, an interchange with        20            (Clarke Exhibit No. 11 was marked
     21    them, and we had hoped to present some version of    21            for identification.)
     22    the slides we had created on our suspicious order    22    BY MR. MELAMED:
     23    monitoring program. That was our plan. I'm not       23         Q I'm going to hand you what's been marked
     24    sure that we did present that, but that was our      24    as Exhibit 11.



                                                                              43 (Pages 169 to 172)
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                                                        Page 173                                                 Page 174
      1           Exhibit 11 is a document with the front           1   of what was presented. The reason I say that is
      2   page titled "Effective Controls Against Diversion         2   because -- I haven't read the entire document, but
      3   of Controlled Substances. Meeting with Actavis            3   this looked like a compilation of different
      4   Elizabeth, LLC, September 12, 2012."                      4   materials. One, there's a PowerPoint deck in the
      5           Do you see that?                                  5   beginning, which probably is what you just
      6       A I see that.                                         6   referred to. There are cases, court cases behind
      7       Q And just for the record, it starts at               7   that, and some other materials, I think
      8   ALLERGAN_MDL_03302011 and continues through 2319.         8   regulations and laws and stuff that I haven't read
      9   Is this --                                                9   yet.
     10           MS. LEVY: Take your time and look                10           The reason I'm concerned is that the
     11   through this --                                          11   PowerPoint presentation that the DEA presented to
     12           THE WITNESS: Mm-hmm. Yes, I will.                12   us was over a hundred slides, and without counting
     13   Thank you. (Peruses document.)                           13   them, I don't think this is a hundred slide deck.
     14   BY MR. MELAMED:                                          14        Q Okay. If you turn to 2237. This is in
     15       Q Were these materials presented to you              15   the same document. And I'm referring -- there's
     16   and others from Actavis by the DEA at the                16   two sets of Bate numbers -- Bates numbers on this.
     17   September 12th, 2012 meeting to which we've been         17   I'm referring to the --
     18   referring?                                               18        A The bottom one.
     19       A I need to look at it to be sure.                   19        Q -- smaller bottom one.
     20       Q I can help walk you through maybe.                 20        A 2237?
     21           So if you look at 2011 through 2029, it          21        Q Correct.
     22   seems to reflect a unitary PowerPoint                    22        A Okay.
     23   presentation.                                            23        Q And that's is titled "Actavis Top 50
     24       A I'm not sure that this was the totality            24   Pharmacy Sales 2010 to 2012."


                                                        Page 175                                                 Page 176
      1         A I see that.                                       1   not seeing a clear numerical system.
      2         Q And if you turn the page and you flip --          2       Q Do you know whether the entirety of the
      3     take a few minutes to flip through virtually the        3   presentation was maintained by anybody at Actavis?
      4     end of this document -- do these seem to reflect        4       A I don't know if it was maintained. I
      5     the slides that you remember being presented to         5   believe all of us received copies of it. If I
      6     you at the September 2012 meeting?                      6   recall correctly, the Actavis team had received at
      7         A (Peruses document.)                               7   least two or three, you know, three-ring binders
      8         Q Obviously, I don't have you -- expect             8   about the size of the one that's in front of you
      9     you to have perfect recall of the information that      9   now with the slide deck in it in, you know, paper
     10     was presented to you, but you referenced               10   form.
     11     approximately 90 slides --                             11           But it was one slide per page, not the
     12         A No, it was over a hundred slides.                12   two slides per page on yours. So we had had paper
     13         Q Over a hundred slides. Thank you.                13   copies of it and we took it back to our offices,
     14         A For some reason, the number 112 sticks           14   and then after I left the company, I don't know
     15     out in my head. But I know it was well over a          15   what happened to it.
     16     hundred slides that they presented to us.              16       Q Turn to the page ending 2014. And this
     17         Q As you're looking through this, I just           17   is back toward the beginning in this first
     18     want to know whether you believe this -- this is       18   PowerPoint presentation titled "Effective Controls
     19     the information that was presented to you.             19   Against Diversion of Controlled Substances."
     20         A I don't know. This looks like data that          20       A Yes.
     21     was contained in the presentation. I don't know        21       Q Do you see the first slide? There are
     22     that this was the presentation, and I clearly          22   two slides on that page -- sorry, I think that's
     23     don't know that this was the entirety of the           23   the wrong page. One more back, 014. Sorry. This
     24     presentation, not having counted the slides and        24   one is double-sided because it's so lengthy. I



                                                                                44 (Pages 173 to 176)
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                                               Page 177                                                         Page 178
      1    should have mentioned that before. Sorry.             1   says that that's a violation, and -- and failure
      2            The second bullet point on the first          2   to adhere to its responsibility necessarily is not
      3    page says: "Each registrant within this closed        3   a violation. It may be, but it's not necessary.
      4    system of distribution has defined privileges and     4   So -- and it's a small point, I get that. But,
      5    responsibilities in which they must operate."         5   you know, just in terms of my interpretation,
      6    Correct?                                              6   that's where I would start.
      7        A That's what it says.                            7        Q Okay. Are you aware of any
      8        Q Yeah. And during your time at Actavis,          8   responsibilities that, were Actavis to have failed
      9    it was a registrant within this closed system of      9   to adhere to that responsibility, would not have
     10    distribution, correct?                               10   constituted a violation of the Drug Abuse
     11        A Actavis?                                       11   Prevention and Control Act of 1970, as amended in
     12        Q Yes.                                           12   '90 and '94?
     13        A I believe it was.                              13        A Well, as far as I'm aware, from the time
     14        Q The next slide down, the first bullet          14   that I was there, Actavis didn't violate any
     15    says: "When a registrant fails to adhere to their    15   responsibilities under statute or regulation. As
     16    responsibilities, those violations represent a       16   far as I'm aware, Actavis didn't engage in any
     17    danger to the public and jeopardize the closed       17   activities that would have posed a danger to the
     18    system of distribution."                             18   public or jeopardize the closed system of
     19            Do you agree with that point?                19   distribution.
     20        A Not exactly.                                   20        Q My question is, can you think of any
     21        Q Can you explain?                               21   responsibilities that if a registrant violated --
     22        A Well, the point states that when a             22   or, I'm sorry, did not follow that -- did not
     23    registrant fails to adhere to their                  23   abide by that responsibility would not constitute
     24    responsibilities, and then the next part of that     24   a violation within the statute?


                                               Page 179                                                         Page 180
      1            MS. LEVY: Object to the form.                 1   statement.
      2    BY MR. MELAMED:                                       2       Q Concerning the diversion of opioids into
      3         Q And I'm -- the only reason I'm asking          3   an illicit market, do the dangers to the
      4    this is you were drawing a distinction before         4   public differ if the diversion is the result of a
      5    between the difference between -- that the failure    5   purposeful violation of the statute versus due to
      6    to abide by one's responsibilities under the act      6   a -- a non-knowing violation of the statute?
      7    may not represent a violation.                        7          MS. LEVY: Object to the form.
      8            I'm trying to figure out --                   8          THE WITNESS: Well, I think there's a
      9         A I can't think --                               9   lot of premise in that question. And my answer is
     10         Q -- where the room is between those.           10   not indicating that I believe that there may not
     11         A Sorry. I can't think of a specific            11   be public health -- or adverse impact on public
     12    distinction. The only reason I mentioned that is     12   health from diversion. But certain activities may
     13    because the things that I deal with currently,       13   lead to diversion, which like I -- may be
     14    which I know have nothing to do with this            14   intentional and unintentional, and then there are
     15    litigation, you can have deviations of policy and    15   consequences from those actions which may have an
     16    law, you can have violations, and, you know,         16   impact on public health or may not. So broad
     17    activity can be a deviation which doesn't rise to    17   statements like this make me uncomfortable,
     18    the level of violation. That's -- that's the         18   particularly if I'm asked if I agree with them.
     19    distinction I was drawing, but I can't think of a    19   And because of the way they're phrased, I can't.
     20    specific example. Because you can have               20   BY MR. MELAMED:
     21    intentional conduct, non-intentional conduct.        21       Q Regardless of whether diversion happens
     22            So that's why it's a broad statement         22   as a result of intentional or unintentional
     23    which I can't agree with. I understand the intent    23   behavior, the risks resulting from those specific
     24    of it, but I can't necessarily agree with the        24   drugs that are diverted into illicit markets is



                                                                           45 (Pages 177 to 180)
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                                               Page 181                                                  Page 182
      1    the same to the public; is that correct?              1            There can be a situation where a
      2            MS. LEVY: Object to the form of the           2   prescriber can intentionally or unintentionally
      3    question.                                             3   divert opioids where he or she may prescribe an
      4            THE WITNESS: You're going to have to          4   excess amount to a patient, who then provides a
      5    repeat that. I'm not sure that I can -- I can         5   portion of that amount to a family member who
      6    answer it. If you can repeat it.                      6   doesn't have insurance coverage and needs or
      7    BY MR. MELAMED:                                       7   desires the therapeutic treatment. That's
      8         Q So you were talking about the difference       8   diversion, but it may be for a non-malicious
      9    between intentional and unintentional diversion.      9   purpose.
     10    That was one of the things you were --               10            There can also be a situation where a
     11         A Right.                                        11   prescriber prescribes opioids or other controlled
     12         Q -- just speaking about, correct?              12   substances in excess of a necessary amount,
     13            Let's say there is a -- a numerical set      13   whatever that is, gets it to a patient, who then
     14    of opioids that are diverted, the same number in     14   sells it to another individual for a profit, which
     15    each of these scenarios. One scenario it's           15   is more of a malicious purpose. It could be the
     16    diverted through purposeful action; the other it's   16   same exact conduct by the prescriber, two
     17    diverted through unintentional action.               17   different results. One has a public health --
     18            Is there any difference in the dangers       18   negative public health impact; one has less of a
     19    posed to the public, the risks posed to the public   19   public health impact because it's going to a
     20    by those two instances of diversion?                 20   family member. That's why I don't agree with
     21            MS. LEVY: Object to form.                    21   broad statements like this.
     22            THE WITNESS: Yes. And I'll give you an       22   BY MR. MELAMED:
     23    example, which is not exactly what you're getting    23       Q Understood. The public health impact,
     24    at, but I can give an example.                       24   and I understand you've set out two scenarios, one


                                               Page 183                                                  Page 184
      1    of which may have a lesser public health impact       1   prescriber who doesn't -- who is less interested
      2    than the other, correct?                              2   in what's going on, simply prescribes the excess
      3         A Yes, in my view.                               3   amounts of opioids, not caring what the patient is
      4         Q In your view.                                  4   going to do with it, and then the patient may then
      5            The relative harm associated with those       5   sell it on the gray market or the black market for
      6    two public health impacts is independent of the       6   malicious or, you know, purposes.
      7    purposeful or nonpurposeful motive of the             7        Q Okay. Can you turn to the page with the
      8    prescriber; isn't that true?                          8   Bates stamp ending 016.
      9         A No.                                            9            Now, this -- this refers to distributor
     10         Q No.                                           10   responsibilities, the second slide on 2016.
     11         A You may have a situation where there's a      11            Was Actavis ever classified as a
     12    prescriber who -- in my situation, the prescribers   12   distributor under the Controlled Substances Act?
     13    prescribe the same amount, an excessive amount,      13        A Not to my knowledge. We were just a
     14    let's say 90 days of an opioid, okay, when maybe     14   manufacturer.
     15    only 30 days was warranted, hypothetically.          15        Q Okay. Did you understand that as a
     16            In one situation, there may be -- one --     16   manufacturer, Actavis was required to maintain
     17    the first scenario there may be a situation where    17   effective controls against diversion of particular
     18    there's lack of coverage. The family member needs    18   controlled substances into other than legitimate
     19    or desires the medication. In the other              19   medical channels?
     20    situation -- so that's, you know, perhaps an         20        A I believe I was aware at the time.
     21    intentional action by the prescriber for what may    21        Q And you -- were you aware at the time
     22    be a beneficial purpose for that ultimate            22   included in the set of particular controlled
     23    recipient potentially.                               23   substances for which Actavis was required to
     24            In the other situation, there may be a       24   maintain effective controls was its opioid


                                                                          46 (Pages 181 to 184)
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                                               Page 185                                                       Page 186
      1    products?                                             1   responsibilities, in the second bullet point of
      2        A I'm sorry. You're going to have to              2   the bottom slide on 2016, which is maintenance of
      3    repeat that question.                                 3   effective controls?
      4        Q Sure.                                           4       A I don't recall what the specific
      5            Were you aware at -- were you aware that      5   requirements were because you'd have to show me
      6    included in the set of what -- what is referred to    6   the statute.
      7    in this slide as "particular controlled               7       Q Okay. If you turn to the page with the
      8    substances," included in the set of particular        8   Bates stamp 2020. We're going to look at the
      9    controlled substances for which Actavis was           9   bottom slide on that page.
     10    required to maintain effective controls were its     10           And you see it sets forth two
     11    opioid products?                                     11   requirements associated with 21 CFR 1301.74?
     12        A Can I -- I'm sorry, but I think you're         12       A I see that.
     13    referring me to Bates No. 2016 --                    13       Q So that regulation required Actavis to
     14        Q Mm-hmm.                                        14   design and operate a system to identify suspicious
     15        A -- and this is the slide that refers to        15   orders, correct?
     16    distributor responsibilities --                      16       A That's what it says. That's what the
     17        Q Correct.                                       17   slide says.
     18        A -- not manufacturer registrant                 18       Q And is it your understanding that
     19    responsibilities.                                    19   Actavis was required to design such a system and
     20        Q Correct.                                       20   maintain such a system?
     21        A So that's why I'm hesitating because I         21       A Yes.
     22    don't see anything with respect to manufacturer      22       Q It also -- 21 CFR 1301.74 also required
     23    registrant responsibilities.                         23   Actavis to report suspicious orders at the time
     24        Q Do you recall whether Actavis had the          24   they were discovered, correct?


                                               Page 187                                                       Page 188
      1        A Yes.                                            1   number ending 2182. It's going to be past this
      2        Q And not at a later date. Correct?               2   deck.
      3        A If I recall correctly, the -- I don't           3       A 2182?
      4    know if this is an actual quote from the              4       Q 2182, and it's the beginning of an
      5    regulation. I -- I remember having some sort of       5   article. It's titled "Opioid treatment
      6    understanding that there was a certain limited        6   guidelines" -- "Clinical guidelines for the use of
      7    time frame under which you had to report              7   chronic opioid therapy in chronic noncancer pain."
      8    suspicious orders once you identified them. I         8       A Right.
      9    don't know if it was a specific time frame. So...     9       Q Do you see that?
     10        Q Do you recall whether that time frame          10       A I see this.
     11    was in the -- on the order of a day or a week or a   11       Q Do you recall discussing this article
     12    month?                                               12   during your meeting with the DEA on September 12,
     13        A It may have been something along the           13   2012?
     14    order of a day, but like I said, I don't recall      14       A I don't recall discussing this.
     15    specifically. Because this -- like I said, I         15       Q Do you recall reviewing this article at
     16    don't know if this is a quote from the statute --    16   any time before today?
     17    I'm sorry, from the regulation. But the way it's     17       A I do not.
     18    highlighted here, "when discovered" makes it seem    18       Q Okay. If you can turn to the Bates
     19    like it's immediate, and I don't believe the         19   stamp ending 2237, so skipping ahead quite a bit
     20    regulation says that you have to report this         20   again.
     21    immediately. You have some sort of time frame,       21            Okay. And that says "Actavis Top 50
     22    within a reasonable time or a day or something to    22   Pharmacy Sales 2010 to 2012." Do you see that?
     23    that effect. That's what I recall.                   23       A I see that.
     24        Q Now, I want you to go ahead to the Bates       24       Q And then what follows are several



                                                                              47 (Pages 185 to 188)
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                                                     Page 189                                                  Page 190
      1    spreadsheets that appear to reflect that -- that      1   remaining questions about this document are along
      2    information. If you go -- you know, flip              2   those lines.
      3    forward -- and I'm not asking you for the exact       3       A Okay.
      4    document at this point, but you see the next page     4       Q We can do a couple and we'll see -- you
      5    says "Top 50 Pharmacies Sales of Oxycodone 15         5   know, we'll see if you recall differently as to
      6    Milligrams," there's an NDC number, and it says       6   some of the other slides.
      7    for 2010.                                             7       A Okay.
      8        A Right.                                          8       Q If you turn to 2240, it lists the Top 50
      9        Q Do you understand this to indicate the          9   Pharmacies Sale of Oxycodone 30 Milligram," again
     10    top 50 pharmacies for sales of Actavis oxycodone     10   there's an NDC number and then 2010.
     11    15 milligrams in 2010?                               11            Is it your understanding that this
     12        A I mean, that's what the document says.         12   reflects Actavis -- top 50 pharmacists for sales
     13        Q Okay. Does that -- do you -- do you            13   of Actavis oxycodone 30 milligrams in 2010?
     14    have any reason to doubt that interpretation of      14       A I mean that's what the document says.
     15    what it says?                                        15   That's what the page says.
     16        A I wouldn't know. And I'm not being             16       Q Okay.
     17    difficult, but --                                    17       A I mean I have no way of verifying --
     18        Q No.                                            18       Q Okay.
     19        A -- just because a list is put together         19       A -- currently or if this was what the DEA
     20    doesn't mean I have to accept what it says. But      20   gave us at the time.
     21    that's what the document says.                       21       Q And you don't recall whether this is --
     22        Q That's what it appears to reflect.             22   specifically whether this is what the DEA gave you
     23        A Right.                                         23   at the time?
     24        Q Okay. And a number of my questions --          24       A I don't recall specifically, no. I


                                                     Page 191                                                  Page 192
      1    remember they gave us a list or lists, and this       1       Q If you turn to the next page, it's 2258.
      2    could be that, but I don't recall specifically.       2   And there's a -- the rest -- the majority of the
      3        Q Okay. Let's skip ahead to 2257.                 3   rest of this presentation is charts that look
      4        A Yes.                                            4   something like this. They describe -- they appear
      5        Q Okay. And this -- this document                 5   to describe different information.
      6    explains the source or the first paragraph seems      6            The title says "UPS Supply Chain Top
      7    to explain the source for the slides that follow.     7   Customer Sales in Dosage Units of Oxycodone 15
      8    Do you see that?                                      8   Milligrams," NDC numbers, and for the year -- for
      9            "The following charts and graphs have         9   the years 2010 and 2011.
     10    been compiled from ARCOS reports your firm has       10            Do you see that?
     11    previously submitted to DEA."                        11       A I see that.
     12        A Yes, I see that.                               12       Q Do you know why you were being presented
     13        Q Did Actavis have access to ARCOS               13   information about the UPS supply chain top
     14    reports?                                             14   customer sales?
     15        A I believe a certain function within            15       A As we sit here today, I can't recall
     16    Actavis had -- had access to ARCOS reports.          16   why.
     17        Q Do you know which function within              17       Q Did Actavis have a relationship with UPS
     18    Actavis had that access?                             18   concerning the sale of its drugs into the supply
     19        A I do not.                                      19   chain?
     20        Q Do you know whether the ARCOS reports to       20       A Yes, we did. I know we utilized UPS for
     21    which Actavis had access included competitors'       21   shipment of therapeutic products.
     22    sales of certain drugs?                              22       Q Do you remember anything further about
     23        A I don't know. That's something I never         23   that relationship between UPS and Actavis?
     24    knew.                                                24       A There was a contract. We had a



                                                                            48 (Pages 189 to 192)
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                                                    Page 193                                             Page 194
      1    relationship. We used them to ship therapeutic        1        Q Okay.
      2    products.                                             2        A It's not to say they didn't present it.
      3        Q And among the therapeutic products that         3   I simply don't recall this.
      4    UPS shipped were opioids such as oxycodone?           4        Q Fair enough.
      5        A I would have to assume that, but I don't        5            This document appears to -- do you agree
      6    know that specifically.                               6   that this document appears to reflect what the
      7        Q All right. And let's just turn to 2263.         7   title states it reflects, which is "Actavis
      8    And actually 2262, which you can look at in           8   Oxycodone 15 Milligram Sales in Dosage Unit by
      9    conjunction, appears to be a header that goes with    9   State" for a one-year period for the calendar year
     10    2263. 2262 says "2010 to 2012 Oxycodone 15           10   2010?
     11    Milligrams by State."                                11        A I really don't know. These are bars on
     12           Do you see that?                              12   a chart. I have no way of knowing whether this
     13        A I see that.                                    13   is, in fact, sales of oxycodone at a particular
     14        Q Okay. And then the next page says              14   time in particular states. I have no way of
     15    "Actavis Elizabeth LLC," and you see a number,       15   knowing that.
     16    "Oxycodone 15 Milligrams Sales in Dosage Units by    16        Q Do you have any independent reason as
     17    State from January 1, 2010, to December 31, 2010."   17   you sit here today to doubt that the information
     18           MR. LUXTON: 2263?                             18   contained in the chart reflects the information
     19           MR. MELAMED: Yes, there you go.               19   described in the title?
     20    BY MR. MELAMED:                                      20        A I have no idea whether it does or it
     21        Q Do you recall reviewing documents like         21   doesn't.
     22    this with the DEA?                                   22        Q You have no specific reason as you sit
     23        A I don't recall the specific document,          23   here today -- I understand you don't know that it
     24    but -- actually, I don't recall this document.       24   does reflect the information in the title, but you


                                                    Page 195                                             Page 196
      1    have no specific reason as you sit here today to      1   distributor relationships, but beyond knowing that
      2    state that it does not reflect the information --     2   we had distributor relationships and who they
      3            MS. LEVY: Objection. He's --                  3   might have been, I really don't know the relative
      4    BY MR. MELAMED:                                       4   value of what was sold to distributors versus what
      5        Q -- described in the title; is that              5   was sold through some other means. At this point
      6    correct?                                              6   in time, I really don't recall.
      7            MS. LEVY: -- asked and answered that          7   BY MR. MELAMED:
      8    question.                                             8        Q So you don't recall either way whether
      9            THE WITNESS: I really don't know. I           9   Actavis sold to pharmacies that dispensed opioids?
     10    mean I'm not trying to be difficult, but at this     10          MR. LUXTON: Same objection.
     11    point in time I have no idea whether this reflects   11          THE WITNESS: I don't. I don't recall.
     12    what -- these bars and these values reflect what     12   BY MR. MELAMED:
     13    the title indicates. I really don't know.            13        Q All right. Do you recall any internal
     14    BY MR. MELAMED:                                      14   meetings following the September 12th, 2012
     15        Q Do you know if Actavis ever sold opioids       15   meeting with the DEA concerning the contents of
     16    directly to any pharmacy?                            16   that meeting?
     17        A I'm not aware of whether it did or it          17        A I know we did have meetings following
     18    didn't.                                              18   that September meeting with the DEA.
     19        Q So is it -- is it correct to say that          19        Q Do you recall what was discussed at
     20    the majority, if not all, of Actavis's opioid        20   those meetings?
     21    sales were to distributors?                          21        A I mean, not specifically. I mean, I
     22            MR. LUXTON: Objection.                       22   know we -- we had follow-ups. In fact, we had a
     23            THE WITNESS: I -- at this point, I           23   follow-up meeting right after that meeting. I
     24    really don't recall. I know that we had              24   think we went to a diner or a restaurant or a



                                                                          49 (Pages 193 to 196)
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                                                       Page 197                                              Page 198
      1    hotel room or something and talked about it while       1      Q And then you said you had a follow-up
      2    we were in D.C. And then we had a follow-up             2   meeting back in New Jersey on your return?
      3    debriefing meeting with the team back in -- excuse      3      A Once we got back, I'm sure we had
      4    me -- back in New Jersey.                               4   follow-up meetings.
      5            And then we would have had follow-up            5      Q Okay. Without --
      6    strategy meetings with -- probably with the SOM         6      A I can't tell you when and I can't tell
      7    team, with other leaders, maybe Doug Boothe, maybe      7   you who, but it -- we would have had follow-up
      8    John LaRocca and others, to think about what the        8   meetings to talk about what just happened and what
      9    approach would be next.                                 9   we should do.
     10        Q You stated you remember a follow-up              10      Q Do you recall -- I know you can't say
     11    meeting right after the meeting, and you said you      11   when or with whom, but do you recall what was
     12    weren't sure whether -- where it occurred.             12   discussed at those meetings?
     13        A Yeah.                                            13      A I don't recall specifically. But like I
     14        Q Who was in that meeting with you?                14   said, there would have been follow-up meetings to
     15        A I don't recall specifically. It was              15   debrief whoever wasn't there about what happened,
     16    probably John Duff and -- I mean, I think four or      16   and to think about and strategize what next steps
     17    five of us went down. I think all of us may have       17   would be.
     18    convened afterwards. Maybe one person may have         18         (Clarke Exhibit No. 12 was marked
     19    left because it was D.C., people had to get planes     19          for identification.)
     20    or something. So whoever could stay, we probably       20   BY MR. MELAMED:
     21    had a debriefing right after.                          21      Q I'm going to hand you what's been marked
     22        Q Do you remember what you discussed               22   as Exhibit 12.
     23    during your -- during the debriefing?                  23      A Are you done with this?
     24        A Not specifically.                                24      Q You can put that aside unless you want


                                                       Page 199                                              Page 200
      1   to read it later.                                        1   the first page and continues onto the second,
      2       A No. This could hurt somebody, so...                2   referring to Michael Smilek says: "He is
      3       Q Exhibit 12 is an e-mail string, the most           3   requesting a meeting with Actavis to review our
      4   recent in time being from John Kaldes to Jason           4   action items as a result of the meeting."
      5   Chung and Michael Clarke on September 20th, 2012.        5           Do you see that?
      6   It's two pages starting at ALLERGAN_MDL_03382548.        6       A I saw that.
      7           And I want to start with the first               7       Q Do you recall anything about the action
      8   e-mail in time, which starts at the bottom of the        8   items being referenced?
      9   first page on September 19th. Do you see that?           9       A I know that there were action items
     10       A Yes, I see that.                                  10   coming out of the DEA meeting, but I don't
     11       Q Okay. And Jason Chung states that he              11   remember what they were. I know one of them had
     12   received a call from New Jersey diversion               12   to do with quota, which was different than the
     13   investigator Michael Smilek.                            13   quota discussion that we had with the field
     14           Do you see that?                                14   office, but I can't recall what that was. But
     15       A Yes, I see that.                                  15   there were others as well.
     16       Q Who is Jason Chung?                               16       Q I'm not clear what you mean by different
     17       A Jason Chung was an employee -- I mean,            17   from the quota discussion you had with the field
     18   he's listed on the e-mail as DEA manager, and I         18   office.
     19   know he had an office or a workspace in the             19       A So I mentioned in one of the e-mail
     20   Elizabeth plant. So he had some sort of DEA             20   exhibits that you presented to me earlier today
     21   responsibility within the manufacturing operation       21   referred to a so-called voluntary 30 to 40 percent
     22   of Actavis in Elizabeth.                                22   reduction in manufacturing quota.
     23       Q And so in his e-mail, the second                  23       Q Yes.
     24   sentence which starts all the way at the end of         24       A That came out of the meeting with -- I



                                                                             50 (Pages 197 to 200)
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                                               Page 201                                                  Page 202
      1    think one of them may have been Mike Smilek, and      1         A I was being glib. I meant nothing by
      2    another field DEA representative from the Newark      2   it.
      3    office in New Jersey. That was -- that I believe      3        Q Because Orwellian usually -- in this
      4    came out of the October meeting in 2012.              4   context, I understand it means something that is
      5            At the September meeting at DEA               5   titled almost the opposite of what it seeks to
      6    headquarters in Arlington, most of the discussion     6   have. For instance, in 1984 the "Ministry of
      7    had to do with this Orwellian deck titled             7   Peace" was about war. Understood?
      8    "Effective control against diversion of controlled    8        A Oh, I understand that. I was thinking
      9    substance" meeting, and SOM efforts and risk          9   about it more in the context of the political
     10    mitigation efforts and anti-diversion efforts, but   10   times that we're living in now. That was my
     11    there was a piece that dealt with quota. That was    11   thinking. But I meant nothing by it. So, you
     12    an action item, but there were others as well.       12   know, I was being glib, and I apologize.
     13        Q Did you just refer to the title of             13        Q You're permitted to be glib. I just
     14    the -- the previous -- the slide deck in the         14   wanted to understand the -- the meaning behind, it
     15    previous exhibit, which was "Effective Controls      15   if there was any.
     16    Against Diversion of Controlled Substances" as       16           And then the remainder of the e-mail
     17    Orwellian, or did I mishear that?                    17   string in Exhibit 12 concerns attempts at
     18        A You heard that.                                18   scheduling a follow-up meeting with Mr. Smilek,
     19        Q But why --                                     19   correct?
     20        A I was being glib.                              20        A Yes, I believe that's what the purpose
     21        Q Okay. What --                                  21   was.
     22        A I apologize.                                   22        Q Okay. And just returning to the action
     23        Q No, no, that's -- I just want to               23   items, those were action items -- let me state
     24    understand what you meant by that.                   24   that as a question.


                                               Page 203                                                  Page 204
      1            Do you recall whether the action items        1          (Clarke Exhibit No. 13 was marked
      2    being referenced in Mr. Chung's e-mail were action    2          for identification.)
      3    items proposed by the DEA?                            3   BY MR. MELAMED:
      4        A I'm struggling to recall. Because I             4       Q You can put that aside.
      5    don't recall if we had asked them for anything. I     5          I'm going to hand you what's been marked
      6    know that we wanted, like I've been saying most of    6   Exhibit 13, which is a refreshingly short,
      7    the day, guidance from them, interaction with         7   one-page e-mail exchange. It's an e-mail from
      8    them, interface from them about whether there were    8   Michael Clarke to Mary Hutchinson, and several
      9    any other things we could do to even further          9   others cc'd, on September 20th at Bates stamp
     10    strengthen our suspicious order monitoring program   10   ALLERGAN_MDL_01729059.
     11    or our anti-diversion efforts, other than the        11          Do you recognize this e-mail?
     12    regulation that hadn't been updated or provided      12       A This is from me. I don't recall it
     13    guidance on.                                         13   specifically, but that -- that is me.
     14            So that may have been an ask or there        14       Q And you believe --
     15    may have been specific asks. I just don't recall.    15       A That's my style of writing.
     16        Q You don't recall either way whether the        16       Q So you believe you sent this during your
     17    action items were -- the proposal for action items   17   employment at Actavis?
     18    came from the DEA or came from Actavis?              18       A Yes.
     19        A I do not. I do not. I know that --             19       Q And the e-mail concerns the need to
     20    like I said, there was something having to do with   20   schedule an hour-long, in-person meeting in
     21    quota that came out of that meeting, and that was    21   Morristown for Monday afternoon on suspicious
     22    just a very small piece of the meeting, but other    22   order monitoring responsibilities, correct?
     23    than that, I don't recall what action items were     23       A Yes. Yes.
     24    identified.                                          24       Q Do you recall this meeting?


                                                                            51 (Pages 201 to 204)
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                                               Page 205                                                       Page 206
      1        A Not specifically.                               1   there were deliverables, what they would have
      2        Q Do you recall whether there were any            2   been.
      3    materials prepared for the purpose of the Monday      3        Q Okay. And can we go over the -- or not
      4    afternoon meeting that you were writing to            4   can we -- I would like to go over the roles and
      5    schedule?                                             5   responsibilities of each of the individuals
      6        A I don't remember.                               6   listed.
      7        Q Do you recall what the purpose of the           7        A I wish I could help you with that.
      8    meeting was?                                          8        Q Nancy Baran we've talked about before.
      9        A Well, I indicate that it's supposed to          9        A Right.
     10    be about suspicious order monitoring                 10        Q Rachelle Galant.
     11    responsibilities. This is after the DEA meeting      11        A Rachelle Galant.
     12    in September, so it had to have been some sort of    12        Q Thank you. Rachelle Galant. What is
     13    follow-up from that or strategy about that           13   her -- what was her responsibility?
     14    concerning who was there. But other than that, I     14        A I remember her, I can picture her, but I
     15    can't tell you specifically what was presented,      15   can't recall what her function was.
     16    what was discussed.                                  16        Q Okay. You don't recall why she was
     17        Q You don't remember whether or not you          17   invited to this meeting?
     18    presented during the meeting?                        18        A I mean, she had a key role in this based
     19        A I don't remember if I did. I know that         19   on her title, but I don't want to guess and tell
     20    it wouldn't have been just me.                       20   you what department she was in, you know. But I
     21        Q Do you recall whether there were any           21   remember her very vividly, but I just can't recall
     22    deliverables as a result of the meeting?             22   what her function was.
     23        A I don't remember the specific content of       23        Q What about Doug Plassche?
     24    the meeting, so I don't recall what the -- if        24        A Doug Plassche was engineering. I


                                               Page 207                                                       Page 208
      1    believe he was head of or second in command of the    1   a less-than-apt metaphor. So, yes, he worked in
      2    Elizabeth plant, the Elizabeth manufacturing          2   the manufacturing plant at Elizabeth. As part of
      3    plant. So obviously it manufactured a number of       3   its controls at that plant put in place by the
      4    different products, including controlled              4   plant leadership, DEA would be informed of certain
      5    substances.                                           5   things that it needed to be informed of, whether
      6        Q And Jason Chung, we just spoke about.           6   it's opioid issues or something else.
      7        A Yes.                                            7          And since the SOM project was being
      8        Q Who -- what was Omar Plaza's role and           8   overseen at headquarters, we wanted to make sure
      9    responsibility?                                       9   that anything we were doing was working consistent
     10        A Omar Plaza had -- I don't recall if it         10   with the process that we put in place for
     11    was his title, but he had SOM responsibilities --    11   anti-diversion, which was being run out of
     12    he also worked at the Elizabeth plant, and he had    12   headquarters in Morristown, and that it was
     13    SOM responsibilities, which I think may have been    13   coordinated with the Elizabeth plant and any place
     14    limited to contacting the DEA when there was an      14   else where opioids may have been present,
     15    issue of concern at the plant. And we wanted to      15   manufactured, distributed, warehoused, et cetera.
     16    make sure that the left hand and the right hand      16       Q John Duff was in legal, correct?
     17    were speaking together.                              17       A Yes.
     18        Q When you're talking about the left hand        18       Q John LaRocca as well?
     19    and the right hand, on one hand you're talking       19       A Yes, John LaRocca was head of legal for
     20    about manufacturing and the responsibilities for     20   the Americas.
     21    manufacturers, and on the other, you're speaking     21       Q And John Duff reported to John LaRocca?
     22    about responsibilities of selling controlled         22       A Yes.
     23    substances into the stream of commerce?              23       Q And that was a separate -- we've
     24        A More or less, and that probably was            24   established this before, I just want to be



                                                                           52 (Pages 205 to 208)
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                                               Page 209                                                       Page 210
      1    clear -- that was a separate group from the group     1   commercial, which would be marketing for the
      2    you were in, which was the compliance group?          2   generic.
      3        A Yeah. I don't think -- compliance was           3       Q And why were Perfetto and Young optional
      4    separate from legal at that point. Yeah, so they      4   invitees?
      5    were partners but separate departments.               5       A Possibly because of the senior status of
      6        Q Who was -- what was the role and                6   their roles. Nobody here, except for John
      7    responsibility of John Kaldes?                        7   LaRocca, was on the, I'll call it, the executive
      8        A John Kaldes was an engineer. I believe          8   leadership team. So, Nancy Baran reported into
      9    he reported to the fellow near the bottom, Chris      9   Mike Perfetto, so she was more hands on. John
     10    Young, who was our head of engineering or chief      10   Kaldes reported into Chris Young. So it would be
     11    engineering or chief operations officer or           11   good if they were informed of what we were doing,
     12    something like that. So John Kaldes had -- I kept    12   but they both had deputies that would be involved
     13    referring to operational, like pure true             13   in this meeting, whatever the purpose of it was.
     14    operational responsibilities. I can't recall what    14       Q You can put that aside.
     15    his title was, but it was some sort of engineering   15           MS. LEVY: When you reach a convenient
     16    operations role.                                     16   stopping point, can we take a restroom break? It
     17        Q And when you're talking about                  17   doesn't have to be right this second, but whenever
     18    engineering, are you talking about the physical      18   you're --
     19    engineering of the medication -- of the              19           MR. MELAMED: Sure. Let me do one more
     20    prescription medications?                            20   document --
     21        A Yes. Yes.                                      21           MS. LEVY: Sure.
     22        Q Okay. And Michael Perfet- -- Mike              22           MR. MELAMED: -- and then we can do
     23    Perfetto?                                            23   that.
     24        A Mike Perfetto was, I guess, head of            24           (Clarke Exhibit No. 14 was marked


                                               Page 211                                                       Page 212
      1             for identification.)                         1   and I recall just -- well, I recall looking for,
      2    BY MR. MELAMED:                                       2   you know, interpretative guidance on the SOM
      3         Q I'm handing you what's been marked             3   regulation, which -- and hearing that there was
      4    Exhibit 14.                                           4   none other than this letter -- or other than a
      5             Exhibit 14 is an e-mail and attachment.      5   letter. So I simply asked who can get me the
      6    The top of the e-mail is from Michael Clarke,         6   letter so I can see what sort of communication
      7    Tuesday, September 25th, 2012, at Bates stamp         7   there was in terms of guidance or anything else
      8    ALLERGAN_MDL_3 -- 03525593.                           8   from the DEA.
      9             And then there's an attachment which         9        Q Do you recall whether you had seen this
     10    is -- starts at 5595 and ends at 5596, that's a      10   letter before you received it in September 2012?
     11    letter from the United States Department of          11        A I don't know. I know that I got it. If
     12    Justice, Drug Enforcement Administration, dated      12   this -- I don't know if this was the first time I
     13    December 27th, 2007.                                 13   received it or if I had gotten it before.
     14             Do you recall asking Nancy Baran for a      14        Q Do you recall reviewing it in 2012 -- in
     15    copy of the attached DOJ letter?                     15   September 2012?
     16         A I remember asking for a copy of the           16        A I reviewed it. It could have been
     17    letter. I don't recall specifically asking Nancy     17   earlier. Whenever I got it, I would have reviewed
     18    for it, but that must have been who I asked.         18   it, and like I said, I don't know if this is the
     19         Q Do you recall why you asked for a copy        19   first time I received it was in September. It may
     20    of the December 27th, 2007 letter in September       20   have been earlier.
     21    2012?                                                21        Q And this letter does constitute -- or
     22         A I don't know that I asked for it in           22   let me phrase that as a question.
     23    September two -- 2012. I knew that this letter       23           Does this letter constitute guidance
     24    existed. I remember having discussions about it,     24   from the DEA about suspicious order monitoring?


                                                                             53 (Pages 209 to 212)
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                                                     Page 213                                                  Page 214
      1        A Not guidance in the sense of FDA                1       A I don't know who drew that.
      2    guidance or other regulatory guidance, but it does    2       Q Do you recall whether it was you?
      3    inform -- like it says, "Registration" -- I'm         3       A Oh, it wouldn't have been me. I
      4    sorry, "To reiterate the responsibilities as          4   highlight; I don't make geographic figures like
      5    controlled substance manufacturers and                5   that.
      6    distributors." It doesn't really interpret the        6       Q Do you have any understanding why this
      7    reg. It lists what the reg says.                      7   letter was sent by Joseph Rannazzisi to -- it says
      8              And when you think about guidance, like     8   "Dear Registrant," so to a registrant, presumably
      9    an FDA guidance which can be 12 or 20 pages long,     9   Actavis, in December -- on December 27th, 2007?
     10    it's usually, you know, much more detailed about     10       A I can't answer that. All I could do is
     11    what you can and can't do, gives some examples,      11   speculate, and I don't want to do that because
     12    and things like that.                                12   it's -- this was five years before I joined the
     13        Q Do you see that there's a, what appears        13   company. The company was a DEA registrant. There
     14    to be, a highlight or a partial rectangular drawn    14   could be conclusions drawn from that, but I -- I
     15    around the bottom paragraph on 5595?                 15   can't state that.
     16        A This geographic figure on the left-hand        16       Q Did you have any discussions with
     17    side --                                              17   anybody when you were employed at Actavis about
     18        Q Yeah.                                          18   the circumstances -- their understanding of the
     19        A -- on the bottom paragraph?                    19   circumstances that led to this letter?
     20        Q It looks like somebody was drawing a --        20       A I don't remember having conversations
     21    drawing some sort of attention to that paragraph.    21   like that.
     22    I'm not positive that that was the intent.           22       Q Do you see the third paragraph in the
     23        A I mean, I see the -- I see the marking.        23   letter states, first sentence: "The regulation
     24        Q Okay. Do you know who drew that?               24   also requires that the registrant inform the local


                                                     Page 215                                                  Page 216
      1    DEA division office of suspicious orders when         1   suspicious order monitoring process as having had
      2    discovered by the registrant." And "when              2   thresholds. Do you remember that?
      3    discovered" is underlined.                            3       A I think you showed me a document that
      4        A I see that.                                     4   talked about thresholds versus algorithms.
      5        Q When you arrived at Actavis, did the            5       Q Yes. And that document, I believe, and
      6    company have a process for reporting suspicious       6   we can look back, but it was reflecting your notes
      7    orders to the DEA when discovered?                    7   taken at the time. Do you recall that?
      8        A I believe we did.                               8       A Was this one of those outlines that I
      9        Q And what was that process?                      9   prepared?
     10        A That if an order of interest was flagged       10       Q Yes, I believe it was the first of the
     11    and it was determined to be suspicious, we would     11   two exhibit -- this isn't a quiz. I'm just --
     12    report that suspicious order to the DEA.             12       A No, no, no.
     13        Q Do you know whether you did report any         13       Q We can drag it back out.
     14    suspicious orders to the DEA prior to the            14       A I just -- I remember the language. I
     15    September 2012 meeting with the DEA?                 15   was just trying to remember if it was an e-mail or
     16        A I don't recall whether we did or not.          16   one of my outlines, but...
     17        Q Do you know the frequency -- well, you         17       Q When you were talking -- when you wrote
     18    don't know whether -- I'm sorry. If -- given that    18   "thresholds" in that context, do you -- can you
     19    you don't know whether you reported any, you're      19   explain to me what you meant by "thresholds"?
     20    not going to know the frequency of any reports       20          MS. LEVY: Objection. Are you referring
     21    that happened. Is that --                            21   to a particular document?
     22        A I wouldn't know the frequency of               22          MR. MELAMED: Yeah, it's Exhibit 4. You
     23    whatever reports we made, no.                        23   can look at it. I'm not trying to --
     24        Q Okay. Earlier you described the legacy         24          THE WITNESS: Do I still have it?



                                                                             54 (Pages 213 to 216)
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                                                     Page 217                                                Page 218
      1           MS. LEVY: Yes.                                 1   something like if -- there would be a number of
      2           THE WITNESS: Yeah, I don't think I             2   sales that were set, and then beyond that, that
      3    have 4 anymore.                                       3   would be -- beyond that number, one would have to
      4    BY MR. MELAMED:                                       4   review to determine whether the orders were
      5       Q I'm sorry, it was Exhibit 5. My                  5   suspicious?
      6    mistake. It is one of the notes. It's the second      6       A I mean it might be a limit or it might
      7    of those two. It's in the middle of the page on       7   be a range. It could be one or the other, or it
      8    Exhibit 5. There is a sub-bullet point that says:     8   could be something else, but there was some sort
      9    "System has moved from a threshold-based system to    9   of numeric threshold or limit or range, and then
     10    an algorithm."                                       10   once you're -- if you're within that -- below that
     11           Do you see that?                              11   limit or within that range, it's acceptable, but
     12       A I see that, yes.                                12   if you're outside of that, then certain actions
     13       Q Do you have any understanding of what           13   would have to be taken. Likely if it was outside
     14    was meant when you wrote "threshold-based system"?   14   of a threshold or a pattern or numeric volume of
     15    Can you describe what you mean by a "threshold-      15   orders, we would flag it as something of interest,
     16    based system"?                                       16   and then if -- upon due diligence, whatever
     17        A I mean, I don't recall specifically. I         17   investigation we had to do, if it then rose to the
     18    mean, the best I can tell you is that it had to do   18   level of being suspicious, we would report it to
     19    with numeric thresholds compared to algorithmic      19   the DEA.
     20    formulas.                                            20          So that's a very simplified version of
     21       Q Just for the record, I wrote Exhibit 5          21   what the process was, but it -- you know,
     22    on the one that I'm going to put on the ELMO.        22   thresholds had to do with either number -- numeric
     23    There's no other change to it.                       23   limits, upper or lower or ranges.
     24           By numeric thresholds, you mean               24       Q Returning to Exhibit 14, the 2007 DEA


                                                     Page 219                                                Page 220
      1    letter.                                               1   or a range, that would flag the order as something
      2         A Yes.                                           2   of interest. You would do the investigation,
      3         Q The same paragraph we were -- where we         3   whether it's data analysis, communicating with a
      4    were -- I was just -- I was reading previously.       4   distributor or some other -- someone else in the
      5            There's a sentence in the middle that         5   distribution chain, and determine the rationale
      6    states: "Registrants must conduct an independent      6   for the order being outside of the acceptable
      7    analysis of suspicious orders prior to completing     7   threshold, and then if the rationale given was
      8    a sale to determine whether the controlled            8   acceptable, we would move forward. If it was not,
      9    substances are likely to be diverted from             9   we would support it -- raise it to the level of
     10    legitimate channels."                                10   being suspicious, and report it to the DEA.
     11            When you arrived at Actavis, was the         11       Q Who was responsible for conducting that
     12    company acting in compliance with that sentence?     12   review, the review of -- of suspicious orders
     13         A Yes, as far as I recall, it was.              13   prior to completing sales?
     14         Q How -- what was the process for               14       A Prior to --
     15    conducting an independent analysis of suspicious     15       Q Completing a sale of a potentially
     16    orders?                                              16   suspicious order.
     17         A Well, I think I just described it a few       17       A There was an operations team within the
     18    minutes ago in a very high level fashion. That we    18   marketing function that was doing that when I got
     19    would look at these orders. Like I said, I           19   there, and I know at some point that changed. I
     20    believe it was a threshold-based system, and if      20   know that there was the e-mail to Doug Boothe
     21    you were within the thresholds where there was a     21   about adding FTEs, maybe moving it out of
     22    limit, upper or lower limit, or where there was a    22   commercial, things like that, which started to
     23    range, if you were outside of the acceptable         23   happen before the close of the Watson sale, and
     24    threshold, whether it was an upper or lower limit    24   then once the Watson sale closed, things moved in


                                                                           55 (Pages 217 to 220)
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                                                   Page 221                                                             Page 222
      1    a different direction in terms of where that          1          A Yes.
      2    operation was housed, who was responsible, things     2          Q Did they concern anything else?
      3    like that.                                            3          A Those were the three key elements of the
      4        Q Do you recall who the individuals               4    regulation, which is articulated or at least
      5    were -- within the marketing function, who were       5    described in this letter. So the SOM program
      6    the people primarily responsible for reviewing        6    before I got there covered those three key
      7    orders flagged as suspicious orders before            7    elements, and we wanted to make sure that it met
      8    releasing them for sale?                              8    those key three elements in however we enhanced it
      9        A I mean, all I can remember is that Nancy        9    during the time that I was there.
     10    Baran and Rachelle Galant had some level of          10          Q You see that in the second sentence of
     11    responsibility. There were others, but I don't       11    the fourth paragraph on 5595, the letter says:
     12    recall who other than those two.                     12    "These criteria are disjunctive and are not
     13        Q When you started at Actavis, did the           13    all-inclusive"?
     14    then-existing suspicious order monitoring            14          A I see that sentence, yes.
     15    protocols include numeric thresholds concerning      15          Q Do you know whether the protocols
     16    orders of an unusual size?                           16    existing when you arrived at Actavis included any
     17        A Yes.                                           17    other factors aside from those three to capture
     18        Q Did the then-existing protocols include        18    what the 2007 letter refers to as -- for the
     19    numeric thresholds concerning orders deviating       19    reason that the 2007 letter refers to those three
     20    substantially from a normal pattern?                 20    categories as not all-inclusive?
     21        A Yes.                                           21          A I'm sure there were, but as we sit here
     22        Q And did the then-existing protocols            22    today, I can't tell you what other factors may
     23    include numeric thresholds concerning orders of an   23    have been considered and what other processes were
     24    unusual frequency?                                   24    in place to make sure we mitigated risk of


                                                   Page 223                                                             Page 224
      1    suspicious orders.                                    1   Exhibit 15.
      2        Q Who would know what other things, other         2      A Mm-hmm.
      3    than those three --                                   3      Q       Exhibit 15 is an e-mail from Michael
      4        A Who would know?                                 4   Clarke to a list of recipients dated September 25,
      5        Q Yes.                                            5   2012. Subject: "SOM meeting." It starts at
      6        A I mean, the team that was operationally         6   Bates number ALLERGAN_MDL_01641955 and concludes
      7    responsible for it. So whoever was being managed      7   on 1956.
      8    by either Rachelle or Nancy would have a better       8          Do you recognize this document?
      9    sense of that than I would.                           9      A I mean it's vaguely familiar to me. I
     10           I think we requested a break a few            10   mean this is my e-mail. This is the style of my
     11    minutes ago.                                         11   writing, and I -- my signature or signature box
     12        Q Yeah, let me just finish this document,        12   appears on the bottom. So...
     13    and then I'll be happy to let you go.                13      Q       This is something you sent as part of
     14        A Oh, okay.                                      14   the SOM working group. Does that appear to be
     15           MR. MELAMED: We can go off the record.        15   correct?
     16           THE VIDEOGRAPHER: 2:36, we're off the         16      A Yeah, it looks like it. This looks like
     17    video record.                                        17   the working group. With the addition of John
     18           (Recess.)                                     18   LaRocca, who I would have informed of things, but
     19           THE VIDEOGRAPHER: 2:55 p m., we're on         19   I don't think John LaRocca was an active member of
     20    the video record.                                    20   the group. I think John Duff was the legal
     21           (Clarke Exhibit No. 15 was marked             21   representative on the internal working group.
     22           for identification.)                          22      Q       Everybody else was a member of the
     23    BY MR. MELAMED:                                      23   working group?
     24        Q I'm handing you what's been marked             24      A I believe so, yes.



                                                                                56 (Pages 221 to 224)
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                                               Page 225                                                 Page 226
      1        Q And then the e-mail summarizes -- I'm           1       Q If you wanted to find out what that
      2    sorry, it's your notes memorializing a meeting --     2   process involved, who would you ask?
      3    an SOM meeting from the day before, correct?          3       A If I wanted to find out today?
      4        A That's what this looks like, yes.               4       Q Correct. Thank you for clarifying.
      5        Q So number 1 states: "Status of SOM              5       A I think almost anyone else on the e-mail
      6    direct and indirect process." And the sub (a)         6   chain would know.
      7    under number 1 says: "The internal team received      7       Q Now, 1 sub (b) says: "The indirect
      8    training last week and has been monitoring direct     8   process will include phone calls and visits to
      9    customer orders. The expectation is that the          9   distributor customers," and then it goes on.
     10    process will go live," in quotes, "between           10           Is that a new indirect SOM process?
     11    October 15 and 20."                                  11       A Was this new at the time?
     12            Do you see that?                             12       Q Yes. So this is written September 25th,
     13        A I see that.                                    13   and it states that "the indirect process will
     14        Q Is that the transition to a new SOM            14   include," which suggests to me that going forward
     15    direct monitoring process?                           15   it will include phone calls and visits. I just
     16        A I'm not sure.                                  16   want to confirm my understanding or have you
     17        Q So you don't know what process was set         17   correct it if it's -- if it's wrong.
     18    to go live between October 15 and 20?                18       A No, I believe that was the case.
     19        A Yeah, at this point I don't recall what        19       Q And if I wanted you -- could you walk me
     20    it was that was going live.                          20   through the indirect process other than phone
     21        Q Okay. And are you able -- do you recall        21   calls and visits to distributor customers?
     22    the SOM direct process that was going -- was set     22       A Oh, I couldn't walk you through that.
     23    to go live between October 15 and 20?                23       Q Okay. And if -- if you were to ask
     24        A At this point, no.                             24   somebody today to walk you through it, who would


                                               Page 227                                                 Page 228
      1    you ask?                                              1   process?
      2        A Almost any of the recipients of the             2       A Had I had discussions?
      3    e-mail chain.                                         3       Q Had Actavis had any such discussions
      4        Q Any -- are there any recipients who you         4   that you know of?
      5    would not ask?                                        5       A With customers?
      6        A Who I would not ask?                            6       Q With distributor customers about the
      7        Q Yes.                                            7   need for some level of secondary sales or
      8        A I probably wouldn't ask John LaRocca,           8   distribution information about where the Actavis
      9    because he wasn't as close to it. John Duff was       9   product is going prior to the institution of what
     10    closer from legal, and the others, Rachelle, Mike,   10   appears to be a new indirect SOM process.
     11    Doug, Jason, John Kaldes.                            11           MS. LEVY: Object to form.
     12        Q In the second sentence of 1(b), you're         12           THE WITNESS: I believe we did, but I
     13    talking about discussions with distributor           13   can't tell you today specifically that -- that we
     14    customers, and it says: "The discussions will        14   did and who specifically we may have had
     15    include an overview of our indirect SOM process      15   discussions with.
     16    and the need for some level of secondary sales or    16   BY MR. MELAMED:
     17    distribution information from our customers about    17       Q Okay. Did Actavis have any access to
     18    where Actavis product is going, and may touch on     18   information concerning where the Actavis product
     19    termination of orders that cannot be justified as    19   was going when it left distributors absent such
     20    legitimate."                                         20   discussions?
     21           Do you see that?                              21       A I'm sorry. You'll have to repeat that,
     22        A Right.                                         22   please.
     23        Q Had you had discussions about those            23       Q Sure.
     24    topics prior to enacting this new indirect           24           So you're talking about -- if I am


                                                                          57 (Pages 225 to 228)
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                                                      Page 229                                                  Page 230
      1    understanding this correctly, you're talking about     1       A I couldn't know that.
      2    the need to have discussions with the                  2       Q Now, if you look at (b), sub (i), it
      3    distributor -- Actavis distributor customers about     3   says: "There will be -- there will need to be an
      4    where Actavis product is going once it leaves          4   advance review of our distributor contracts to
      5    those distributor customers.                           5   determine whether any revision will be necessary
      6        A Right.                                           6   to get secondary customer information and to
      7        Q Is that correct?                                 7   terminate suspicious orders."
      8        A I believe so, yes.                               8       A I see that.
      9        Q Okay. Absent those conversations, did            9       Q Did you review distributor contracts to
     10    Actavis have access to any information about where    10   that end -- to those ends?
     11    its product was going after it left the               11       A I believe someone did. When I say
     12    distributor customers?                                12   "someone," I'm not being, you know, evasive, but
     13        A I believe we had data which indicated           13   it would likely have been legal, but I can't sit
     14    that.                                                 14   here today and tell you who actually did.
     15        Q And what was the source of that data?           15       Q Do you recall whether prior to that --
     16        A It may have been ARCOS data or something        16   the review discussed here on September 25th, 2012,
     17    else. There was -- there are databases which          17   Actavis had the contractual ability to terminate
     18    indicate that, but I don't recall specifically.       18   suspicious orders?
     19        Q Do you know if Actavis had access to            19       A I --
     20    that type of data prior to your arrival at the        20          THE VIDEOGRAPHER: We're getting phone
     21    company?                                              21   interference. Sorry.
     22        A I believe so.                                   22          THE WITNESS: Oh, sorry.
     23        Q Do you know when that access commenced          23          I don't know. I really don't remember.
     24    approximately?                                        24   BY MR. MELAMED:


                                                      Page 231                                                  Page 232
      1        Q Do you know who would know that today?           1          THE VIDEOGRAPHER: Can we go off for a
      2        A Anyone else on the e-mail channel might          2   second?
      3    know -- on the e-mail chain.                           3          MR. MELAMED: Off the record.
      4        Q Right. I understood. The transcript              4          THE VIDEOGRAPHER: 3:05 we're off the
      5    may not have.                                          5   video record.
      6              You're not certain that they'd know, but     6          (Brief pause.)
      7    they would be the people you would be most likely      7          THE VIDEOGRAPHER: 3:08, we're on the
      8    to ask?                                                8   video record.
      9        A Yes. Anyone on -- all of the e-mail              9   BY MR. MELAMED:
     10    recipients I believe preceded me as an employee of    10       Q I wanted to -- we're still on
     11    Actavis, so they would know more than I did about     11   Exhibit 15. I want to return to the item number 3
     12    what information, what contracts language there       12   in your e-mail.
     13    existed, and what efforts we made before January      13       A Right.
     14    of 2012.                                              14       Q If you look at sub (b), you talk about
     15        Q Okay. If you look at item number 3, you         15   Michael Smilek, again of the DEA Newark office,
     16    write: "Summary of phone call with Michael Smilek     16   wanting to proceed with an October meeting, and
     17    of the DEA Newark office."                            17   then you discuss what it will cover, and sub (i)
     18              Do you recall the call that you were        18   is an overview of the revised Actavis SOM process.
     19    referring to?                                         19          Do you see that?
     20        A I think I mentioned earlier that we had         20       A Yes.
     21    had calls with the Newark office. So whatever         21       Q Were any of the revisions made in
     22    I've listed here is a summary of the call. I          22   response to discussions that you had with the DEA
     23    can't tell you I specifically remember what we        23   at the September meeting?
     24    engaged in on the phone call.                         24       A I really don't remember.



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                                                   Page 233                                                   Page 234
      1       Q Do you remember whether the DEA                  1   occurred. I would only be involved with certain
      2    requested that you make any revisions during the      2   ones related to SOM or anti-diversion. They would
      3    September 2012 meeting?                               3   have other discussions about things I had nothing
      4       A I'm almost sure they did not.                    4   to do with those efforts, so I can't tell how
      5       Q Do you recall how Mr. Smilek became              5   many -- how often those calls occurred.
      6    aware that there was a revised Actavis SOM            6       Q Do you recall how -- approximately how
      7    process?                                              7   frequently you had calls with anyone from the
      8       A We were in touch with the DEA, less so           8   DEA's Newark office about suspicious order
      9    the D.C. office, more so the Newark office -- the     9   monitoring?
     10    Newark field office. So we communicated with them    10       A I mean, I recall maybe two or three
     11    on a more or less regular basis about what we were   11   phone calls. I mean, there's this one, maybe two
     12    doing or trying to do with respect to                12   or three others that I can generally recall. I
     13    anti-diversion efforts.                              13   can't tell you what the content was, but I
     14           So if we were on one of those                 14   generally recall being on the phone with Mike
     15    communications, we would have indicated that we're   15   Smilek and some others -- one or two others at DEA
     16    perhaps making some adjustments, continuing our      16   and one or two others from Actavis.
     17    enhancements, changing our policy, things like       17       Q And when you say two or three other
     18    that. We would have mentioned that in the            18   phone calls, and I'm not holding you to the exact
     19    discussions we had with Mike Smilek and the others   19   number --
     20    at the Newark field office.                          20       A Mm-hmm.
     21       Q How frequently did those conversations          21       Q -- you're talking during the pendency of
     22    with people at the Newark field office occur?        22   your employment at Actavis?
     23       A I mean, I wasn't involved in all of             23       A Yes. Yes.
     24    them, so I can't tell you how frequently they        24       Q Was this call being discussed


                                                   Page 235                                                   Page 236
      1    specifically in response -- to follow-up from the     1   "Part of what the DEA is seeking is for us to take
      2    September 2012 DEA meeting in D.C.?                   2   the lead by reducing our quota while keeping
      3         A Was this call about a follow-up to the         3   legitimate sales."
      4    September meeting?                                    4          Is this the quota reduction you spoke
      5         Q Was this call a follow-up? Was the call        5   about first during our -- during your deposition
      6    that you were discussing with Michael Smilek          6   today, which was the request that you reduce by
      7    specifically a follow-up to the DEA September 12,     7   approximately 30 to 40 percent that --
      8    2012 meeting?                                         8       A That's -- sorry. That's correct.
      9         A Somewhat, yes.                                 9       Q And that was the quota -- that was the
     10         Q What do you mean by "somewhat"?               10   request that Actavis rejected, correct?
     11         A I mean it followed the DEA meeting.           11       A Yeah, I think we had an in-person
     12    There were -- I mean, the Newark office was aware    12   meeting, and they had requested that we reduce
     13    of it, of what had happened. I don't recall if       13   voluntarily -- supposedly voluntarily reduce our
     14    anybody from the Newark office was there or not, I   14   quota by 30 or 40 percent. They didn't give us
     15    don't remember, but they were aware of our D.C.      15   any additional guidance on specific things that we
     16    meeting and they wanted to follow up. Well,          16   could do in connection with our SOM efforts. We
     17    either they or we or both wanted to follow up.       17   did get feedback from Mike about, you know -- I
     18         Q In 3 sub (c) -- well, let me withdraw         18   have quotes in here about being ahead of the
     19    that. I'm sorry.                                     19   curve, and he liked what we were doing. He said
     20            In 3 sub (d), you mention that Smilek        20   that on the phone and he said that when we met in
     21    told you he wants Actavis to be, quote, ahead of     21   person. He thought we were doing -- because we
     22    the curve, unquote, an industry model on diversion   22   had provided him with information. He thought we
     23    prevention.                                          23   were, you know, some sort of industry leader, or
     24            And then you continue and you say:           24   words to that effect.



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                                                          Page 237                                                      Page 238
      1               So it was good things to hear, but we           1    than most others were doing.
      2    also would want to know what else can we do. What          2        Q And did his comments that he saw you --
      3    else are you, DEA, thinking about in terms of what         3    your belief that he saw you as an industry leader
      4    else you see in the industry that we can further           4    reflect your conveying to him the substantial work
      5    enhance? It's nice that you're giving us these             5    that had gone into revising your SOM processes in
      6    things, we think that we're doing well, we think           6    2012 since you had arrived at the company?
      7    we're going beyond the requirements, but give us           7        A I mean we provided him with a
      8    some informal guidance as to things that you're            8    presentation. We provided him -- I think I list
      9    seeing that we can even consider or do better.             9    here that we were giving him SOPs, or something to
     10               And that would have made it more               10    that effect. So we gave him a description of our
     11    palatable to consider negotiating quota                   11    program or provided him with something that was a
     12    adjustments, but it ended up going just the one           12    demonstration of our program on more than one
     13    way.                                                      13    occasion. So he understood what we were doing
     14           Q And did you understand his reference to          14    from the materials that we presented, discussions
     15    you being the industry leader to mean that your           15    that we had, so he had plenty of information to
     16    peers, who also manufacture and sell opioids, were        16    understand what we were trying to do to make our
     17    not -- did not have SOM processes in place that           17    program even more robust than it was when I got
     18    were as good as those in place at Actavis?                18    there.
     19           A I understood that, you know, referring           19        Q And so his comment -- I just want to
     20    to us as an industry leader meant that our program        20    understand the timing of when he's referring to.
     21    was more robust than at least others that he was          21    His comment reflected the information you had
     22    aware of. He didn't mention companies. He didn't          22    given him about the improvements that were being
     23    mention specific programs, but he said that we            23    made since your arrival --
     24    were doing more so than most others were -- more          24        A Oh, yeah.


                                                          Page 239                                                      Page 240
      1        Q -- during the calendar year 2012.                    1   but I don't remember it.
      2        A That's correct. That's correct, yes.                 2       Q Do you see the second to the last
      3        Q All right. You can put that aside.                   3   e-mail, so the -- on the first page, there's an
      4        A Mm-hmm.                                              4   e-mail from Nancy Baran to you.
      5             (Clarke Exhibit No. 16 was marked                 5       A Yes.
      6             for identification.)                              6       Q And the first line says -- from Nancy to
      7    BY MR. MELAMED:                                            7   you says: "I am getting pressure to ship, but do
      8        Q I'm handing you what's been marked                   8   not feel that Walgreens has supplied us a
      9    Exhibit 16.                                                9   sufficient amount of documentation."
     10             Exhibit 16 is an e-mail string, the              10       A I see that.
     11    most recent in time being from Michael Clarke to          11       Q She's referring to pressure to ship the
     12    Nancy Baran on September 26, 2012. "Re: Jupiter           12   order described earlier in the e-mail string,
     13    Florida Distribution Center." It starts at Bates          13   correct?
     14    number Acquired_Actavis_00761668 and concludes on         14       A I believe so, but I don't know that with
     15    671.                                                      15   certainty. There's -- you know, the earlier
     16        A (Peruses document.)                                 16   e-mail string is going through commercial folks,
     17        Q Do you recall this e-mail exchange?                 17   it makes its way to her, and then she sends
     18             MS. LEVY: Give him just a minute to              18   something to me.
     19    read it.                                                  19       Q Okay. And the earlier e-mail string
     20             THE WITNESS: Yeah, I just want to                20   references a request for the shipment of oxycodone
     21    finish reading it.                                        21   and oxymorphone and methylphen and oxycodone HCL.
     22    BY MR. MELAMED:                                           22             Does that -- am I reading that
     23        Q Sure.                                               23   correctly?
     24        A (Peruses document.) I mean, I see it,               24       A I mean the September 24th e-mail, which



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                                                    Page 241                                                 Page 242
      1    I think is the -- if not the first, maybe the         1   that she needs. So, you know, there's a
      2    second, and it's to Michael Dorsey from someone at    2   discussion about shifting C-II products from one
      3    Walgreens, "Following up on the communication         3   place to another place, and she mentions
      4    relating to our products," and it lists the           4   exceptions for stores located in Puerto Rico
      5    expected volume for Florida and Georgia, which is     5   serviced by the Jupiter, Florida facility, and she
      6    to be serviced by Cardinal through its Knoxville,     6   wants to know how these quantities were -- the
      7    Greensboro and Jackson DCs. I guess that's            7   usage and the quantities outlined in the early
      8    distribution centers. And then it lists some          8   e-mail were calculated, historic averages, for
      9    products.                                             9   what time period, whether it includes any
     10         Q Okay. Now, is it your understanding           10   anticipated decrease in light of the DEA action,
     11    that, going back to Nancy Baran's e-mail to you on   11   because I know Walgreens had been subject to some
     12    the first page, when she says that she does not      12   sort of DEA enforcement action sometime in 2012,
     13    feel that Walgreens has supplied us a sufficient     13   and Walgreens obviously is a pharmacy chain in the
     14    amount of documentation, is she -- do you            14   distribution chain. And then she wants to know
     15    understand that to mean that the information         15   how to confirm shifting volumes to
     16    Walgreens provided in that e-mail to Michael         16   AmerisourceBergen.
     17    Dorsey is not a sufficient amount of documentation   17          So as a result of this DEA enforcement
     18    to ship the order that Walgreens has -- has          18   action, there was some shifting of product from
     19    requested?                                           19   a -- I believe a Walgreens facility that was shut
     20            MS. LEVY: Object to form.                    20   down. So she is asking certain questions, and
     21            THE WITNESS: Well, in her e-mail to          21   apparently, at least at the time she wrote to me,
     22    David and Bill, and I guess this is Bill Groth of    22   she hadn't gotten responses to the questions that
     23    Walgreens and David Reiter of Walgreens, which       23   I summarized from her e-mail.
     24    starts on the second page, she lays out what it is   24   BY MR. MELAMED:


                                                    Page 243                                                 Page 244
      1       Q Now, when she says she is -- "I am               1   team was to discontinue 7.17.5 suspicious order
      2    getting pressure to ship," do you -- do you have      2   report after we have gone live with our enhanced
      3    any understanding where that pressure came from?      3   SOM model."
      4       A I do not.                                        4           Do you know what the 7.17.5 suspicious
      5       Q Do you know if this order shipped?               5   order report was?
      6       A As we sit here today, I do not.                  6       A There was some sort of, I believe it
      7       Q Okay. You can put that aside.                    7   was, an Excel spreadsheet type document that was
      8           (Clarke Exhibit No. 17 was marked              8   created in the Elizabeth plant, and without
      9           for identification.)                           9   recalling all of the specific details, it had
     10    BY MR. MELAMED:                                      10   something to do with amounts of controlled
     11       Q I'm handing you what's been marked as           11   substances that were manufactured or shipped out
     12    Exhibit 17.                                          12   or -- and depending on some threshold that I did
     13           Exhibit 17 is an e-mail string, the most      13   not understand, if it exceeded certain thresholds,
     14    recent in time being from Nancy Baran to Noemi       14   they would provide -- "they" meaning the Elizabeth
     15    Rebeco, Michael Clarke, John Duff and Doug           15   plant, Noemi and I believe Omar Plaza would
     16    Plassche, cc'ing others, on October 3rd, 2012.       16   provide information to the DEA.
     17    "Re: SOM." Bates stamp starts at                     17           So they called it a suspicious order
     18    ALLERGAN_MDL_03380592 and concludes on 0593.         18   report, but it wasn't really consistent with the
     19       A (Peruses document.) I see this.                 19   suspicious order regulations. It had to do with
     20       Q Okay. Do you recognize this e-mail              20   either manufacturing levels or shipment levels,
     21    exchange?                                            21   but it didn't have to do with orders that deviated
     22       A Yeah, I vaguely remember this.                  22   from historic patterns or, you know, the three
     23       Q So it starts with an e-mail from Nancy          23   criteria listed in the SOM regulations.
     24    Baran on October 3rd saying: "The plan of the SOM    24           So we found out that they were sending



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                                               Page 245                                                          Page 246
      1    this, and in this -- it wasn't a problem, but when    1    report had nothing to do with our SOM process. It
      2    you call it a suspicious order report, when we had    2    was something that was dated, that was generated
      3    a suspicious order monitoring process run at          3    by the Elizabeth plant. And like I said, I don't
      4    headquarters that was tied to the regulation and      4    recall what they were tracking, but it was
      5    the statute, we were concerned about confusion in     5    something about order levels or manufacturing
      6    terms of the nomenclature that -- information we      6    levels that they would send to the DEA. And they
      7    were providing to DEA. So that's why we said you      7    called it suspicious order report, but it wasn't a
      8    want to stop this report, and Noemi said, Let's       8    suspicious order monitoring report pursuant to the
      9    call it something else.                               9    regulation.
     10        Q Now, is it your understanding that prior       10        Q Do you know if anybody at Actavis prior
     11    to what Nancy Baran referred to as "our enhanced     11    to your time at the company used this report as
     12    SOM model," this is in the final e-mail --           12    part of the company's suspicious order monitoring
     13        A Yes.                                           13    processes?
     14        Q -- or, I'm sorry, the first in time            14        A I don't know.
     15    e-mail --                                            15        Q Who do you think would know that? Who
     16        A Yeah.                                          16    would be the best person to ask today about that?
     17        Q -- that the 7.17.5 suspicious order            17        A Today, the best person to ask would be
     18    report was an element of Actavis's suspicious        18    everyone on Nancy Baran's e-mail except for me.
     19    order monitoring process?                            19    So that would be John, Noemi, Doug Plassche, not
     20        A It was not.                                    20    Doug Boothe, Rachelle Galant, and Umesh Solanki.
     21        Q It had nothing to do with --                   21        Q That is very inconvenient for me.
     22        A No, it had nothing to do --                    22           MS. LEVY: It's good that you're
     23        Q -- suspicious ordering process?                23    deposing many of those people.
     24        A Sorry. This 7.17.5 suspicious order            24           MR. MELAMED: We are deposing several of


                                               Page 247                                                          Page 248
      1    them. It would be nice to have some of the            1      A (Peruses document.)
      2    answers before.                                       2      Q So Exhibit 18 is an e-mail and
      3    BY MR. MELAMED:                                       3   attachments. The e-mail is from Michael Clarke to
      4        Q So in -- going now forward in time to           4   Lynn Baxter on October 8th, 2012. It's
      5    Nancy Baran's e-mail on the first page --             5   ALLERGAN_MDL_03382770, and it attaches what appear
      6        A Mm-hmm.                                         6   to be two separate one-page documents at 2701 and
      7        Q -- the last one that was sent, she says:        7   2702. One -- 2701 is a cover letter to somebody
      8    "Given the criteria and logic this report is built    8   at Discount Drug Mart, and 2702 is a compliance
      9    on, I'm very surprised that it is so valuable from    9   acknowledgment form filled out by Discount Drug
     10    an inventory planning perspective."                  10   Mart.
     11           Do you understand -- do you have any          11      A Yes, I see that.
     12    understanding of what the criteria and logic the     12      Q Do you recognize this document and the
     13    7.17.5 suspicious order report was built on?         13   attachments?
     14        A I do not.                                      14      A Yes, I do.
     15        Q You can put that aside.                        15      Q Is this -- this is the compliance
     16           (Clarke Exhibit No. 18 was marked             16   acknowledgment form that became part of the
     17           for identification.)                          17   indirect SOM processes instituted during 2012?
     18    BY MR. MELAMED:                                      18      A Yes. Or at least this is one copy of
     19        Q I'm handing you what's been marked             19   them. We sent out a number of them --
     20    Exhibit 18. And take your time to read it and        20      Q Right.
     21    finish chewing.                                      21      A -- and received a number of them back.
     22        A They go together.                              22      Q This is an example.
     23        Q I promise we won't designate that as           23      A Exactly.
     24    part of my instruction.                              24      Q Do you recall whether there were any



                                                                             62 (Pages 245 to 248)
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                                                Page 249                                                       Page 250
      1    compliance acknowledgment forms required from         1   with the second level in the distribution chain.
      2    Actavis's distributor customers prior to September    2       Q To my understanding, and take your time
      3    or October 2012?                                      3   to review the document, and then I appreciate you
      4        A I don't know. I don't recall whether            4   telling me whether I -- I'm misunderstanding or
      5    there were or not. I know that we had put this in     5   understanding correctly, is that this compliance
      6    place and created the -- well, the letter is a        6   acknowledgment form was something that Actavis's
      7    cover letter explaining what it is that we're         7   direct customers were filling out to talk -- to
      8    doing, and the acknowledgment form is a form that     8   talk about their compliance with Controlled
      9    we asked the customers' customers to sign and         9   Substances Act requirements vis-à-vis their
     10    return. So I don't know if there was anything        10   customers. So that's the indirect part, but that
     11    similar in place prior to this time frame.           11   the compliance form itself is filled out by
     12        Q I just want to clarify something you           12   Actavis's customers.
     13    just said. I think you said that this is             13       A I think you're correct.
     14    something Actavis was requiring its customers'       14       Q Okay. Do you recall whether Actavis's
     15    customer -- customers' customers to sign.            15   indirect suspicious order monitoring processes
     16            My understanding is that Discount Drug       16   went beyond ensuring that its direct customers
     17    Mart itself was a customer of Actavis. Is that       17   executed this compliance acknowledgment form?
     18    incorrect?                                           18       A I believe that the indirect process
     19        A I don't recall. It's -- I think you            19   included data analysis. But I can't tell you the
     20    made a reference to, and it's probably in one of     20   specifics of what that entailed.
     21    the e-mails, about the indirect process.             21       Q Do you recall whether that data analysis
     22        Q Yes.                                           22   you're referring to was data that Actavis itself
     23        A So I thought when I heard that, and I          23   acquired as opposed to data it acquired from its
     24    was trying to recall, I thought indirect had to do   24   customers?


                                                Page 251                                                       Page 252
      1        A I believe it was the former.                    1          for identification.)
      2        Q So it was data analysis of data within          2   BY MR. MELAMED:
      3    Actavis -- that Actavis itself could access           3      Q I'm going to hand you what's been marked
      4    without going to its customers; is that correct?      4   as Exhibit 19 and 20 at the same time in a minute.
      5        A I believe so.                                   5          Exhibit 19 is a PowerPoint with the
      6        Q Okay. Do you know if Actavis lost any           6   Actavis logo on it titled "Suspicious order
      7    customers due to its new indirect suspicious order    7   Monitoring Partnership Meeting,
      8    monitoring processes?                                 8   AmerisourceBergen," in Chesterbrook, Pennsylvania,
      9        A I really don't recall whether we did.           9   October 22nd, 2012. And it's Bates-stamped
     10        Q Do you recall whether Actavis lost any         10   ALLERGAN_MDL_03302607 through 2621.
     11    orders pursuant to its new direct or indirect        11          And please review that while I'm marking
     12    suspicious order monitoring processes?               12   the other exhibit.
     13        A I don't recall specifically. I'm almost        13      A (Peruses document.)
     14    sure we did based on what the requirements are,      14          (Clarke Exhibit No. 20 was marked
     15    but I can't tell you specifically whether we did.    15          for identification.)
     16        Q And if you did, those are the types of         16   BY MR. MELAMED:
     17    orders that would have been required to be           17      Q Exhibit 20 appears to be, and I'll ask
     18    reported to the local DE -- DEA office               18   you questions about this in a second, the same
     19    immediately, correct?                                19   presentation. It is at Bates number
     20        A Only if they rose to the level of              20   ALLERGAN_MDL_03302890 to 2904.
     21    suspicious based on the criteria in the law and in   21          So I first want to draw your attention
     22    the regs.                                            22   to Exhibit 20 on the slide that's labeled slide
     23        Q Okay, you can put that aside.                  23   number 3, which is at 2892.
     24           (Clarke Exhibit No. 19 was marked             24          MS. McINTYRE: I'm having trouble



                                                                            63 (Pages 249 to 252)
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                                               Page 253                                                  Page 254
      1    hearing over the shuffling.                           1          So it indicates that Ed Hazewski
      2           MR. LUXTON: 2892 is what?                      2   attended. Correct?
      3           MR. MELAMED: 20.                               3        A Yes.
      4           Whoever made the comment on the call, we       4        Q And that Steve Mays attended?
      5    heard you. We're not ignoring you.                    5        A Yes.
      6    BY MR. MELAMED:                                       6        Q And that Elizabeth Campbell attended?
      7        Q If you look at Exhibit 20, slide                7        A Yes.
      8    number 3 -- first of all, backing up.                 8        Q And that Chris Casalenuovo --
      9           Does it appear that Exhibit 19 and             9        A Casalenuovo. Casalenuovo.
     10    Exhibit 20 reflect the same PowerPoint               10        Q -- Casalenuovo attended.
     11    presentation?                                        11        A Yes.
     12        A The first three or four pages do. I            12        Q And that Rita Nepley (phonetic) or
     13    haven't read the whole thing yet.                    13   Knepley did not. Correct?
     14        Q Okay. Fair enough.                             14        A Yeah, I believe that's the case.
     15           Slide number 3 of Exhibit 20 --               15        Q And that Nisha Patel did?
     16        A Yes.                                           16        A Yes.
     17        Q -- appears to reflect somebody's notes         17        Q Okay. Did you attend this meeting?
     18    of the attendees from AmerisourceBergen at this      18        A Yes, I did.
     19    meeting. Correct?                                    19        Q Do you recall the meeting?
     20        A Yes.                                           20        A Yes, I do. That was the meeting I
     21        Q And so there's a -- the only reason            21   referred to earlier at ABC where I mentioned the
     22    Exhibit 20 is here is to try to determine if you     22   tall guy and the short guy, and obviously other
     23    recall whether this reflects the attendants -- the   23   people were there as well.
     24    attendees from AmerisourceBergen at this meeting.    24        Q So either Ed or Steve or Elizabeth or


                                               Page 255                                                  Page 256
      1    Chris or Nisha are the -- comprise the tall guy       1   I believe we gave a similar presentation to
      2    and the short guy?                                    2   Cardinal.
      3         A Steve is the short guy; Ed is the tall         3           I believe there was another meeting with
      4    guy.                                                  4   another distributor that I may have not have been
      5         Q Thank you.                                     5   able to attend because of a conflict in my
      6            Does the list of attendees we just went       6   schedule, but I can't recall who that was, whether
      7    through from AmerisourceBergen reflect your           7   it was McKesson or somebody else.
      8    recollection of -- of the attendees from              8       Q Do you recall approximately how many
      9    AmerisourceBergen at the meeting?                     9   distributor customers you had in the fall of 2012?
     10         A Yes.                                          10       A I do not recall.
     11        Q Okay. You can put that exhibit, which          11       Q Is it accurate to say that there were
     12    is Exhibit 20, aside.                                12   more than three?
     13            It will be easier to look at Exhibit 19,     13       A Yes, I believe there were more than
     14    I think.                                             14   three.
     15         A Yes. Okay. I actually like this               15       Q Like multiples of three?
     16    version better. It's easier to turn. But I'll do     16       A I'm not willing to go with multiples. I
     17    what you say.                                        17   know there --
     18         Q This will be easier for others to see,        18       Q Do you think -- do you think there were
     19    if not you. I'm sorry to --                          19   more than ten customers?
     20         A No worries.                                   20       A Ten customers?
     21         Q -- make your life tough.                      21           MS. LEVY: Objection to form.
     22            Do you recall giving a similar               22   BY MR. MELAMED:
     23    presentation to other distributors?                  23       Q Do you recall in the fall of 2012
     24        A I recall having a meeting with Cardinal.       24   whether Actavis had more than ten distributor


                                                                          64 (Pages 253 to 256)
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                                                  Page 257                                                     Page 258
      1    customers?                                            1       Q And then the second bullet point
      2        A I believe so.                                   2   references "Review of ARCOS Data Specific to Oxy
      3        Q Could you turn to page 2 of Exhibit 19,         3   15 milligram and Oxy 30 milligram."
      4    which is at Bates number ending 2608. It reflects     4          That's oxycodone, correct?
      5    the agenda for the meeting, correct?                  5       A Yes.
      6        A This looks like it, yes.                        6       Q And is that data -- not the specific
      7        Q Okay. And the -- do you -- did you              7   data but that type of data -- the type of data
      8    participate in preparing this document?               8   that was discussed during your meeting with the
      9        A I had some role in preparing the                9   DEA in September of 2012?
     10    document. Probably just reviewing all of -- you      10       A I believe so.
     11    know, reviewing, editing.                            11       Q Turn to slide 5. This is -- the header
     12        Q And did you have any role in the               12   says "SOM Pitfalls."
     13    presentation of this material to                     13       A Right.
     14    AmerisourceBergen?                                   14       Q And the "System Challenges and
     15        A Somewhat. I can't recall what I said           15   Responses" conclude that "'Threshold' based
     16    versus what Nancy said versus what John said, but    16   systems are not sufficient. 'Cutting' orders to a
     17    we were all three there.                             17   volume that puts the order under a threshold is
     18        Q Do you recall -- do you have any               18   not acceptable." And a comment by the DEA, that
     19    understanding as you sit here today what was meant   19   doing so is like saying a little bit of diversion
     20    by the "SOM initiative" that's referred to in the    20   is okay.
     21    first bullet point on slide 2?                       21          Do you see that?
     22        A That was our SOM program, and how it had       22       A Right, I see that.
     23    been enhanced and made more robust during the        23       Q Okay. Is that something that the DEA
     24    course of 2012.                                      24   told you during the September 2012 meeting?


                                                  Page 259                                                     Page 260
      1        A I don't remember that.                          1   BY MR. MELAMED:
      2        Q Do you recall where that quote from the         2       Q A couple of objections there. You can
      3    DEA came from when -- when they said it?              3   answer.
      4        A I don't remember where that came from.          4       A I don't know.
      5        Q Do you know whether AmerisourceBergen's         5       Q Do you know anything -- do you recall
      6    suspicious order monitoring processes sufficiently    6   any -- sorry, that wasn't -- staying with the
      7    addressed these items?                                7   question.
      8        A Which items?                                    8       A I was almost being glib, but I didn't do
      9        Q The thresh- -- the threshold-based              9   it.
     10    systems -- did -- did you know if                    10       Q No, you -- the smile was good.
     11    AmerisourceBergen at this point in time was using    11          Do you recall anything about
     12    a threshold-based suspicious order monitoring        12   the suspicious order -- your understanding of the
     13    system?                                              13   suspicious order monitoring program in place at
     14        A I really don't recall at this point.           14   AmerisourceBergen at this time?
     15        Q Do you know if Actavis and                     15       A At this point in time, I don't recall
     16    AmerisourceBergen had engaged in transactions        16   what AmerisourceBergen had in place. I know the
     17    where AmerisourceBergen had cut the order to a       17   meeting was to discuss what Actavis did and what
     18    volume that put it under a threshold so as to        18   ABC did, but I can't recall the details at this
     19    permit Actavis to make the sale without it being     19   point.
     20    suspicious?                                          20       Q Do you recall learning at any point --
     21           MS. McINTYRE: Object to form.                 21   at any later point about the systems that
     22           MR. LUXTON: Objection.                        22   AmerisourceBergen had in place?
     23           MS. McINTYRE: Object to form. Jill            23       A I'm sure I learned about it at this
     24    McIntyre.                                            24   meeting. I don't know if there was preview



                                                                           65 (Pages 257 to 260)
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                                               Page 261                                                      Page 262
      1    materials, but the meeting was to talk about it,      1       Q And if you turn to the -- just very
      2    so I know I learned it then. And there was            2   quickly turn to page 14. I'm sorry to ask you to
      3    probably -- I'm sure there was subsequent             3   flip back and forth. But page 14 states the
      4    communications, but I don't recall what those         4   previous charts were compiled with -- from ARCOS
      5    were.                                                 5   reports submitted to the DEA.
      6        Q And you don't recall what you learned           6       A I see that.
      7    about AmerisourceBergen's suspicious order            7       Q Do you see that?
      8    monitoring processes during this meeting?             8       A I see that.
      9        A I don't recall, no.                             9       Q So is it your understanding that the
     10           MS. McINTYRE: Object to form.                 10   chart on page 11 is one of the charts being
     11    This is Jill McIntyre.                               11   addressed there by the comment that this
     12    BY MR. MELAMED:                                      12   information comes from ARCOS data previously
     13        Q If you'd turn to slide 11 from                 13   submitted to the DEA?
     14    Exhibit 19.                                          14       A That's what the document says. I can't
     15        A So we're done with 20, I can put that          15   independently verify that.
     16    away?                                                16       Q Okay. You have no reason to dispute --
     17        Q Yes, you can put 20 away.                      17   to doubt that at this point as you sit here today?
     18           Slide 11 is a chart, and it says "Top 50      18          MS. LEVY: Objection to form.
     19    Pharmacies, Sales of Oxycodone 30 Milligrams,        19          MS. McINTYRE: Objection to form.
     20    January 1, 2012, to June 2012." There's a caveat     20          THE WITNESS: I mean, I have no way of
     21    that not all of June has been reported, and it       21   confirming or doubting it, but that's what the
     22    provides the NDC number.                             22   document says, so...
     23           Do you see that?                              23   BY MR. MELAMED:
     24        A I see that.                                    24       Q Okay. Now, do you understand the


                                               Page 263                                                      Page 264
      1    information that the chart reflects as a general      1       A Okay.
      2    matter?                                               2       Q The "DEA number" is a specific DEA
      3         A I have to read it.                             3   identifier for the buyer; is that correct? Is
      4         Q Sure.                                          4   that your understanding?
      5         A (Peruses document.) I mean, it looks           5       A I know that there are DEA registration
      6    like -- well, I read page 11. I haven't read the      6   numbers, so I don't know if this is that or not.
      7    other two, but --                                     7       Q Okay. The "Buyer's Name" appears to
      8         Q Just -- just page 11 right now.                8   identify the individual pharmacy buyer that's
      9         A Page 11 looks like levels of oxycodone         9   being discussed in that row.
     10    sales to a number of different pharmacies at a       10           Is that -- is that your understanding?
     11    particular point in time.                            11       A That's what it looks like.
     12         Q Okay.                                         12       Q Okay. And then the "Buyer City" lists
     13         A And who the wholesaler was that I guess       13   the city in which that buyer is located. Does
     14    distributed -- distributed to these pharmacies at    14   that look correct?
     15    this particular point in time.                       15       A That's what it looks like.
     16         Q Okay. I just want to go through one row       16       Q And "State and ZIP Code" similarly
     17    to -- to see whether you agree with my               17   reflect the buyer's location, correct?
     18    interpretation, and if you don't, obviously please   18       A That's what it looks like.
     19    tell me.                                             19       Q Okay. "Total pills" appears to reflect
     20            We'll leave the "Rank" column behind for     20   the total number of oxycodone 30 milligram pills
     21    a second.                                            21   purchased by the individual buyer. So here it's
     22         A Mm-hmm. Sure.                                 22   628,100 purchased by Food City Pharmacy No. 674
     23         Q And we'll read the row that's associated      23   between January 1st, 2012, and most or all or some
     24    with rank number 1, just so we're on the same row.   24   part of June 2012.



                                                                           66 (Pages 261 to 264)
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                                               Page 265                                                  Page 266
      1            Does that -- do you understand total          1   speculating.
      2    pills to reflect that information?                    2   BY MR. MELAMED:
      3        A That's what it looks like.                      3        Q Do you have -- you -- you -- when you
      4        Q Okay. And then the total -- do you know         4   started this answer, you said you didn't know with
      5    what "Total bottles" indicates? So here for Food      5   certainty, which suggested that you had some
      6    City Pharmacy No. 674, it lists 6,281 total           6   belief, you knew something relating to what that
      7    bottles.                                              7   information pertained to.
      8        A I don't know with certainty. I could            8           Can you tell me what that -- what that
      9    guess, but I'm not going to.                          9   belief is?
     10        Q Well, can you give me your -- you know,        10        A No, I said I could --
     11    what do you suspect? And obviously, you know,        11           MS. LEVY: Objection. Calls for
     12    what you suspect is just that.                       12   speculation.
     13        A I don't know --                                13           THE WITNESS: Yeah, I said I could
     14            MS. LEVY: Object.                            14   guess. I said I didn't know.
     15            THE WITNESS: Sorry.                          15   BY MR. MELAMED:
     16            MS. LEVY: Object. It's improper to           16        Q Okay.
     17    speculate, as you know.                              17        A And I don't want to guess.
     18            MR. MELAMED: That's not true.                18        Q Well, I'll just quote it back to you.
     19    BY MR. MELAMED:                                      19   You said: "I don't know with certainty." And
     20        Q Will you speculate, please, as to what         20   then you said: "I could guess, but I'm not going
     21    you think that means?                                21   to."
     22            MS. LEVY: Same objection.                    22           Do you -- you have no -- no idea, it
     23            MR. LUXTON: Objection.                       23   could -- you have no idea what 6,281 total bottles
     24            THE WITNESS: Yeah, I'm not comfortable       24   reflects?


                                               Page 267                                                  Page 268
      1            MS. LEVY: Same objection.                     1   speculate and I don't want to guess. I just want
      2            THE WITNESS: I don't know with                2   to answer questions that I'm certain about the
      3    certainty what it is.                                 3   answers to. That's my preference.
      4    BY MR. MELAMED:                                       4   BY MR. MELAMED:
      5        Q Do you have any idea?                           5       Q Okay. But you understand that in a
      6            MS. LEVY: Same objection.                     6   deposition you sometimes have to answer questions
      7            MR. LUXTON: Objection.                        7   that you're not certain about?
      8    BY MR. MELAMED:                                       8          MS. LEVY: Objection. No, you don't.
      9        Q And I'm not -- I'm not trying to put you        9          MR. MELAMED: That's -- show me the
     10    on the stand here and -- and criticize you for not   10   federal rules.
     11    knowing. I'm just trying to get and -- see if you    11   BY MR. MELAMED:
     12    have any understanding. I can follow up later to     12       Q Do you -- do you understand that or
     13    see if that understanding is correct.                13   don't you, and then I'll --
     14            MS. LEVY: He's not going to speculate,       14       A I don't understand that, and I would
     15    and he's told you that. So you can move on or you    15   rather not guess an answer. I would rather be
     16    can ask him again and again, and he can give you     16   sure.
     17    the same answer.                                     17       Q For the "Wholesaler" column, for row
     18            MR. MELAMED: You told me he wasn't           18   number 1, it lists "ABC Birmingham." Do you
     19    going to speculate.                                  19   believe that to reflect that the sale of the
     20            MS. LEVY: And so did he, multiple            20   6,200 -- 628,100 total pills to Food City Pharmacy
     21    times.                                               21   674 during the time period reflected on this sheet
     22            MR. MELAMED: That's not proper for you       22   was made by AmerisourceBergen Birmingham?
     23    to tell me he's not going to speculate.              23       A That's what it looks like.
     24            THE WITNESS: I -- I -- I don't want to       24       Q Okay. Do you know what the column



                                                                          67 (Pages 265 to 268)
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                                                    Page 269                                                      Page 270
      1    "Actavis CB Jan 1 to June 30, 2012," which for        1       A Yeah, I see that.
      2    row 1 reflects "6,905" means?                         2       Q Is your understanding of that that the
      3        A I do not know what that means.                  3   pharmacy listed in row number 1 was the top
      4        Q Do you know what "Quantity of oxy 30            4   pharmacy for sales of oxycodone 15 milligram and
      5    milligram 100 count - 867 data," which for row 1      5   oxycodone 30 milligram by Actavis in 2010?
      6    reflects "5,177" means?                               6       A I mean, it looks like this is saying
      7        A I do not.                                       7   that the highest number of sales were made to this
      8        Q The next column says "Disproportionate          8   particular pharmacy in row 1. That's what it
      9    oxy activity," and it reflects "89 percent."          9   looks like to me.
     10           Do you know what that -- how that             10       Q Okay. And the "highest number of sales"
     11    percent is calculated or what that percent           11   meaning the highest number of sales of Actavis
     12    references?                                          12   oxycodone in the specified strengths; is that
     13        A I do not know how that was calculated,         13   correct?
     14    and I do not know what "disproportionate oxy         14       A Yeah, highest number of sales of oxy 15
     15    activity" means.                                     15   and oxy 30, it looks like, was made to this
     16        Q Okay. And then you see the "Comments"          16   pharmacy in the time frame mentioned in this
     17    column?                                              17   report. That's what it looks like to me.
     18        A I see the "Comments" column.                   18       Q And if we just briefly look at slides 12
     19        Q And in row 1, there are comments for           19   and 13. We can go to 12.
     20    2010 and 2011. Do you see that?                      20          The chart on page 12 reflects similar
     21        A Yes, I see that.                               21   information. Would you agree? For -- it's a
     22        Q And the comment for 2010 says: "Ranked         22   different -- different drug. It's oxy
     23    number 1 oxy 15 milligram and oxy 30 milligram for   23   15 milligram. And it does not have a "Comments"
     24    2010." Do you see that?                              24   column. And it has an additional column or two.


                                                    Page 271                                                      Page 272
      1           But would you agree that the buyer's DEA       1      A That's what it seems to state.
      2    number has the same meaning as on the prior page?     2      Q Okay. And then the wholesalers, again,
      3        A I wouldn't know. I mean, it says                3   seem to state the distributor who -- who provided
      4    that -- the column is titled the same.                4   those pills directly to the pharmacy after
      5        Q Okay.                                           5   acquiring them from Actavis.
      6        A I don't know if that refers to the DEA          6          Is that your understanding?
      7    registration number or not.                           7      A That's what it seems to state.
      8        Q Okay.                                           8      Q All right, you can put that aside.
      9        A But both columns on both pages say              9          (Clarke Exhibit No. 21 was marked
     10    "Buyer's DEA number."                                10          for identification.)
     11        Q And is the buyer's name -- do you              11   BY MR. MELAMED:
     12    understand "Buyer's Name" to reference the same as   12      Q I'm going to hand you what's been marked
     13    what you understood "Buyer's Name" to reference on   13   as Exhibit 21.
     14    page 11?                                             14          Exhibit 21 is an e-mail from Nancy
     15        A I guess it's the name of the pharmacy.         15   Baran -- the most recent in time being from Nancy
     16        Q Okay. And I assume that "Buyer City,"          16   Baran to Michael Clarke and Michael Perfetto dated
     17    you share my understanding that that's the city      17   November 14th, 2012. The subject is "Forward:
     18    where this pharmacy -- each pharmacy is located?     18   Suspicious Order Letters Update." Bates number
     19        A That's what it seems to indicate.              19   ALLERGAN_MDL_01796473 and concludes on 474.
     20        Q And "State and ZIP Code" the same?             20          Do you recognize this e-mail exchange?
     21        A Right.                                         21      A Yes.
     22        Q And "Total Pills" reflects the total           22      Q What -- do you remember independent --
     23    number of pills sold during the designated time      23   independent of -- let me withdraw that.
     24    period to that pharmacy from Actavis?                24          Before looking at this now, do you



                                                                            68 (Pages 269 to 272)
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                                                    Page 273                                                  Page 274
      1    recall the last time you saw this e-mail exchange?    1   that 78 received it, 30 signed it and sent it
      2          A No.                                           2   back, five had issues related to the attached
      3          Q Do you recall the circumstances for why       3   spreadsheet that we don't have here in front of
      4    this was sent at the time? Do you recall anything     4   me, and 43 haven't sent it in. So 48 have not
      5    about discussions that were happening at the time?    5   replied, 30 have replied.
      6          A No.                                           6          So I think it may have been a mistake in
      7          Q In Nancy Baran's e-mail at the top of         7   Nancy's numbers. That's my guess.
      8    Exhibit 21, it indicates that 30 customers out of     8       Q Okay.
      9    the 48 that were selling controlled drugs is not a    9       A Based on what Lynn said, and Lynn was
     10    great response rate.                                 10   the recipient of these materials.
     11             Is your understanding that only 30          11       Q Thanks for --
     12    customers out of the 48 to whom Actavis was          12       A She was our contract administrator, so
     13    selling controlled drugs had not responded -- had    13   any contracts went back to Lynn.
     14    not submitted the suspicious order -- no, let me     14       Q Thanks for the clarification.
     15    withdraw that and find the document I'm referring    15          And you see that two out -- Nancy's
     16    to.                                                  16   e-mail continues that "Two out of our three top
     17             Is your understanding of that that 30       17   wholesalers have not even responded."
     18    customers -- I'm sorry, that 18 customers out of     18       A Yes.
     19    48 to whom Actavis was selling controlled            19       Q Do you see that?
     20    substances had not submitted compliance              20       A I see that.
     21    acknowledgment forms like the one we had looked at   21       Q And that "our largest chains have not
     22    before from Discount Drug Mart?                      22   responded."
     23          A Not exactly. I don't have any                23       A I see that.
     24    independent knowledge. But Lynn's e-mail says        24       Q And those -- just so the record is


                                                    Page 275                                                  Page 276
      1    clear, the top wholesalers, the two out of the        1   submitted compliance acknowledgment forms be
      2    three that have not responded are                     2   reflected in Lynn Baxter's -- would Lynn Baxter
      3    AmerisourceBergen and McKesson, correct?              3   have been the person tracking that?
      4        A That's what it says, yes.                       4      A Yes.
      5        Q And the largest chains were Walgreens           5          (Clarke Exhibit No. 22 was marked
      6    and Walmart, right?                                   6          for identification.)
      7        A Those were the largest pharmacy chains          7   BY MR. MELAMED:
      8    according to Nancy.                                   8      Q I'm handing you what's been marked
      9        Q Do you know whether those entities ever         9   Exhibit 22.
     10    completed compliance acknowledgment forms and        10          Exhibit 22 is an e-mail and two
     11    returned them to Actavis?                            11   attachments. The e-mail is from Nancy Baran dated
     12        A I don't recall. I know that we got more        12   October 26, 2012, to Michael Clarke and John Duff.
     13    back, but as I sit here today, I can't tell you      13   Subject: "Direct and indirect SOPs Actavis." The
     14    who else responded and when.                         14   e-mail is at ALLERGAN_MDL_03382709.
     15        Q Do you know whether Actavis halted sales       15          The first attachment, which at the top
     16    to any distributors who did not complete the         16   says "Business Procedure, Actavis Suspicious Order
     17    compliance acknowledgment form and --                17   Monitoring Direct Customer Sales SOP" is at
     18        A I don't know.                                  18   ALLERGAN_MDL_03382710.
     19        Q Do you know that -- whether all of             19          And the second attachment just titled
     20    Actavis's customers completed and returned the       20   "Business Procedure, Actavis Suspicious Order
     21    compliance acknowledgment form?                      21   Monitoring Indirect Customer Sales SOP" is at
     22        A As we sit here today, I don't remember.        22   ALLERGAN_MDL_03382715.
     23        Q And would subsequent updates to these          23          Do you recognize this e-mail and these
     24    numbers, to the number of companies that had         24   attachments?



                                                                           69 (Pages 273 to 276)
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                                               Page 277                                                  Page 278
      1        A I don't recall them independently, but          1   corporate procedure" and for "Prepared by," and
      2    the documents look somewhat familiar.                 2   "Issued by," and "Reviewed or approved by," and
      3        Q Okay. If you look at the title of               3   then "Invalidated by."
      4    the -- if you look at the first page of the e-mail    4          Would those boxes, other than
      5    and the attachment lines, the names of the two        5   "Invalidated by," have been filled in in order --
      6    attachments are -- the first one is "SOM, SOP and     6   required to have been filled in for these two to
      7    business procedure direct final.doc" or .docx, and    7   have been active?
      8    the second is "SOM, SOP and business procedure        8       A From what I recall, yes. In order for
      9    indirect final.docx."                                 9   them to have been finally approved, these would
     10            Do you see that?                             10   have been -- most of these would have had to have
     11        A I see that.                                    11   been completed, and I know that SO- -- I believe
     12        Q Were these the final updated standard          12   that our SOPs required a wet signature.
     13    operating procedures for direct and indirect         13       Q Do you recall who would have been the
     14    suspicious order monitoring procedures that          14   person responsible for providing the wet signature
     15    were -- that you worked on and completed in 2012?    15   on these two SOPs?
     16        A It looks like it, but -- it looks like         16       A I do not.
     17    it.                                                  17       Q Would it have been you?
     18        Q Would the -- if you turn to the first --       18       A It's possible, but I don't recall.
     19    the first page of the first attachment, which is     19       Q Is it your belief that these do
     20    at 710, and the box at the top --                    20   accurately reflect the SOPs for direct and
     21        A Mm-hmm, yes.                                   21   indirect suspicious order monitoring?
     22        Q -- there are a lot of blank fields.            22       A I'll have to read them. I haven't read
     23    There's a blank field for "Number of Revision" and   23   them.
     24    for "Effective Date" and for "Reference to           24       Q Go ahead. Why don't you take a few


                                               Page 279                                                  Page 280
      1    minutes to read them.                                 1   "et cetera." That's just a peeve of mine. You
      2         A (Peruses document.) The first document         2   just list it and then you stop.
      3    with Bates number ending 710 looks like a             3           So things like that when people are
      4    description of our process for direct -- or SOM       4   creating documents for me, I take those out.
      5    direct customer process.                              5        Q You should talk to the people I work
      6            There are a couple of language choices        6   with about this.
      7    that I would not have selected, so that's why I'm     7        A My dad was an English teacher, so
      8    wondering whether it's the final version or not.      8   certain things I just don't like.
      9    If I had reviewed this, I would have made those       9        Q Okay.
     10    changes, but as a general matter, this looks         10        A Things like that.
     11    similar to what our process was.                     11        Q Other than -- and you don't know --
     12         Q What are the language choices you would       12   again, you don't know whether you were ultimately
     13    have chosen to alter?                                13   the person who provided the wet signature that
     14         A It's small stuff. Where is it? I mean,        14   declared -- that would have the effect of making
     15    there's a reference to "3.3 pend," and that really   15   these active.
     16    talks about orders of interest. I would have         16        A I don't know.
     17    called it "order of interest" rather than "pend,"    17        Q Okay. Other than those meritorious
     18    but that could have been a business term.            18   stylistic changes, is there any reason for you to
     19            There is -- on page, "26.1 New               19   think that these are not -- actually, let me
     20    Accounts," there is -- you know, there's a           20   withdraw this.
     21    description, it's a long paragraph. On the fourth    21           Is there any reason for you to think at
     22    line. It has a parenthetical with an example and     22   all that these were not -- these did not reflect
     23    it talks about sales potential, et cetera.           23   the final enacted SOPs for direct suspicious order
     24    Whenever I have a formal document, I never put in    24   monitoring?



                                                                          70 (Pages 277 to 280)
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                                                    Page 281                                            Page 282
      1            MS. LEVY: Object to the form.                1        Q And review that and tell me if that
      2            THE WITNESS: I mean, I don't know if         2   reflects what you believe to be ultimately the
      3    these are final. This looks like they reflect our    3   final enacted version of the indirect sales SOP.
      4    process. That's the best I can tell you.             4        A (Peruses document.) I mean, my comment
      5    BY MR. MELAMED:                                      5   on this one would be similar to the first one. It
      6        Q Where were the final SOPs for suspicious       6   looks like it substantially describes our process.
      7    order monitoring kept when you were at Actavis?      7   I'm not clear that this is a final version for the
      8        A I think policies and SOPs, we had -- I         8   similar reasons that I had for the first one,
      9    believe we had -- excuse me, I believe we had --     9   maybe certain stylistic things.
     10    actually, I don't know. We had -- there's a         10           And page 2 has a big blank. So
     11    repository. I can't remember if it was web-based    11   formatting, I would not have stood for that. But
     12    or something else, but I can't tell you what the    12   it seems to generally describe our process.
     13    name of it was or anything.                         13        Q And these processes were the culmination
     14        Q Was it an electric -- electric --             14   or the almost culmination, absent the wet
     15    electronic repository?                              15   signature, of the work you had done with the
     16        A I believe it was, but I don't recall the      16   suspicious order monitoring working group during
     17    name of it. People use SharePoint now, but we       17   2012; is that correct?
     18    weren't using SharePoint back then, so I don't      18        A You're say- -- asking me whether this
     19    recall what it was.                                 19   describes the work that the working group --
     20        Q Okay. Can you turn to the indirect            20        Q Is this the culmination? Is this the
     21    sales --                                            21   final product or -- or one of the final products
     22        A Yes.                                          22   of the suspicious order working group?
     23        Q -- SOP, which starts at 2715.                 23        A I wouldn't say that. I mean, the
     24        A Yes.                                          24   work -- this is a cliché, but the work continued.


                                                    Page 283                                            Page 284
      1    So we would put process together, we would           1   determine whether the SOPs covered what Masters
      2    purchase systems or technology, we would look at     2   was discussing?
      3    how we were analyzing data, and we would create      3       A We may have.
      4    policy or SOP that would memorialize what we were    4           MR. LUXTON: Form.
      5    doing.                                               5           THE WITNESS: I'm sorry.
      6             But to the extent that we needed to         6           MR. LUXTON: It's okay.
      7    continue to enhance, if there was a change in the    7           THE WITNESS: We may have.
      8    regulation or a change in the law or a case such     8   BY MR. MELAMED:
      9    as Walmart or Cardinal, or more recently McKesson    9       Q Did Masters change anything about your
     10    and Masters, that would have changed what we were   10   individual understanding of the requirements of
     11    doing, then we would have continued to enhance      11   suspicious order monitoring programs?
     12    what we were doing.                                 12       A Well, Masters came out after I left
     13        Q How would Masters have changed what you       13   Actavis, so it would have nothing to do with what
     14    were doing?                                         14   I did at Actavis.
     15        A I'm not sure that it would have changed       15       Q Looking at Masters -- you clearly read
     16    much. Masters was a distributor case as opposed     16   Masters, correct?
     17    to a manufacturer case, but, you know, there's a    17       A I read Masters about a year ago.
     18    lot of language in there that is useful in terms    18       Q And did you discuss it with other
     19    of how you look at these orders and what you're     19   people?
     20    supposed to do.                                     20       A I discussed it with lawyers at my
     21        Q So you would have -- were you to have         21   current company. But let me caveat, I'm not
     22    been at Actavis at the time Masters was issued,     22   familiar with the details of it. I know the case
     23    you would have considered the content of Masters    23   came out. I know -- I guess there was a McKesson
     24    and looked -- and reflected on your SOPs to         24   order or something like that, so I'm familiar with



                                                                         71 (Pages 281 to 284)
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                                                    Page 285                                                  Page 286
      1    those in a very general sense --                      1       Q Okay. What are the additional
      2       Q Do you recall --                                 2   requirements or obligations that you recall being
      3       A -- but not in great detail. So...                3   discussed that were a result of one or both of
      4       Q I'll phrase the question a little                4   those opinions?
      5    differently, and -- do you recall anything about      5       A Yeah, at this point I don't recall.
      6    your understanding of Masters that changed your       6   Like I say, it's been about a year or so since I
      7    understanding of the suspicious order requirements    7   read those cases or those -- the case and the
      8    of the Controlled Substances Act?                     8   order.
      9       A At this point I really don't remember.           9       Q You said you reviewed communications
     10    Because I know the two cases or the two issues,      10   about those cases and their effects on suspicious
     11    and I don't recall what was in Masters versus what   11   order monitoring; is that right?
     12    was in McKesson, and I know -- it felt like there    12       A Yeah.
     13    was some additional requirements that the court      13       Q What communications, from what groups
     14    was imposing, but I can't tell you what those        14   or what sources, do you recall?
     15    were. At least the commentators and the articles     15       A Law firms publish articles when things
     16    that I read that talked about the cases may have     16   like this come out, and they either send them to
     17    talked about additional requirements or additional   17   lawyers directly or they get published in some
     18    obligations.                                         18   sort of blog. You know, an FDA type blog, a DEA
     19       Q And you're unsure whether those                 19   type blog, or the law firms may publish them
     20    additional -- the discussion of those additional     20   themselves and distribute them on their own blog.
     21    requirements derived from Masters or from McKesson   21   So I'm sure I saw it in one of the blogs that I
     22    or from both?                                        22   get in my e-mail box, FDLI, AHLA, something like
     23       A Yeah, I really don't recall at this             23   that.
     24    point.                                               24       Q If you turn to the -- to the page ending


                                                    Page 287                                                  Page 288
      1    716, which is part of the indirect customer sales     1            MR. MELAMED: I think there is a -- an
      2    SOP for suspicious order monitoring, and there's      2   outside shot that we may be able to finish before
      3    the blank, large blank.                               3   your call.
      4             The sentence above that blank says:          4            THE WITNESS: Okay.
      5    "Actavis will commit to monitoring indirect           5            MR. MELAMED: So can somebody give me a
      6    customers who purchase an average quantity of         6   flag before -- you or somebody else let me know --
      7    50,000 units of a C-II controlled substance on a      7            MS. LEVY: Are you needing lead time
      8    year -- yearly basis."                                8   or --
      9             Do you see that?                             9            THE WITNESS: No, I can finish up at
     10        A I see that.                                    10   4:25 for a 4:30 call.
     11        Q Was that -- is that an accurate                11            MR. MELAMED: Okay. So let's see
     12    reflection of the SOP that was ultimately enacted?   12   what --
     13        A I don't recall. I would have to see the        13            MR. LUXTON: The document or finish?
     14    SOP that was ultimately enacted or adopted to know   14            MR. MELAMED: I'm hopeful we'll get to
     15    whether that's accurate.                             15   there, and if we don't, then we'll take a break.
     16        Q Do you know why the threshold of the           16            MR. LUXTON: Finish the document or for
     17    average quantity of 50,000 units was used here?      17   the day?
     18        A I do not.                                      18            MR. MELAMED: Finish for the day.
     19        Q Do you know who would?                         19            MR. LUXTON: Oh, all right.
     20        A Nancy Baran might know. Rachelle Galant        20            MR. MELAMED: I assume people will be
     21    might know.                                          21   happy about that.
     22             MS. LEVY: Just a reminder, Matt, that       22   BY MR. MELAMED:
     23    Michael has a call shortly.                          23       Q Can you turn to the page ending 718,
     24             MR. MELAMED: Okay.                          24   which is page 4 of 5 of the indirect SOP.



                                                                              72 (Pages 285 to 288)
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                                               Page 289                                                 Page 290
      1        A Mm-hmm.                                         1   notify the DEA of the suspicious activity of the
      2        Q 9.2 -- paragraph 9.2 says: "If any              2   indirect customer and the point of sale
      3    substantial change in product mix purchases is        3   wholesaler."
      4    observed."                                            4           Is it your understanding that Actavis
      5           Do you -- was there any guidance               5   was not required to stop sending the product of
      6    provided for the definition of "substantial           6   interest in these circumstances?
      7    change" in that paragraph?                            7       A I would have to read the reg to know
      8        A Any guidance?                                   8   with certainty. I'm not sure whether we were
      9        Q What -- what does "substantial change"          9   required to stop. I know there was a reporting
     10    mean there?                                          10   requirement, but in terms of the shipping
     11        A Here, I can't tell you what it means.          11   requirement, I'm not -- I don't recall.
     12        Q Okay. Do you know if "substantial              12       Q Okay. And we talked before about the
     13    change" was defined elsewhere for purposes of this   13   statistical algorithm that was being used for the
     14    document?                                            14   direct SOP --
     15        A I don't know. I really don't recall.           15       A Yes.
     16        Q I will represent to you that it's not          16       Q -- suspicious order monitoring, correct?
     17    part of the definitions in Section 3.                17       A Yes, we -- we mentioned it before.
     18        A Yeah, I see that.                              18       Q And your testimony is you don't recall
     19        Q In paragraph 11 on page 5 of 5, it             19   what that algorithm concerned, what -- what
     20    says -- or section -- paragraph 11.1 states:         20   factors went into it?
     21    "Depending on the frequency and severity of the      21       A Oh, no. I don't remember that.
     22    indirect individual customer ordering, Actavis can   22       Q Do you recall who designed that
     23    reserve the right to stop sending the product of     23   statistical algorithm?
     24    interest to the point of sale wholesaler and will    24       A As we sit here today, I don't.


                                               Page 291                                                 Page 292
      1        Q Okay. You can put that document aside.          1        A Yes, I do.
      2            (Clarke Exhibit No. 23 was marked             2        Q Do you recall whether that video was
      3            for identification.)                          3   ever made?
      4    BY MR. MELAMED:                                       4        A I believe it was, because I believe I
      5        Q I'm going to hand you what's been marked        5   recall discussions about -- at least reviewing a
      6    Exhibit 23, which is an e-mail chain ending with a    6   rough version of it, and then finalizing it for
      7    January 14th, 2014 e-mail from Tom Napoli to          7   some sort of conference that was coming up.
      8    Michael Clarke. Subject: "Re: Anti-diversion          8        Q That was my next question.
      9    industry working group February meeting."             9           Do you recall where the video was
     10            MS. LEVY: What number is on this             10   presented, in what formats, and how people could
     11    document?                                            11   access viewing it?
     12            MR. MELAMED: The exhibit number is --        12        A I just remember that the plan was to
     13    thank you -- 23.                                     13   display it at a conference, I guess, to a
     14            THE WITNESS: 23.                             14   pharmacist, I believe. I can't tell you the name
     15            MR. MELAMED: Thanks.                         15   of the organization, but I believe it was being
     16    BY MR. MELAMED:                                      16   presented to a pharmacist or a pharmacy trade
     17        Q Very -- I have very limited questions          17   association, and then it was going to be used
     18    about this document.                                 18   elsewhere. But I can't tell you the name, I can't
     19        A Okay.                                          19   tell you the date, but I believe that's what the
     20        Q It's a fairly extensive e-mail chain,          20   plan was.
     21    but it discusses a pharmacist video that has been    21        Q Were you at that -- the conference where
     22    proposed by the working group.                       22   the video was presented?
     23            Do you recall discussions about that         23        A No.
     24    video?                                               24        Q Do you know anybody who was? Can you



                                                                          73 (Pages 289 to 292)
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                                                     Page 293                                           Page 294
      1    identify anybody who was?                             1   says: "This is not the first time this pharmacy
      2        A I don't know who was there.                     2   has come up on a multiple wholesalers report."
      3        Q Okay. You can put that aside.                   3       A I see that.
      4              (Clarke Exhibit No. 24 was marked           4       Q Okay. Why would Actavis continue to
      5              for identification.)                        5   sell oxycodone to a pharmacy that has repeatedly
      6    BY MR. MELAMED:                                       6   come up on a multiple wholesalers report?
      7        Q I'm going to hand you what's been marked        7       A I don't know.
      8    as Exhibit 24.                                        8       Q What is the multiple wholesalers report?
      9              Exhibit 24 is an e-mail string ending       9       A I do not recall as we sit here today.
     10    with a -- an October 12th, 2012 e-mail from          10        Q Okay. Do you think you once knew and
     11    Michael Clarke to Nancy Baran and Rachelle Galant.   11   you just don't remember now?
     12        A Rachelle.                                      12       A Do I think --
     13        Q I'm sorry. Thank you. Rachelle Galant.         13       Q -- that you once knew what that referred
     14              "Re: Pharmacy buying through multiple      14   to, and you just don't remember that as you sit
     15    wholesalers." And I want to draw your attention      15   here now?
     16    to the -- Rachelle's e-mail at the bottom of the     16       A I may have.
     17    page.                                                17       Q Do you know whether Actavis completed
     18              Rachelle writes that: "We have a           18   this sale, the sale that's being referred to?
     19    pharmacy purchasing oxy IR through three different   19       A As we sit here, I don't remember.
     20    wholesalers. I'm advising that we should address     20       Q Okay.
     21    this pharmacy buying pattern with the three          21       A Because I asked that they keep me
     22    wholesalers. It appears to be consistent," and       22   posted, so I hope they did.
     23    names the wholesalers. And it identifies the         23           MR. MELAMED: I don't have any other
     24    pharmacy as Dao Pharmacy in Pennsylvania, and        24   questions for you. I hope that you'll be able to


                                                     Page 295                                           Page 296
      1    make your call.                                       1   suspicious order monitoring. So we were doing --
      2            MS. LEVY: I have just a couple of             2   we were well ahead of the pack, I thought, from
      3    questions, and I can be quick.                        3   what the DEA told us.
      4                CROSS-EXAMINATION                         4       Q Did anybody from DEA during your time at
      5    BY MS. LEVY:                                          5   Actavis ever suggest in any form or fashion that
      6       Q You testified earlier --                         6   Actavis's suspicious order monitoring system was
      7            THE VIDEOGRAPHER: If you could put the        7   violating the Controlled Substances Act?
      8    mic on.                                               8       A No, we never were told that.
      9    BY MS. LEVY:                                          9       Q Did any --
     10       Q You testified earlier throughout the day        10       A We had no indication of that.
     11    that Actavis had frequent communications with the    11       Q During your time at Actavis, did anyone
     12    DEA during your time there, correct?                 12   from the DEA ever make any specific or general
     13       A Yes.                                            13   suggestions of anything different that Actavis
     14       Q In any of your communications with the          14   should have been doing in its suspicious order
     15    DEA during your time at Actavis, did anyone from     15   monitoring system?
     16    the DEA suggest to you that Actavis's suspicious     16          MR. MELAMED: Object to form.
     17    order monitoring system was insufficient?            17          Go ahead.
     18       A No. Quite the contrary. I mean, we had          18          THE WITNESS: No.
     19    a -- we had a system before I got there that at a    19          MS. LEVY: Okay. I don't have anything
     20    minimum, you know, went beyond the requirements of   20   further.
     21    the reg. We enhanced it and made it more robust,     21          MR. MELAMED: All right. Just note for
     22    and we were informed that, in fact, we were, if      22   the record there are a few documents that I'm not
     23    not the lead, one of the industry leads in terms     23   sure we have. It's not our intent to call you
     24    of the efforts that we were undertaking for our      24   back, but we're going to reserve our right to do



                                                                          74 (Pages 293 to 296)
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                                                  Page 297                                                              Page 298
      1    so based on those documents that I'm not sure we      1     CERTIFICATE OF CERTIFIED SHORTHAND REPORTER
      2    have, but I would like to --                          2      The undersigned Certified Shorthand Reporter
      3           MS. LEVY: Does anybody on the phone            3   does hereby certify:
      4    have any follow-up?                                   4      That the foregoing proceeding was taken before
      5           MS. McINTYRE: No.                              5   me at the time and place therein set forth, at
      6           MS. LEVY: Okay. We reserve his right           6   which time the witness was duly sworn; That the
      7    to read and sign. Thank you.                          7   testimony of the witness and all objections made
      8           MR. MELAMED: Off the record.                   8   at the time of the examination were recorded
      9           THE VIDEOGRAPHER: 4:27 p m., we're off         9   stenographically by me and were thereafter
     10    the video record. This concludes the video           10   transcribed, said transcript being a true and
     11    deposition of Michael Clarke.                        11   correct copy of my shorthand notes thereof; That
     12           (Whereupon, the deposition of                 12   the dismantling of the original transcript will
     13           MICHAEL R. CLARKE was concluded               13   void the reporter's certificate
     14           at 4:27 p m.)                                 14      In witness thereof, I have subscribed my name
     15                                                         15   this date: December 11, 2018
     16                                                         16

     17                                                         17               ________________________
     18                                                         18               LESLIE A TODD, CSR, RPR
     19                                                         19               Certificate No 5129
     20                                                         20   (The foregoing certification of
     21                                                         21   this transcript does not apply to any
     22                                                         22   reproduction of the same by any means,
     23                                                         23   unless under the direct control and/or
     24                                                         24   supervision of the certifying reporter )



                                                  Page 299                                                              Page 300
      1             INSTRUCTIONS TO WITNESS                      1                 ------
      2        Please read your deposition over carefully and    2                 ERRATA
      3    make any necessary corrections. You should state      3                 ------
      4    the reason in the appropriate space on the errata     4   PAGE LINE CHANGE
      5    sheet for any corrections that are made.              5   ____ ____ ________________________________________
      6    After doing so, please sign the errata sheet          6   REASON: ________________________________________
      7    and date it.                                          7   ____ ____ ________________________________________
      8        You are signing same subject to the changes       8   REASON: ________________________________________
      9    you have noted on the errata sheet, which will be     9   ____ ____ ________________________________________
     10    attached to your deposition. It is imperative        10   REASON: ________________________________________
     11    that you return the original errata sheet to the     11   ____ ____ ________________________________________
     12    deposing attorney within thirty (30) days of         12   REASON: ________________________________________
     13    receipt of the deposition transcript by you. If      13   ____ ____ ________________________________________
     14    you fail to do so, the deposition transcript may     14   REASON: ________________________________________
     15    be deemed to be accurate and may be used in court.   15   ____ ____ ________________________________________
     16                                                         16   REASON: ________________________________________
     17                                                         17   ____ ____ ________________________________________
     18                                                         18   REASON: ________________________________________
     19                                                         19   ____ ____ ________________________________________
     20                                                         20   REASON: ________________________________________
     21                                                         21   ____ ____ ________________________________________
     22                                                         22   REASON: ________________________________________
     23                                                         23   ____ ____ ________________________________________
     24                                                         24   REASON: ________________________________________



                                                                               75 (Pages 297 to 300)
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                                                            Page 301
      1          ACKNOWLEDGMENT OF DEPONENT
      2      I,___________________________, do hereby
      3   certify that I have read the foregoing pages, and
      4   that the same is a correct transcription of the
      5   answers given by me to the questions therein
      6   propounded, except for the corrections or changes
      7   in form or substance, if any, noted in the
      8   attached Errata Sheet
      9
     10   __________________________________________________
     11   MICHAEL R CLARKE                     DATE
     12
     13
     14   Subscribed and sworn to
     15   before me this
     16   ______day of_______________,20___
     17   My commission expires:_______________
     18   _____________________________________
     19   Notary Public
     20
     21
     22
     23
     24




                                                                       76 (Page 301)
